Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 1 of 106. PageID #: 242288



                                                                      Page 1

 1                      IN THE UNITED STATES DISTRICT COURT
 2                           NORTHERN DISTRICT OF OHIO
 3                                EASTERN DIVISION
 4
                                ~~~~~~~~~~~~~~~~~~~~
 5
 6             IN RE: NATIONAL PRESCRIPTION                 MDL No. 2804
               OPIATE LITIGATION
 7                                                          Case No. 17-md-2804
 8                                                          Judge Dan Aaron
               This document relates to:                    Polster
 9
               The County of Summit, Ohio, et al.
10             v. Purdue Pharma L.P., et al.
               Case No. 17-OP-45004
11
               The County of Cuyahoga v. Purdue
12             Pharma L.P., et al.
               Case No. 18-OP-45090
13
               City of Cleveland, Ohio v. Purdue
14             Pharma L.P., et al
               Case No. 18-OP-45132
15
                                ~~~~~~~~~~~~~~~~~~~~
16
                              Videotaped deposition of
17                                  BRIAN NELSEN
                                      30(b)(6)
18
                                  January 24, 2019
19                                    9:08 a.m.
20
21                                    Taken at:
                                   Jackson Kelly
22                         50 South Main Street, Suite 201
                                     Akron, Ohio
23
24
25                         Renee L. Pellegrino, RPR, CLR

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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 2 of 106. PageID #: 242289


                                                                Page 2                                                                    Page 4
     1 APPEARANCES:
     2 On behalf of Summit County and City of Akron:                      1             TRANSCRIPT INDEX
         Motley Rice                                                      2
     3 MICHAEL J. PENDELL, ESQ.
         ANDREW P. ARNOLD, ESQ.                                           3 APPEARANCES .....................................2
     4 ANNE KEARSE, ESQ.
         28 Bridgeside Boulevard                                          4 INDEX OF EXHIBITS ...............................5
     5 Mt. Pleasant, South Carolina 29464                                 5 INDEX OF OBJECTIONS .............................6
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     6 mpendell@motleyrice.com                                            6
         aarnold@motleyrice.com
     7 akearse@motleyrice.com                                             7 EXAMINATION OF BRIAN NELSEN:
     8 On behalf of Endo Pharmaceuticals, Inc., Endo                      8 BY MR. KEYES ...................................10
       Health Solutions, Inc., Par Pharmaceuticals,
     9 Inc. and Par Pharmaceutical Companies, Inc.:                       9 BY MS. RANJAN .................................211
         (Via Telephone and Veritext Virtual)
    10 Arnold & Porter                                                   10 BY MR. NAEEM ..................................230
         ANDREW D. BERGMAN, ESQ.
                                                                         11
    11 7000 Louisiana Street
         Suite 4000                                                      12 REPORTER'S CERTIFICATE ........................235
    12 Houston, Texas 77002-2755
         (713) 576-2400                                                  13
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                                                                         14 EXHIBIT CUSTODY - RETAINED BY COURT REPORTER
    14 On behalf of Cardinal Health:
         Williams & Connolly                                             15
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    18 On behalf of AmerisourceBergen Drug Corporation:
         (Via Telephone and Veritext Virtual)                            19
    19 Jackson Kelly
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                                                                         23
    23              ~~~~~                                                24
    24
    25                                                                   25

                                                                Page 3                                                                    Page 5
     1 APPEARANCES, CONT'D:                                               1          INDEX OF EXHIBITS
     2 On behalf of Johnson & Johnson and Janssen                         2
       Pharmaceuticals, Inc.:                                             3 Number          Description         Marked
     3 Tucker Ellis LLP                                                   4
        TARIQ NAEEM, ESQ.                                                 5 Exhibit 1 Amended Notice of Videotaped      11
     4 950 Main Avenue, Suite 1100                                                  Deposition of Brian Nelsen
        Cleveland, Ohio 44113-7213                                        6
     5 (216) 592-5000
                                                                            Exhibit 2 E-Mail from Jennifer Peveich to 68
        tariq.naeem@tuckerellis.com
                                                                          7         Bryan Herschel and Brian Nelsen,
     6
                                                                                    dated August 18, 2017, with
       On behalf of McKesson Corporation:
     7 Covington & Burling LLP                                            8         Attachment, Beginning Bates
        DAVID W. HALLER, ESQ.                                                       Number SUMMIT_001084232
     8 The New York Times Building                                        9
        620 Eighth Avenue                                                   Exhibit 3 Summit County, Ohio Plaintiff's 177
     9 New York, New York 10018-1405                                     10         Second Supplemental Response and
        (212) 841-1104                                                              Objections to Distributor
    10 dhaller@cov.com                                                   11         Defendants' Interrogatory No. 18
    11 On behalf of Walmart, Inc.:                                                  Pursuant to the Court's November
        Jones Day                                                        12         21, 2018 Order
    12 BRANDY RANJAN, ESQ.                                               13 Exhibit 4 Spreadsheet Entitled "Summit 177
        325 John H. McConnell Boulevard                                             County ($ Millions)," Marked
    13 Columbus, Ohio 43215-2673                                         14         Confidential
        (614) 469-3939                                                   15 Exhibit 5 Summit County and City of Akron, 215
    14 branjan@jonesday.com                                                         Ohio Plaintiffs' First Amended
    15                                                                   16         Responses and Objections to the
       ALSO PRESENT: Kurt Henschel, Videographer
                                                                                    National Retail Pharmacy
    16
                                                                         17         Defendants' First Set of
                   ~~~~~
                                                                                    Interrogatories
    17
    18                                                                   18
    19                                                                   19
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    22                                                                   22
    23                                                                   23
    24                                                                   24
    25                                                                   25

                                                                                                                                 2 (Pages 2 - 5)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 3 of 106. PageID #: 242290


                                                                  Page 6                                                                    Page 8
     1          INDEX OF OBJECTIONS                                         1       INDEX OF OBJECTIONS, CONT'D
     2                                                                      2
     3 Objection ......................................37                   3 Objection .....................................189
       Objection ......................................37
                                                                              Objection .....................................189
     4 Objection ......................................54
       Objection ......................................58                   4 Objection .....................................190
     5 Objection ......................................59                     Objection .....................................190
       Objection ......................................65                   5 Objection .....................................191
     6 Objection ......................................67                     Objection .....................................193
       Objection ......................................69                   6 Objection .....................................194
     7 Objection ......................................72                     Objection .....................................195
       Objection ......................................77                   7 Objection .....................................196
     8 Objection.......................................77                     Objection .....................................197
       Objection ......................................77
                                                                            8 Objection .....................................197
     9 Objection ......................................78
       Objection ......................................79                     Objection .....................................198
    10 Objection ......................................80                   9 Objection .....................................199
       Objection ......................................80                     Objection .....................................199
    11 Objection ......................................80                  10 Objection .....................................200
       Objection ......................................83                     Objection .....................................201
    12 Objection ......................................83                  11 Objection .....................................202
       Objection ......................................84                     Objection .....................................202
    13 Objection ......................................85
                                                                           12 Objection .....................................203
       Objection ......................................87
    14 Objection ......................................90                     Objection .....................................204
       Objection ......................................92                  13 Objection .....................................209
    15 Objection ......................................94                     Objection .....................................209
       Objection .....................................102                  14 Objection .....................................209
    16 Objection .....................................102                     Objection .....................................210
       Objection .....................................103                  15 Objection .....................................211
    17 Objection .....................................107                     Objection .....................................211
       Objection .....................................107                  16 Objection .....................................212
    18 Objection .....................................107
                                                                              Objection .....................................214
       Objection .....................................113
    19 Objection .....................................113                  17 Objection .....................................217
       Objection .....................................114                     Objection .....................................220
    20 Objection .....................................115                  18 Objection .....................................220
       Objection .....................................115                     Objection .....................................224
    21 Objection .....................................115                  19 Objection .....................................228
       Objection .....................................116                     Objection .....................................231
    22 Objection .....................................117                  20
       Objection .....................................123
                                                                           21
    23 Objection .....................................125
       Objection .....................................126                  22
    24 Objection .....................................126                  23
       Objection .....................................127                  24
    25 Objection .....................................134                  25

                                                                  Page 7                                                                    Page 9
     1       INDEX OF OBJECTIONS, CONT'D
     2                                                                      1            THE VIDEOGRAPHER: We're on the
     3 Objection .....................................135
       Objection .....................................141                   2    record at 9:08. Today's date is January 24th,
     4 Objection .....................................148
       Objection .....................................148
                                                                            3    2019. We are here in the matter of the National
     5 Objection .....................................148
       Objection .....................................148
                                                                            4    Prescription Opiate Litigation. This deposition
     6 Objection .....................................149                   5    is taking place in Akron, Ohio.
       Objection .....................................149
     7 Objection .....................................149                   6            Would counsel please identify
       Objection .....................................150
     8 Objection .....................................150                   7    themselves for the record?
       Objection .....................................150
     9 Objection .....................................151                   8            MR. PENDELL: Mike Pendell, Motley
       Objection .....................................151
    10 Objection .....................................152                   9    Rice, for Plaintiffs.
       Objection .....................................152
    11 Objection .....................................153                  10            MR. ARNOLD: Andrew Arnold, Motley
       Objection .....................................153
    12 Objection .....................................154
                                                                           11    Rice, for Plaintiffs.
       Objection .....................................154
    13 Objection .....................................154
                                                                           12            MS. KEARSE: Anne Kearse, Motley
       Objection .....................................155
    14 Objection .....................................156
                                                                           13    Rice, on behalf of the County of Summit and the
       Objection .....................................156                  14    City of Akron.
    15 Objection .....................................156
       Objection .....................................164                  15            MR. KEYES: Andrew Keyes, Williams &
    16 Objection .....................................168
       Objection .....................................171                  16    Connolly, on behalf of Cardinal Health.
    17 Objection .....................................171
       Objection .....................................172                  17            MS. RANJAN: Brandy Ranjan from
    18 Objection .....................................178
       Objection .....................................178                  18    Jones Day on behalf of Walmart.
    19 Objection .....................................179
       Objection .....................................181                  19            MR. HALLER: David Haller, Covington
    20 Objection .....................................182
       Objection .....................................183
                                                                           20    & Burling, for McKesson.
    21 Objection .....................................183
       Objection .....................................184
                                                                           21            MR. NAEEM: Tariq Naeem, Tucker
    22 Objection .....................................187                  22    Ellis, on behalf of Janssen and Johnson &
       Objection .....................................187
    23 Objection .....................................187                  23    Johnson.
       Objection .....................................188
    24 Objection .....................................188                  24            THE VIDEOGRAPHER: By telephone?
       Objection .....................................188
    25 Objection .....................................189                  25            MS. BRANNON: Jane Brannon, Jackson

                                                                                                                                   3 (Pages 6 - 9)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 4 of 106. PageID #: 242291


                                                     Page 10                                                    Page 12
     1   Kelly, on behalf of AmerisourceBergen Drug             1       A. Yes.
     2   company.                                               2       Q. And if you turn to the top of the
     3            MR. KEYES: Is there anyone else on            3   second page, do you see that this lists you as
     4   the phone?                                             4   being the corporate representative of Summit
     5            THE VIDEOGRAPHER: The court                   5   County who will testify on topics 11, 21, 22, 37
     6   reporter may swear in the witness.                     6   and 38 of Defendants' original deposition
     7        BRIAN NELSEN, of lawful age, called for           7   notice?
     8   examination, as provided by the Federal                8       A. Yes.
     9   Rules of Civil Procedure, being by me                  9       Q. Is it your understanding that you
    10   first duly sworn, as hereinafter certified,           10   will be testifying as Summit County on those
    11   deposed and said as follows:                          11   topics?
    12           EXAMINATION OF BRIAN NELSON                   12       A. Yes.
    13   BY MR. KEYES:                                         13       Q. And is it your understanding that as
    14        Q. Good morning, Mr. Nelsen.                     14   you answer questions on those topics, you are
    15        A. Good morning.                                 15   answering based on information known or
    16        Q. Are you still employed by Summit              16   reasonably available to Summit County?
    17   County?                                               17       A. Yes.
    18        A. Yes.                                          18       Q. Did you do anything to prepare for
    19        Q. What is your current position?                19   today's deposition?
    20        A. I am the director of finance and              20       A. Yes.
    21   budget for the Summit County executive.               21       Q. What did you do?
    22        Q. Is that the same position you held            22       A. I -- I had a meeting with Mr. Arnold
    23   in December, when you were deposed for the first      23   and Mr. Pendell last week for about an hour and
    24   time?                                                 24   a half. I reviewed the depositions of Greta
    25        A. Yes.                                          25   Johnson and the 30(b)(6) deposition of Diane
                                                     Page 11                                                    Page 13
     1       Q. When you were deposed in December          1        Miller-Dawson, and yesterday went back through
     2   for the first time, you were deposed as a fact    2        some of my notes for the first deposition, and
     3   witness. Is it your understanding that you are    3        also did a little bit of research on information
     4   being deposed today as a corporate                4        available from the Ohio Department of Health and
     5   representative of Summit County?                  5        the Ohio Hospital Administrators Association.
     6       A. Yes.                                       6            Q. Anything else?
     7       Q. And is it your understanding that          7            A. That's it.
     8   you are not testifying as an individual, you are  8            Q. You said you met with Mr. Pendell
     9   testifying as Summit County?                      9        and Mr. Arnold. They are attorneys for Summit
    10       A. Yes.                                      10        County?
    11       Q. And is it your understanding that         11            A. Yes.
    12   you are testifying on certain topics?            12            Q. Did anyone else participate in that
    13       A. Yes.                                      13        meeting?
    14              - - - - -                             14            A. No.
    15           (Thereupon, Nelsen 30(b)(6)              15            Q. Did you review documents during that
    16           Deposition Exhibit 1, Amended Notice 16            meeting?
    17           of Videotaped Deposition of Brian        17            A. No. I don't believe so.
    18           Nelsen, was marked for purposes of       18            Q. You said you reviewed deposition
    19           identification.)                         19        transcripts?
    20              - - - - -                             20            A. Yes.
    21       Q. Let me show you what has been marked 21                 Q. Did you review the transcript of the
    22   as Nelsen 30(b)(6) Exhibit Number 1. This is 22            deposition testimony you gave in December?
    23   the amended notice of videotaped 30(b)(6)        23            A. I did not.
    24   deposition of Brian Nelsen.                      24            Q. Have you reviewed it at any point in
    25           Do you see that?                         25        time?

                                                                                                   4 (Pages 10 - 13)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 5 of 106. PageID #: 242292


                                                     Page 14                                                    Page 16
     1       A. I have not.                                     1        Q. And how did you figure out which
     2       Q. You said you reviewed the deposition            2   parts of Ms. Johnson's testimony to read if you
     3   testimony of Greta Johnson?                            3   only read 25 to 30 percent?
     4       A. Yes. Some of it.                                4        A. I skimmed through looking for my
     5       Q. Some of it?                                     5   name.
     6       A. Yes.                                            6        Q. When you reviewed Ms. Johnson's
     7       Q. How did you get the transcript?                 7   deposition testimony, did you see anything that
     8       A. From our attorneys.                             8   she said that you believed to be inaccurate?
     9       Q. Why did you review at least some of             9        A. The one thing that she cited, and I
    10   her testimony?                                        10   believe I originally cited it in my first
    11       A. Because she -- she provided                    11   testimony in December, that I've come to realize
    12   testimony that I was told by our attorneys was        12   was not accurate, was that the ADM Board went
    13   good testimony and had some -- and many times         13   out for a levy increase in their last levy
    14   throughout that testimony she deferred questions      14   cycle. It was actually two cycles ago that they
    15   to me, so I wanted to review what those               15   sought that increase and received it.
    16   questions may have been.                              16        Q. And when you say "two cycles ago,"
    17       Q. Which questions did she defer to               17   when was that?
    18   you?                                                  18        A. So that would have been 2007.
    19       A. They were questions on financial               19        Q. So how did you discover that what
    20   issues, costs.                                        20   you had said in your earlier deposition was
    21       Q. And based on the questions that were           21   inaccurate; based on reading what Ms. Johnson
    22   asked during Ms. Johnson's deposition, where she      22   said?
    23   referred the questions to you, did you do any         23        A. Yeah. When I saw it in
    24   homework so that you could answer those               24   Ms. Johnson's testimony, I immediately wondered
    25   questions today?                                      25   if that was right or not, and then I went back
                                                     Page 15                                                    Page 17
     1        A. I did not.                                     1   and looked to see when that levy increase had
     2        Q. Why not?                                       2   occurred.
     3        A. Because I believed, in reading                 3       Q. Okay. So the last time there was a
     4   those, that I already knew the answers to those        4   levy increase for the ADM Board was in 2007?
     5   questions.                                             5       A. Yes.
     6        Q. And what are those questions?                  6            My -- and one of the reasons I
     7        A. I don't recall what they were                  7   believed it was the last levy cycle is ADM
     8   specifically.                                          8   operationally has changed somewhat, and that is
     9        Q. You said you also read at least                9   due to two things; Medicaid expansion having
    10   portions of Ms. Miller-Dawson's 30(b)(6)?             10   taken over a lot of the cases that they
    11        A. That's correct.                               11   previously used to pay for, and then, also, the
    12        Q. How did you get the transcript?               12   fact that the state began direct paying Medicaid
    13        A. From our attorneys.                           13   claims and not running them through ADM. And
    14        Q. Why did you read that transcript?             14   all of that occurred in that '12, '13 time
    15        A. Because she holds a similar position          15   frame, which is why when I was thinking back, I
    16   at the City of Akron as my position at Summit         16   was thinking that was their last levy cycle that
    17   County.                                               17   they had got the increase, but it was actually
    18        Q. Which portions of that testimony did          18   the increased Medicaid expansion that had freed
    19   you read?                                             19   up dollars for more services from them.
    20        A. I read probably 90 percent of that            20       Q. And when you say that in 2007 the
    21   testimony.                                            21   ADM Board went out for a levy increase --
    22        Q. And how much of Ms. Johnson's                 22       A. Yes.
    23   deposition testimony did you read?                    23       Q. -- what do you mean?
    24        A. Probably 25 to 30 percent of her              24        A. Increase the tax millage that they
    25   testimony.                                            25   collect to produce more tax revenue.

                                                                                                    5 (Pages 14 - 17)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 6 of 106. PageID #: 242293


                                                     Page 18                                                  Page 20
     1       Q. So the last time that the ADM Board             1   your deposition in this case?
     2   requested that the voters of Summit County             2       A. What do you mean by during my
     3   increase the tax millage was in 2007?                  3   deposition?
     4       A. Yes.                                            4       Q. Well, I'm trying to pin down the
     5       Q. Did you see anything else in your               5   notes. So did you take notes during your
     6   review of Ms. Johnson's testimony that you             6   deposition in this case?
     7   believed to be inaccurate?                             7       A. As I sat here during the deposition?
     8       A. That was the only thing.                        8       Q. Yes.
     9       Q. Did your review of Ms. Johnson's                9       A. No.
    10   testimony flag for you that there was anything        10       Q. Okay. Are these notes that you took
    11   else you had said in your deposition that is          11   before or after your deposition?
    12   inaccurate?                                           12       A. My previous deposition?
    13       A. It did not.                                    13       Q. Um-hum.
    14       Q. When you reviewed                              14       A. They were notes that I compiled
    15   Ms. Miller-Dawson's testimony, did you see            15   prior to my previous deposition.
    16   anything in her testimony that you believed to        16       Q. And where are those notes?
    17   be inaccurate?                                        17       A. On my computer at work.
    18       A. No. I don't know that I could tell             18       Q. Where on your computer?
    19   because most of her testimony was based on the15      19       A. On my desktop.
    20   city's financial considerations, city                 20       Q. So if you wanted to, you know
    21   operations, so I would not have knowledge of          21   exactly where to go to get the notes?
    22   whether what she said was inaccurate or not.          22       A. Yes. So when you request them, I
    23       Q. So when you reviewed what you said             23   can provide them.
    24   was 90 percent of her testimony, did you see          24       Q. Indeed. Thank you.
    25   anything that she said that you believed to be        25           MR. PENDELL: We'll take it under
                                                     Page 19                                                  Page 21
     1   inaccurate?                                            1   advisement.
     2       A. No.                                             2       Q. What was your purpose in reviewing
     3       Q. And when you reviewed her testimony,            3   those notes to prepare for today's deposition?
     4   did that prompt you to realize that anything you       4       A. Just to refresh my memory.
     5   had said in your deposition was inaccurate?            5       Q. Did they refresh your memory?
     6       A. No.                                             6       A. Yeah.
     7       Q. Did you review any other deposition             7       Q. On what?
     8   transcripts besides that of Ms. Johnson and            8       A. On the subjects that were contained
     9   Ms. Miller-Dawson?                                     9   in the notes.
    10       A. No.                                            10       Q. And the subjects that you mentioned
    11       Q. You said you also reviewed your                11   are trends of spending in the different
    12   notes --                                              12   departments?
    13       A. Yes.                                           13       A. Yes.
    14       Q. -- to prepare for today's                      14       Q. The economic impact of the opioid
    15   deposition?                                           15   crisis nationally and in Summit County?
    16       A. Yes.                                           16       A. Yes.
    17       Q. What notes are you talking about?              17       Q. And overdose rates?
    18       A. Notes on costs to different county             18       A. Yes.
    19   departments on trends that affected different         19       Q. And what did you --
    20   county departments, and just some general notes       20       A. Essentially everything in those
    21   on the economic impact of the opioid crisis,          21   notes are things that we discussed in my
    22   both in Ohio and in Summit County and                 22   previous deposition.
    23   nationally, and, also, just overdose death            23       Q. And did reviewing those notes
    24   rates, things of that nature.                         24   identify for you anything you said in your past
    25       Q. And did you take these notes during            25   deposition that you now believe to be
                                                                                                  6 (Pages 18 - 21)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 7 of 106. PageID #: 242294


                                                     Page 22                                                    Page 24
     1   inaccurate?                                            1   take-aways were.
     2       A. No.                                             2       A. Yes.
     3       Q. You also said you did research?                 3       Q. Just from reviewing the Ohio
     4       A. Yes.                                            4   Hospital Association website or both websites?
     5       Q. Is this research you did since your             5       A. That was just the Ohio Hospital
     6   last deposition?                                       6   Association website.
     7       A. Yes.                                            7       Q. Okay. And so what you are conveying
     8       Q. Okay. So what research did you do               8   today is your understanding of what you read on
     9   since your last deposition?                            9   the Ohio Hospital Association's website
    10       A. I looked at some reports, as I                 10   describing research that had been done by
    11   mentioned earlier, from the Ohio Hospital             11   someone else?
    12   Association and from the Ohio Department of           12       A. By the hospitals that participate in
    13   Health on overdose rates and death rates.             13   the Ohio Hospital Association, data they
    14       Q. Okay. So what -- did you go to a               14   provided.
    15   website?                                              15       Q. And did you compile the underlying
    16       A. Yes.                                           16   data?
    17       Q. So you went to a website for the               17       A. I did not.
    18   Ohio Hospital Association?                            18       Q. Did you participate in any study or
    19       A. Yes.                                           19   analysis of that data?
    20       Q. And what did you learn based on your           20       A. What do you mean by study,
    21   review of that website about overdose rates or        21   participate in study or analysis?
    22   death rates?                                          22       Q. Well, have you done any analysis of
    23       A. I learned that from the Ohio                   23   the data as opposed to reading what someone has
    24   Hospital Association -- I'm trying to remember        24   described about the data on this website?
    25   which was on which site. From the Ohio Hospital       25       A. I simply reviewed the data on the
                                                     Page 23                                                    Page 25
     1   Association, that essentially there were 66 --         1   website. I did nothing in terms of putting it
     2   roughly 66,000 overdose deaths in either 2016 or       2   on a spreadsheet and doing any other analysis
     3   2017; two-thirds of those were opiate-related          3   with it. I don't know if, in my mind, going
     4   overdose deaths. And that the Ohio Hospital            4   through those trends constitutes analysis,
     5   Association estimates by 2025 that they will be        5   but --
     6   treating 90,000 overdose incidences in their           6        Q. Did you talk to anyone from the Ohio
     7   hospitals per year, and that, on average, 30           7   Hospital Association about the data or your
     8   people will die each day from opiate-related           8   take-aways from the data?
     9   overdose deaths.                                       9        A. I did not.
    10           I also looked at a trend sheet they           10        Q. And did you talk to anyone who
    11   had, which indicated the number of overdoses          11   participated in either gathering the underlying
    12   in -- well, it broke down several categories,         12   data or calculating the statistics from the data
    13   but by county, by age group, by -- by sex, by         13   that you believe you saw on this website?
    14   ethnicity. But looking at Summit County's             14        A. I don't believe I saw it. I did see
    15   trend, our trend of overdose -- overdoses             15   it. I did not. I believe the Ohio Hospital
    16   treated in hospitals going back to 2008, which        16   Association to be a reputable association and
    17   were at 200; by 2014, 2015 had exploded to the        17   their participating members to be reputable
    18   point where they were up over 2,000 overdoses in      18   organizations.
    19   Summit County, I believe in either 2016 or 2017.      19        Q. What prompted you to go to the Ohio
    20   So those were my key take-aways from that.            20   Hospital Association website in the first place?
    21           And the other one was just the fact           21        A. I was just googling opiate --
    22   that they impact all age groups, including --         22   googling about opiates, just wanting to do a
    23   the biggest age groups are the 18 to 39 and the       23   little more research prior to today's
    24   39 to 54 age group.                                   24   deposition.
    25       Q. Okay. So you've described what your            25        Q. You said that, as you recall it, the
                                                                                                   7 (Pages 22 - 25)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 8 of 106. PageID #: 242295


                                                      Page 26                                                    Page 28
     1   Ohio Hospital Association website reported that         1       Q. Okay. It just said 30 people will
     2   there were 66,000 overdose deaths in 2016 or            2   die per day from a drug overdose?
     3   2017?                                                   3       A. In Ohio -- in Ohio, yes.
     4       A. Roughly, yes.                                    4       Q. Okay. So it didn't break it out by
     5       Q. And you said that the website                    5   the number of people who were projected to die
     6   reported that two-thirds of those are opiate            6   from an opioid overdose?
     7   related?                                                7       A. That study did not, no.
     8       A. Yes.                                             8       Q. And it also did not break out the
     9       Q. And what drugs are included in                   9   number of people who would die per day from an
    10   opiate when it says that two-thirds of the             10   overdose of an illegal opioid versus a
    11   overdose deaths were opiate related?                   11   prescription opioid?
    12       A. Those statistics -- well, there is              12       A. That study did not.
    13   another -- another take-away I took from their         13       Q. And then you said, if I understood
    14   analysis. It might have been the Ohio                  14   you correctly, that this same website reported
    15   Department of Health. You'll have to forgive me        15   the number of overdoses by county, age group,
    16   because I believe these were in the Ohio               16   sex and ethnicity?
    17   Hospital Association, but there was also Ohio          17       A. Yes.
    18   Department of Health analysis I looked at.             18       Q. And when it listed overdoses, are
    19           The Ohio Hospital Association                  19   those drug overdoses?
    20   included both prescription-based opiates and           20       A. My belief is yes. Those were opiate
    21   synthetic, illegal opiates, non-prescription.          21   overdoses.
    22       Q. So did it break out the number of               22       Q. So these numbers that you remember
    23   overdose deaths that were based on overdosing on       23   were focused or limited to overdoses on opiates?
    24   an illegal opioid versus a prescription opioid?        24       A. Yes.
    25       A. No. The Ohio Hospital Association               25       Q. Did it break out the number of
                                                      Page 27                                                    Page 29
     1   study did not.                                          1   overdoses based on use of an illegal opiate
     2        Q. And did it report on the number of              2   versus a prescription opioid?
     3   overdose deaths that resulted from the use of a         3       A. That study did not.
     4   prescription opioid?                                    4       Q. And when it reported the number of
     5        A. Say that again.                                 5   overdoses, is it reporting the number of
     6        Q. Did it report on the number of                  6   overdose deaths or just the number of overdoses?
     7   overdose deaths that resulted from the use of a         7       A. Those were the number of incidences
     8   prescription opioid?                                    8   treated in hospitals for overdose, so it was not
     9        A. That study did not.                             9   specifically just deaths.
    10        Q. And did it report on the number of             10       Q. And did it provide any data about
    11   overdose deaths that were attributable to use of       11   which overdoses or which percentage of overdoses
    12   an illegal opioid where someone had used a             12   involved someone using a prescription opioid in
    13   prescription opioid in the past?                       13   the past?
    14        A. That one did not.                              14       A. That study did not.
    15        Q. And when it projected, as you recall           15       Q. Then you mentioned that it -- it
    16   it, that by 2025 there will be 90,000 overdoses        16   reported a trend between 2008 and 2015?
    17   per year, did it break out the number of               17       A. I believe it went all the way to
    18   overdoses it projected per year that are               18   2017, though I don't know it was inclusive of
    19   attributable to use of a prescription opioid           19   the entire year of 2017.
    20   versus use of an illegal opioid?                       20       Q. And what trend do you remember it
    21        A. That study did not.                            21   reporting?
    22        Q. And when it projected that by 2025,            22       A. That in Summit County, who I
    23   30 people will die per day from an overdose, was       23   specifically looked at, we were at 200 plus
    24   that an overdose on opioids?                           24   overdose incidences in 2008. That number was
    25        A. That study did not indicate that.              25   slowly growing in '09, '10, '11. It was like at

                                                                                                     8 (Pages 26 - 29)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 9 of 106. PageID #: 242296


                                                      Page 30                                                    Page 32
     1   300-some, then 400-some. And then in 2014 I             1   Health?
     2   believe it hit somewhere around 770, and then by        2        A. Yes.
     3   2015 it went to 1100, and by 2016 it doubled to         3        Q. Okay. When did you look at that?
     4   2200 incidences, roughly.                               4        A. Last night.
     5       Q. And so this is data reporting on                 5        Q. Why?
     6   overdose incidents?                                     6        A. Because as most of your questions
     7       A. Yes.                                             7   just kind of alluded to, I was -- I was curious
     8       Q. And did it break out the overdoses               8   about whether there was data available that
     9   by drug?                                                9   broke down usage by prescription versus illegal
    10       A. It did not. This study did not.                 10   opiates.
    11       Q. Were these overdose incidents all               11        Q. Okay. So you were curious about
    12   drug overdoses or was it limited to                    12   that. How did that lead you to the Ohio
    13   opiate-related overdoses?                              13   Department of Health website?
    14       A. I believe -- I'd have to check, but             14        A. I just went there looking to see if
    15   I believe it was opiate incidences.                    15   they had that kind of data available that would
    16       Q. And then did it break out the number            16   tell me what that breakdown was.
    17   or percentage of opiate incidents that resulted        17        Q. Based on your curiosity, did you go
    18   from use of an illicit opioid versus a                 18   anywhere else besides the Ohio Department of
    19   prescription opioid?                                   19   Health website?
    20       A. That study did not.                             20        A. I don't believe so, no.
    21       Q. Did you see anything on the website             21        Q. So what did you -- how much time did
    22   of the Ohio Hospital Association that provided         22   you spend on the Ohio Department of Health
    23   data on overdose -- overdose deaths resulting          23   website?
    24   from the use of a prescription opioid?                 24        A. Maybe about an hour.
    25       A. Not on that -- not on that website.             25        Q. And what did you learn based on
                                                      Page 31                                                    Page 33
     1       Q. Did you see anything on the website              1   reviewing that website?
     2   of the Ohio Hospital Association that provided          2       A. So there were a few things.
     3   data on overdoses resulting from the use of a           3           I found a report that had been done
     4   prescription opioid?                                    4   back in 2007, 2008 that detailed, for a
     5       A. Not on that website.                             5   three-year period from 2003 to 2007, overdoses
     6       Q. And did you see anything on the                  6   in Ohio. It detailed counts by both the type of
     7   website of the Ohio Hospital Association that           7   medication the overdose was attributed to, the
     8   provided data on what percentage of overdoses           8   breakdown between male and female. And then I
     9   based on the use of an illicit opioid involved          9   found a more current study that went into detail
    10   prior use of a prescription opioid?                    10   with breakdowns of both prescription and
    11       A. Not on that website.                            11   illegal-based opiates and other substances, and
    12       Q. Can you provide any more detail                 12   that one focused on the death rates from those
    13   about what you remember seeing on the website of       13   particular substances.
    14   the Ohio Hospital Association?                         14       Q. Anything else?
    15       A. The only other thing that really                15       A. That's probably the main gist of
    16   stuck out at me, as I mentioned, were the age          16   what I got out of those reports.
    17   groups, and then kind of the male/female               17       Q. Okay. So turning to the first
    18   breakdown and the racial component of it. Very         18   report --
    19   much that whole age group from 18 to -- it was         19       A. Yes.
    20   either 54 or 59, made up the vast majority, but        20       Q. -- that you remember reading about
    21   I was a little surprised at just how much that,        21   last night on this website, who issued this
    22   roughly, 39 to, I think it was, 54 age group,          22   report back in 2007 or 2008?
    23   how large that population was.                         23       A. The Ohio Department of Health.
    24       Q. You said earlier that you also                  24       Q. Which part?
    25   looked at the website of the Ohio Department of        25       A. What do you mean by "which part"?

                                                                                                     9 (Pages 30 - 33)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 10 of 106. PageID #: 242297


                                                   Page 34                                                  Page 36
      1       Q. Which division within Ohio                 1        A. Yes.
      2   Department of Health issued the report?           2        Q. Heroin?
      3       A. I don't know offhand.                      3        A. Yes.
      4       Q. And where did it get the data that         4        Q. Benzodiazepine?
      5   it was reporting on?                              5        A. Yes.
      6       A. It was data that both it had               6        Q. Any other groupings you remember?
      7   compiled, the CDC had compiled, and data the      7        A. There were others on there. I don't
      8   Ohio -- you know, it was data also that the Ohio 8    recall.
      9   Hospital Association had compiled.                9        Q. And so within each grouping, it
     10       Q. And as you remember it, the report        10   would list the total number of overdoses in Ohio
     11   was issued in 2007 or 2008?                      11   from 2003 to 2007?
     12       A. Yes.                                      12        A. Yes.
     13       Q. And it was based on data collected        13        Q. And then for the prescription opioid
     14   from the period of 2003 to 2007?                 14   grouping, did it list what drugs were included?
     15       A. Yes.                                      15        A. It did not.
     16       Q. And you said it reported on               16            Now, I do believe -- so I may have
     17   overdoses in Ohio?                               17   been at the public health site first, as I think
     18       A. Yes.                                      18   through this, because I believe that table
     19       Q. Did it break out the overdoses by         19   listed the Ohio Hospital Association as the
     20   jurisdiction within Ohio?                        20   source, which is what led me to the Ohio
     21       A. That one did not.                         21   Hospital Association website, looking for more
     22       Q. So this was statewide?                    22   detail.
     23       A. Yes.                                      23        Q. And when it listed overdoses in a
     24       Q. Okay. And did it list the number of       24   particular group, how did an overdose end up in
     25   overdoses in Ohio each year from 2003 to 2007? 25     that group? What was the standard for putting
                                                   Page 35                                                  Page 37
      1        A. It had a composite for that              1    it in a particular group?
      2   four-year period.                                2         A. I do not know.
      3        Q. So it gave the total number of           3         Q. So was it where the overdose was
      4   overdoses for that period of 2003 to 2007?       4    attributable to use of a particular drug or
      5        A. Yes.                                     5    where a particular drug was detected in the
      6        Q. And were these overdoses on all          6    autopsy or where someone had reported prior use?
      7   drugs or particular types of drugs?              7             MR. PENDELL: Objection.
      8        A. Particular -- well, all drugs,           8         A. Any answer --
      9   groupings of drugs.                              9             MR. PENDELL: Just give me a chance
     10        Q. Okay. And what were the groupings       10    to object. Objection to form.
     11   of drugs?                                       11             Go ahead.
     12        A. They had prescription opiates. They     12         A. I could only assume.
     13   did specifically list cocaine, heroin,          13         Q. And for this report did it break out
     14   benzodiazepine. I'm trying to remember what 14        the number of overdoses per year within that
     15   else. There may have been a few other things on 15    2003 to 2007 time period?
     16   the list.                                       16         A. No.
     17        Q. Okay. So it would, as you recall        17         Q. So it was just for that period?
     18   it, give the total number of overdoses in Ohio  18         A. Yes.
     19   between 2003 and 2007 as grouped by drug or 19             Q. Do you remember anything else about
     20   grouping of drug?                               20    this 2007 or 2008 report beyond what you've
     21        A. Yes.                                    21    said?
     22        Q. Okay. And the groupings you             22         A. No. That was the main thing.
     23   remember were prescription opioids?             23         Q. Then you said, in looking at the
     24        A. Yes.                                    24    website of the Ohio Department of Health last
     25        Q. Cocaine?                                25    night, you also looked at a second report which

                                                                                              10 (Pages 34 - 37)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 11 of 106. PageID #: 242298


                                                      Page 38                                                 Page 40
      1   you described as current?                              1   you understood this report to say that in 2010,
      2        A. Yes.                                           2   40 percent of the overdose deaths in Ohio were
      3        Q. When was that report issued?                   3   attributable to prescription opioids?
      4        A. I believe it was -- it was either --           4        A. Yes.
      5   I think it was issued in 2018.                         5        Q. And that that number went down each
      6        Q. And who issued it?                             6   year from 2010 to 2016?
      7        A. The Ohio Department of Health. I               7        A. Yes.
      8   don't know what division in particular.                8        Q. And so what was the number in 2016?
      9        Q. Where did it get the data that was             9        A. So in 2016 that number was 20
     10   included in this report?                              10   percent, and from there I went on to read the
     11        A. It was data that I believe it has             11   narrative, which more fully described what
     12   compiled. I don't -- I'm sure there were              12   happened in 2016.
     13   sources listed in the report, but I didn't go to      13        Q. Did it provide a percentage for
     14   those source listings.                                14   2017?
     15        Q. And what period of time does this             15        A. I don't believe it did.
     16   report cover?                                         16        Q. And during the same time period,
     17        A. It covered 2010 -- at least the               17   2010 to 2016, you say that the percentage of
     18   information specifically that I was looking at,       18   overdose deaths in Ohio attributable to heroin
     19   2010 through either '16 or '17.                       19   increased?
     20        Q. And what did it report for that time          20        A. It did.
     21   period?                                               21        Q. The percentage of overdose deaths in
     22        A. So the thing that caught my                   22   Ohio during this time period attributable to
     23   attention in this report were some tables they        23   cocaine increased?
     24   had, some charts, that showed the number of           24        A. It did.
     25   overdose deaths in Ohio and the cause broken          25        Q. And the percentage of overdose
                                                      Page 39                                                 Page 41
      1   down into categories from 2010 through, I              1   deaths in Ohio attributable to fentanyl
      2   believe, 2016. I don't think it included '17.          2   skyrocketed?
      3   And those categories broke them down between           3        A. Yes.
      4   prescription opioids, heroin, cocaine, fentanyl.       4        Q. So from 2010 to 2016 how did the
      5   And I don't remember what the other groupings --       5   percentages change for heroin? I know you said
      6   there may have been just an "other" category as        6   it increased, but from what to what?
      7   well. I don't recall specifically.                     7        A. I don't recall. I didn't key in on
      8        Q. Okay. You remember categories of               8   that statistic, nor did I with the other -- the
      9   prescription, heroin, cocaine, fentanyl and            9   other non-prescription statistics, but they did
     10   perhaps others?                                       10   increase.
     11        A. Yes.                                          11        Q. So you don't remember what the
     12        Q. And what did it report about the              12   percentages were in 2010 or 2016 for heroin,
     13   number of overdose deaths in Ohio during this         13   cocaine, fentanyl or the other category?
     14   time period in each category?                         14        A. No. The thing I noticed with
     15        A. It was interesting to me because              15   fentanyl is that it really wasn't even on the --
     16   there was also some narrative that accompanied        16   on the radar, on the chart, until maybe 2014 or
     17   this chart. In 2010, 40 percent of the                17   '15.
     18   overdoses in that year, on that chart, were           18        Q. Okay. And then focusing on the
     19   attributed to prescription opioids. Now, that         19   prescription opioids category, as you remember
     20   number declined from 2010 through 2016 as, in         20   it, based on looking at this website --
     21   particular, fentanyl essentially, I guess the         21        A. Yes.
     22   term would be skyrocketed, and cocaine and            22        Q. -- did it break out the percentage
     23   heroin also increased during that period as           23   of overdoses on a prescription opioid that had
     24   well.                                                 24   been prescribed to the decedent versus the
     25        Q. So if I understand you correctly,             25   percentage of overdoses on a prescription opioid
                                                                                                 11 (Pages 38 - 41)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 12 of 106. PageID #: 242299


                                                      Page 42                                                    Page 44
      1   that the decedent had gotten somewhere else?           1   the number of deaths that they had prescription
      2       A. It did go on to say that in 2016, I             2   opioids as a cause was 40 percent. It had
      3   believe the number was 836 of the 4,000 and some       3   dropped to 20. They went on to describe the
      4   overdose deaths in Ohio, 20 point something            4   fact that the OARRS data system in Ohio, along
      5   percent had -- were attributed to a situation          5   with other efforts on education, law
      6   where the person who overdosed had received a          6   enforcement, had helped create a decline in the
      7   prescription opioid within the previous, I think       7   number of deaths related to opiates, opiate --
      8   it was, 90 days prior to their death.                  8   prescription-based opiates, but certainly led
      9       Q. That's what you remember the report             9   you to believe that when you see the
     10   saying?                                               10   skyrocketing of fentanyl, heroin and these other
     11       A. Yes.                                           11   drugs, that -- they also went on to talk about
     12       Q. Okay. And did it give a similar                12   a, roughly, 20 percent reduction in the number
     13   percentage for 2010?                                  13   of prescriptions prescribed between 2010 and
     14       A. Did not.                                       14   2016, but it certainly tied the correlation that
     15       Q. Or other years between 2010 and                15   the illegal drug overdose deaths -- there is a
     16   2016?                                                 16   correlation there -- at least that was my
     17       A. It did not.                                    17   walk-away from it -- between that time period in
     18       Q. So you recall that it said 20 point            18   2015, when OARRS became mandatory.
     19   something percent of the overdose deaths in Ohio      19            And they did cite statistics that in
     20   in 2016 were attributable to a situation where a      20   2011 there were only 1.8 million reviews of the
     21   person had a prescription for an opioid within        21   OARRS database. That number had grown to over
     22   the prior 90 days?                                    22   24 million by 2015 or '16. And during that same
     23       A. I believe it was 90 days.                      23   time, the number of prescriptions issued had
     24       Q. Did it say that those people who had           24   decreased by 20 percent, and beginning in 2015
     25   died from an overdose had overdosed on a              25   and 2016 you see the skyrocketing of the
                                                      Page 43                                                    Page 45
      1   prescription opioid?                                   1   fentanyl and the other illegal drugs, which ties
      2        A. I don't believe it specifically said           2   into the data we see at the county with the
      3   that.                                                  3   number of overdoses taking off at that point as
      4        Q. Okay. So where it gave a percentage            4   well.
      5   at least for 2016, that percentage was the             5       Q. So if I understand you correctly,
      6   percentage of people who had overdosed and died        6   based on your review of this report on the Ohio
      7   from an overdose in Ohio where the person had a        7   Department of Health website, the existence of
      8   prescription for a prescription opioid within          8   OARRS and the use of OARRS helped reduce the
      9   the prior 90 days?                                     9   number of prescriptions for prescription
     10        A. Correct.                                      10   opioids?
     11        Q. It did not say that those people              11       A. That was my take-away from that
     12   overdosed on a prescription opioid?                   12   report.
     13        A. I do not believe it said that.                13       Q. And which then contributed to
     14        Q. And did it say that for any prior             14   reducing the number of overdoses on prescription
     15   year going back to 2010?                              15   opioids?
     16        A. I do not believe so.                          16       A. That was my take-away.
     17        Q. Anything else you remember about              17       Q. And reduced the percentage or the
     18   your research on the Ohio Department of Health        18   number of overdoses where the person had a
     19   website to prepare for today's deposition?            19   prescription opioid in the past?
     20        A. Well, yeah.                                   20       A. Say that last one again.
     21            So in that analysis of the 2016              21       Q. And that the existence of OARRS and
     22   data, the Ohio Department of Health further went      22   the use of OARRS further reduced the number of
     23   on to discuss efforts that had been made in the       23   overdoses where the decedent had a prescription
     24   state of Ohio, which they felt have helped            24   opioid in the past?
     25   reduce those -- as you recall, I said in 2010         25       A. That was my take-away, yes.

                                                                                                   12 (Pages 42 - 45)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 13 of 106. PageID #: 242300


                                                      Page 46                                                    Page 48
      1       Q. Did you compile any of the data that            1            Summit County was not -- was what I
      2   was reported in either of these reports on the         2   would call second tier in the groupings on the
      3   website?                                               3   number of overdose deaths of the counties, which
      4       A. I did not.                                      4   I think probably goes a long way to the efforts
      5       Q. Did you analyze the data to compile             5   of the public safety officials to treat people
      6   any of the statistics that were posted on this         6   and administer drugs to save lives.
      7   website?                                               7            In one of those two reports, and I
      8       A. I did not.                                      8   think it was the Ohio Hospital Association
      9       Q. And did you participate in the                  9   report, there was also a statistic that Ohio was
     10   drafting of the narrative or the analysis of the      10   second -- or it might have been the Department
     11   statistics?                                           11   of Health because it was on deaths -- second in
     12       A. I did not.                                     12   the per capita in the country behind West
     13       Q. Did you talk to anyone at the Ohio             13   Virginia with the number of overdose deaths per
     14   Department of Health or anyone else who compiled      14   capita.
     15   the data that is included in these reports?           15        Q. You mentioned in your deposition in
     16       A. I did not.                                     16   December that you had participated in a meeting
     17       Q. Did you talk to anyone at the Ohio             17   with a number of people other than lawyers for
     18   Department of Health or anyone else who analyzed      18   Summit County.
     19   the data to compile the statistics?                   19            Do you recall that --
     20       A. I did not.                                     20        A. Yes.
     21       Q. And did you talk to anyone at the              21        Q. -- testimony?
     22   Ohio Department of Health or anywhere else about      22        A. Yes.
     23   the narrative or analysis that discussed these        23        Q. Okay. Can you describe for me the
     24   statistics?                                           24   meeting you had with representatives from
     25       A. I did not. I just read these                   25   different departments in the Summit County
                                                      Page 47                                                    Page 49
      1   reports last night, so no, I have not had an           1   government?
      2   opportunity to do anything like that.                  2       A. Yes.
      3       Q. So what you've described today is               3       Q. Who did you meet with?
      4   your take-away based on your reading of the            4       A. To be clear, the attorneys were
      5   websites last night?                                   5   present in that meeting.
      6       A. That's correct.                                 6       Q. Understood. But you said there were
      7            There is one other thing on -- I              7   non-attorneys who participated as well?
      8   believe it was on the Ohio Hospital Association.       8       A. That's correct.
      9   They had a white paper that accompanied these          9       Q. Who attended that meeting?
     10   statistics, which was the one report I referred       10       A. Jerry Craig from the ADM Board, Jen
     11   to with the estimates of -- by 2025 of -- based       11   Peveich from the ADM Board, Julie Barnes from
     12   on trend, of 90,000 overdose cases per year.          12   Children Services, Darin Kearns from Children
     13            But they had a chart in there of the         13   Services, Donna Skoda from the Public Health
     14   State of Ohio by county, and they had them            14   Department, Angela Burgess from the Public
     15   categorized based on the number of overdoses per      15   Health Department. I don't recall if there was
     16   10,000 residents and the number of overdoses --       16   anybody else there or not.
     17   overdose deaths per 100,000 residents. And            17       Q. And how long was this meeting?
     18   Summit County and Fayette County were the two         18       A. Probably about an hour and a half.
     19   highest counties on the number of overdoses per       19       Q. When was the meeting?
     20   10,000 residents in the State of Ohio. They           20       A. Late November maybe.
     21   were specifically coded in black.                     21       Q. And did you participate in this
     22       Q. At what point in time?                         22   meeting to prepare for your deposition as a
     23       A. I don't recall. I would -- I don't             23   corporate representative for Summit County?
     24   recall. It was probably either '16 or '17, but        24       A. Yes.
     25   I don't recall specifically.                          25       Q. So what did you learn from

                                                                                                   13 (Pages 46 - 49)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 14 of 106. PageID #: 242301


                                                       Page 50                                                    Page 52
      1   Ms. Barnes in that meeting?                             1   9:58.
      2        A. In the meeting itself, essentially              2                (Recess had.)
      3   we sat and talked about the statistics for CSB          3           THE VIDEOGRAPHER: We're on the
      4   on the number of cases that -- the number of            4   record, 10:27.
      5   placement, child placement cases, that were             5   BY MR. KEYES:
      6   attributable to opiate -- opiates, and also             6        Q. So during the meeting that you had
      7   talked about the rise in placement costs, the --        7   with Ms. Barnes, what did she say about the
      8   and the dollars spent on those placement costs,         8   number of placement cases attributable to
      9   along with staff costs.                                 9   opiates?
     10        Q. Did you review any documents with              10        A. So at that meeting we discussed the
     11   Ms. Barnes about these topics you just listed?         11   fact that they had done an analysis in their
     12        A. I don't recall if we had documents             12   SACWIS system of the number of placements in the
     13   specifically with us.                                  13   years -- I think it was like 2014, '15, '16,
     14        Q. And did you get any documents from             14   '17.
     15   Ms. Barnes or anyone at Children Services after        15        Q. Who did the analysis?
     16   the meeting?                                           16        A. Employees at Children Services.
     17        A. I have, yes.                                   17        Q. Which ones?
     18        Q. What documents did you get?                    18        A. I don't know.
     19        A. Analysis on cases and a breakdown of           19        Q. And what statistics did they compile
     20   spending tied to those cases.                          20   based on this analysis of placements?
     21        Q. Is that the document we reviewed in            21        A. So some of the years were a little
     22   your deposition in December?                           22   inconclusive. They had not, "they" being the
     23        A. It's probably -- that was probably             23   Summit County Children Services agency and the
     24   the original basis for further investigation           24   State of Ohio, had not required data related to
     25   into what was -- what those trends at CSB truly        25   opioids to be entered into SACWIS, so --
                                                       Page 51                                                    Page 53
      1   look like. So I would call that document we             1   sometime until, I think it was, late 2015 or so.
      2   reviewed at my last deposition one of the               2   So 2016 was probably the first reliable year
      3   preliminary, as we first started the fact               3   that we could look at the SACWIS data and have
      4   gathering, documents.                                   4   truly available information in the database to
      5        Q. But then after your meeting with                5   tell us how many of those cases were opiate
      6   Ms. Barnes, you got subsequent reports that were        6   related. And the number for 2016 was roughly 27
      7   more current?                                           7   percent, I believe.
      8        A. Yes.                                            8        Q. You recall that Ms. Barnes shared
      9        Q. So during the meeting that you had              9   with you at this meeting that for the year 2016,
     10   with Ms. Barnes, what did she say about the            10   27 percent of the placements were opiate
     11   number of placement cases attributable to              11   related?
     12   opiates?                                               12        A. Yes.
     13        A. Can I request a break for a second?            13        Q. According to this review by Children
     14        Q. Yes. Can you answer my question                14   Services employees of the SACWIS database?
     15   first, though?                                         15        A. Yes.
     16            MR. PENDELL: Are you concerned that           16        Q. And did she share with you a
     17   this implicates work product or privilege?             17   statistic for 2017?
     18            THE WITNESS: Yes.                             18        A. Yes. I think that one was -- it was
     19            MR. PENDELL: Okay. So then I'm                19   in the 20 percent range, too. I don't recall
     20   going to request that you not answer that              20   exactly.
     21   question so we can talk about it at the break          21        Q. Did she share with you a statistic
     22   and possibly answer your question.                     22   for 2015?
     23            MR. KEYES: Okay. Let's take a                 23        A. She did.
     24   break.                                                 24        Q. What was it?
     25            THE VIDEOGRAPHER: Off the record,             25        A. I don't recall that. It was lower

                                                                                                    14 (Pages 50 - 53)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 15 of 106. PageID #: 242302


                                                   Page 54                                                     Page 56
      1   than 20 percent.                                    1   the percentages that Ms. Barnes disclosed to you
      2       Q. Did she share with you a statistic           2   at that meeting?
      3   for 2014?                                           3       A. Yes.
      4       A. She did. And, again, it was lower            4       Q. Then earlier you said that after the
      5   than 20 percent. I don't recall the exact           5   meeting you got subsequent reports that were
      6   number.                                             6   more current, correct?
      7       Q. Did she share a statistic for any            7       A. Not as it relates to the SACWIS
      8   year prior to 2014?                                 8   data, no.
      9       A. I don't believe so.                          9       Q. After the meeting with Ms. Barnes
     10       Q. So if I understand you correctly, in        10   did you get any further reports that were based
     11   your meeting with Ms. Barnes, she shared with      11   on SACWIS data?
     12   you that, according to this review by Children     12       A. We, at the meeting, discussed the
     13   Services employees of SACWIS data, they            13   SACWIS data. We also discussed in our original
     14   concluded that in 2014 and 2015 less than 20       14   analysis costs that -- that both were included
     15   percent of the placements were opioid related,     15   and costs that I began to ask them about that
     16   correct?                                           16   were not included in that original data; and at
     17           MR. PENDELL: Objection to form.            17   the direction of counsel, we asked them to
     18       A. They did, but they also indicated           18   revise cost estimates based on all of that new
     19   that that data was incomplete and probably         19   information.
     20   likely understated.                                20       Q. Okay. So what costs were included
     21       Q. That the percentage of placements           21   in the figures that Ms. Barnes shared with you
     22   that were opiate related in 2016 was 27 percent?   22   at the meeting?
     23       A. Yes.                                        23       A. Placement costs primarily, and there
     24       Q. And that the percentage of                  24   was a category of smaller child care-related
     25   placements that were opiate related in 2017 was    25   costs that they had originally included.
                                                   Page 55                                                     Page 57
      1   in the 20 percent range?                          1         Q. And what costs weren't included?
      2        A. Yes.                                      2         A. Primarily personnel costs for CSB
      3        Q. And did she provide a statistic for       3     staff, travel costs for CSB staff, training
      4   2018?                                             4     costs for CSB staff. None of those costs -- and
      5        A. No.                                       5     those were the major ones. There might be some
      6        Q. Did Ms. Barnes share with you in          6     minor ones, but those were the major ones that
      7   this meeting any further data or statistics       7     had never been included in the analysis.
      8   about the number of placement cases or the        8         Q. Did Children Services go back and
      9   percentage of placement cases that were           9     perform any kind of review of data or files to
     10   attributable to opioids?                         10     identify or calculate personnel costs?
     11        A. They had data on both total              11         A. At the direction of counsel, they
     12   placements and then the number of placements 12         did.
     13   attributable to opioids. That was the extent of 13          Q. Did they do it for travel costs?
     14   the statistics they provided.                    14         A. They did.
     15        Q. Did Ms. Barnes give you any              15         Q. Did they do it for training costs?
     16   documents during this meeting to substantiate or 16         A. They did.
     17   provide context for any of these statistics?     17         Q. And did you subsequently get any
     18        A. I don't recall if they gave us a         18     report or information showing what those
     19   document at the meeting. We may -- I may have 19        personnel costs, travel costs or training costs
     20   received that document prior to the meeting,     20     were?
     21   which was -- one of the things, I think, that    21         A. They did provide to counsel reports.
     22   prompted the meeting was getting at what this 22            Q. Did they provide it to you?
     23   data means and what's been included and not      23         A. I was cc'd on that e-mail.
     24   included in the original analysis that we did.   24         Q. Okay. So what were the personnel
     25        Q. And did that document square with        25     costs that were calculated after this meeting?
                                                                                                15 (Pages 54 - 57)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 16 of 106. PageID #: 242303


                                                   Page 58                                                 Page 60
      1           MR. PENDELL: Objection.                     1       A. Like the physical files themselves
      2           I'm going to instruct you not to            2   you're --
      3   answer that on the grounds of privileged work       3       Q. Whatever case files are specific to
      4   product.                                            4   individual placements as opposed to whatever is
      5        A. I've been instructed not to answer.         5   in the SACWIS database.
      6        Q. What were the travel costs that were        6       A. The only discussion we had was
      7   calculated after this meeting?                      7   centered on the SACWIS database.
      8           MR. PENDELL: Same instruction.              8       Q. So during your meeting with
      9        A. I've been instructed not to answer.         9   Ms. Barnes and others, did you learn anything
     10        Q. What were the training costs that          10   about whether anyone had reviewed individual
     11   were calculated after this meeting?                11   case files?
     12           MR. PENDELL: Same instruction.             12       A. I did not learn whether anybody had
     13        A. I've been instructed not to answer.        13   reviewed individual case files beyond the data
     14        Q. Did you get any reports after this         14   provided from SACWIS.
     15   meeting relating to any review of the SACWIS       15       Q. Now, you said Darin Kearns was also
     16   data regarding the number of placement cases or    16   at this meeting?
     17   the percentage of placement cases that were        17       A. He was.
     18   attributable to opioids?                           18       Q. Did Darin Kearns provide any other
     19        A. After the meeting?                         19   information about the attempt to determine the
     20        Q. Yes.                                       20   number of placement cases or the percentage of
     21        A. Only -- it was the same statistics         21   placement cases that are attributable to opioids
     22   that were provided before the meeting and were     22   or were opioid related?
     23   now included in the reports provided to counsel.   23       A. Nothing beyond what we've already
     24        Q. How many reports were provided to          24   discussed.
     25   counsel after the meeting?                         25       Q. You said earlier that Ms. Barnes
                                                   Page 59                                                 Page 61
      1        A. The report, I should say, is                1   also discussed with you at this meeting the rise
      2   probably more accurate.                             2   in placement costs and the dollars spent on
      3        Q. Okay. Were the statistics in this           3   staff.
      4   report that was provided after the meeting          4            Do you recall that?
      5   different than the statistics you described         5       A. Correct.
      6   Ms. Barnes sharing during the meeting?              6       Q. What did Ms. Barnes tell you about
      7           MR. PENDELL: Objection.                     7   the rise in placement costs?
      8           Hold on one second.                         8       A. Nothing, I believe, that wasn't
      9           You can answer that question.               9   already outlined in my first deposition about
     10        A. They were not different.                   10   the increasing dollars being spent on placement
     11        Q. Did you discuss with Ms. Barnes at         11   costs.
     12   the meeting any review of case files to            12       Q. What did Ms. Barnes tell you about
     13   determine the number of placement cases or the     13   the dollars spent on staff costs?
     14   percentage of placement cases that are             14       A. That was provided to counsel as part
     15   attributable to opioids?                           15   of the report at their direction.
     16        A. I'm not sure I know -- I'm not             16       Q. This is the report that was provided
     17   following that question.                           17   after this meeting?
     18        Q. Sure.                                      18       A. Yes.
     19           You've described that the statistics       19       Q. So focusing on the meeting --
     20   that she shared with you were based on the         20       A. In the meeting itself we didn't
     21   review of the SACWIS data, correct?                21   discuss specific dollar amounts. We asked them
     22        A. Yes.                                       22   to go back and review that information.
     23        Q. I'm asking whether she shared with         23       Q. Even if you didn't discuss specific
     24   you any information about a review of case         24   dollar amounts, was there a discussion about
     25   files.                                             25   staff costs?
                                                                                              16 (Pages 58 - 61)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 17 of 106. PageID #: 242304


                                                     Page 62                                                     Page 64
      1       A. Only that they weren't included.               1   similar case management system. And I believe
      2       Q. Did you discuss with Mr. Kearns at             2   it was the IT system that they went back and
      3   this meeting anything about the rise in               3   reviewed for -- for opiate treatment costs, both
      4   placement costs?                                      4   dollars spent -- local dollars spent and federal
      5       A. I don't believe so, no.                        5   and state dollars spent on opiate treatment.
      6       Q. Did you discuss with Mr. Kearns at             6       Q. What dollar figures did Mr. Craig
      7   this meeting anything about staff costs for           7   share at this meeting about money spent on
      8   Children Services?                                    8   opiate treatment?
      9       A. So this meeting itself was a                   9       A. They had compiled numbers that were
     10   general, kind of like this open meeting, where       10   in a report that, again, was provided to
     11   everybody was discussing statistics, those           11   counsel, at counsel's direction. Again with ADM
     12   SACWIS statistics, things that were included,        12   we began discussing cost centers that were not
     13   not included. We did not get into -- we did not      13   included in their original estimates.
     14   get into any individual cost pools, other than       14       Q. Okay. So what cost centers were not
     15   identifying what cost pools had and had not been     15   included in their original estimates?
     16   included in previous analyses.                       16       A. Education costs, prevention costs,
     17       Q. And did you identify for me all of            17   wrap-around service costs. There may have been
     18   the cost pools that were not included in the         18   one or two other more minor costs that had not
     19   prior analyses, namely, personnel costs, travel      19   originally been included.
     20   costs and training costs?                            20       Q. So what costs were included in their
     21       A. I believe so. There may have been             21   estimates?
     22   some minor ones, but those were certainly the        22       A. Oh, staffing cost was another one
     23   largest of those.                                    23   that was not included. Just the cost of opiate
     24       Q. So how many reports were given by             24   treatment is what was included in their original
     25   Children Services to Summit County's counsel and     25   estimates.
                                                     Page 63                                                     Page 65
      1   copied to you after this meeting regarding            1        Q. And were you reviewing something in
      2   Children services?                                    2   writing at this meeting that showed the original
      3       A. Given to Summit County counsel?                3   cost estimates?
      4       Q. The lawyers.                                   4        A. I believe we were, yes.
      5       A. Oh, I'm thinking of the elected                5        Q. And what dollars were reflected in
      6   county council members.                               6   these cost estimates?
      7       Q. I'm sorry. Legal counsel.                      7           MR. PENDELL: Objection. Form.
      8       A. I believe just one report.                     8           One second.
      9       Q. And was that report given to Summit            9           Andy, I hate to do this to you. Can
     10   County's experts?                                    10   we have two minutes?
     11       A. I'm not -- I don't know the answer            11           MR. KEYES: Sure.
     12   to that question. Not that I'm aware of.             12           THE VIDEOGRAPHER: Off the record,
     13       Q. You said that Mr. Craig participated          13   10:44.
     14   in this meeting?                                     14               (Recess had.)
     15       A. Yes.                                          15           THE VIDEOGRAPHER: On the record,
     16       Q. What is his position with the ADM             16   10:47.
     17   Board?                                               17   BY MR. KEYES:
     18       A. He's the director of the ADM Board.           18        Q. What dollars were reflected in these
     19       Q. And what did you learn from him at            19   cost estimates?
     20   this meeting?                                        20        A. I don't recall, but I do recall that
     21       A. We were provided, similar to CSB,             21   those -- the documents related to ADM reviewed
     22   actual caseload information as ADM had gone back     22   at that meeting were requested by counsel.
     23   and reviewed their case -- I don't know if they      23        Q. And what were the figures that were
     24   reviewed case files or their system. They have       24   reflected? Even if you don't remember the
     25   a different system than SACWIS, but it's a           25   dollar figures, what was it? It was the spend
                                                                                                  17 (Pages 62 - 65)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 18 of 106. PageID #: 242305


                                                  Page 66                                                   Page 68
      1   by ADM that they said was opiate related?          1   than one report regarding costs related to
      2       A. It was the spend. It was further            2   opioids after that meeting?
      3   analysis on the spend by ADM, and counsel had      3       A. I believe it was just one report.
      4   asked us to essentially take a deeper dive into    4       Q. I am showing you what was previously
      5   ADM spending.                                      5   marked as Nelsen Exhibit 8, and we'll mark this
      6       Q. Counsel asked at that meeting to            6   as Nelsen 30(b)(6) Number 2.
      7   take a deeper dive?                                7               - - - - -
      8       A. Counsel had asked prior to that             8            (Thereupon, Nelsen 30(b)(6)
      9   meeting for us to take a deeper dive.              9            Deposition Exhibit 2, E-Mail from
     10       Q. Okay. And then Mr. Craig brought to        10            Jennifer Peveich to Bryan Herschel
     11   the meeting this report or he circulated it in    11            and Brian Nelsen, dated August 18,
     12   advance?                                          12            2017, with Attachment, Beginning
     13       A. I believe it was circulated in             13            Bates Number SUMMIT_001084232, was
     14   advance.                                          14            marked for purposes of
     15       Q. How far in advance?                        15            identification.)
     16       A. That, I don't recall. A couple             16               - - - - -
     17   weeks maybe.                                      17       Q. We reviewed this in your deposition
     18       Q. You said Jen Peveich was present at        18   in December. Is that the report that you had
     19   this meeting?                                     19   received before the meeting and that was
     20       A. Yes.                                       20   reviewed at the meeting, or are you describing
     21       Q. Did you discuss with her costs borne       21   something different?
     22   by the ADM Board that related to opiates?         22       A. I believe this may have been --
     23       A. At the meeting?                            23   this -- I think this was the report they had
     24       Q. Yes.                                       24   prepared in our original analysis and not the
     25       A. Yes.                                       25   version of data we looked at at the meeting.
                                                  Page 67                                                   Page 69
      1       Q. What did you learn from Ms. Peveich?        1       Q. Okay. So if I understand you
      2       A. Again, we discussed what costs had          2   correctly, what we've now marked as Nelsen
      3   been included, what the new case review had        3   30(b)(6) Exhibit Number 2 was prepared by the
      4   turned up, and then, also, what costs were         4   ADM Board?
      5   likely not included in the analysis that they      5       A. Yes.
      6   had done.                                          6        Q. To estimate the cost that it had
      7       Q. Anything else you learned from              7   incurred relating to opiates?
      8   Ms. Peveich regarding the ADM Board?               8       A. Yes. This was our initial, first
      9       A. No.                                         9   stab at coming up with costs related to ADM.
     10       Q. What is her position with the ADM          10       Q. Subsequent to this exhibit, the ADM
     11   Board?                                            11   Board prepared an updated estimate of its costs
     12       A. She's their either budget or finance       12   that were related to opiates?
     13   director.                                         13       A. Yes.
     14       Q. And after this meeting did the ADM         14       Q. And that second report was reviewed
     15   Board prepare a report?                           15   at that meeting that you've described?
     16       A. They subsequently prepared, at the         16       A. I believe so.
     17   request of counsel, and submitted to counsel      17           MR. PENDELL: Objection to form.
     18   the -- a follow-up report.                        18       A. I believe so.
     19       Q. And were you copied on that report?        19       Q. And that second report was
     20       A. I was copied on that report.               20   circulated in advance of that meeting?
     21       Q. And what did that report say?              21       A. I believe it was.
     22            MR. PENDELL: Objection. Same             22       Q. So you had seen that second report
     23   instruction as earlier. Work product.             23   before the meeting?
     24       A. I've been instructed not to answer.        24       A. I believe so.
     25       Q. Did the ADM Board circulate more           25       Q. And who else received a copy of that
                                                                                              18 (Pages 66 - 69)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 19 of 106. PageID #: 242306


                                                      Page 70                                                   Page 72
      1   second report before the meeting?                      1   Summit County Public Health?
      2       A. Our counsel and myself.                         2       A. Yes.
      3       Q. And then that second report was                 3       Q. For what?
      4   reviewed by the group at the meeting?                  4       A. The Summit County ADM Board in
      5       A. Yes.                                            5   particular supplies funding for them for some of
      6       Q. And at that meeting the group                   6   their efforts, including efforts related to
      7   identified costs that were not included in the         7   opiate abatement.
      8   second report?                                         8       Q. Okay. If I understood you
      9       A. That's correct.                                 9   correctly, you said the Summit County ADM Board
     10       Q. And you said there was a direction             10   provides funding to Summit County Public Health?
     11   given to the ADM Board to then go estimate the        11       A. Yes.
     12   costs for these other cost centers that were not      12       Q. And the funding that it provides
     13   included in either the first or the second            13   goes, in part, to providing opiate-related
     14   report?                                               14   services?
     15       A. That's my recollection, yes.                   15       A. Yes.
     16       Q. And such a report was prepared after           16       Q. Does Summit County itself give any
     17   the meeting?                                          17   funds to Summit County Public Health?
     18       A. Yes.                                           18           MR. ARNOLD: Objection to form.
     19       Q. And you were copied on it?                     19       A. Well, I guess that depends on what
     20       A. Yes.                                           20   you classify as Summit County itself. There are
     21       Q. Was there any fourth report?                   21   agencies -- Job and Family Services provides
     22       A. I don't believe so.                            22   Title 20 funding for senior services to public
     23       Q. You testified earlier that Donna               23   health. There are a host of programming things
     24   Skoda was at this meeting?                            24   that Summit County provides funding to the
     25       A. Yes.                                           25   Summit County Public Health Department for.
                                                      Page 71                                                   Page 73
      1        Q. She is with the Public Health                  1       Q. Okay. Separate from whatever
      2   Department?                                            2   funding the ADM Board gives to Summit County
      3        A. She is.                                        3   Public Health, does Summit County give any money
      4        Q. What is her position?                          4   to Summit County Public Health to provide
      5        A. She's the director of public health.           5   services related to opioids or opioid addiction?
      6        Q. And that's the director of public              6       A. I have to think if there were any
      7   health for Summit County?                              7   small grants. Summit County ADM would be the
      8        A. For the Summit County Public -- what           8   primary funder of opiate-related services to
      9   is their official name? Summit County Public           9   Summit County Public Health.
     10   Health.                                               10       Q. Can you think of any funds that
     11        Q. And you testified in your deposition          11   Summit County gives to Summit County Public
     12   in December that Summit County Public Health is       12   Health to provide services relating to opioids
     13   not a part of Summit County government, correct?      13   or opioid addiction beyond funds that may be
     14        A. That is correct.                              14   contributed by the ADM Board?
     15        Q. Is that your testimony today?                 15       A. Off the top of my head, I cannot,
     16        A. Yes.                                          16   though that doesn't mean there may not be,
     17        Q. And you testified in your deposition          17   through the courts or some other entities, some
     18   in December that Summit County does not               18   smaller pots of funding.
     19   contribute any funds to Summit County Public          19       Q. What did you learn from Ms. Skoda at
     20   Health?                                               20   this meeting?
     21        A. Not general funds.                            21       A. With Ms. Skoda we discussed
     22        Q. Okay. Is that still your testimony            22   essentially what you're asking about, the
     23   today?                                                23   various funding sources that flow through Summit
     24        A. Yes.                                          24   County Public Health for opiate prevention, and
     25        Q. Does Summit County pay any funds to           25   then with her we also discussed the fact that

                                                                                                  19 (Pages 70 - 73)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 20 of 106. PageID #: 242307


                                                     Page 74                                                   Page 76
      1   they also had not reported staff time as part of      1       Q. And was this a report that was
      2   their costs.                                          2   provided in advance of the meeting?
      3       Q. You said "they." You mean Summit               3       A. I believe it was provided -- I think
      4   County Public Health?                                 4   theirs was provided at the meeting, if I recall
      5       A. "They" being Summit County Public              5   correctly.
      6   Health, that's correct.                               6       Q. And what did the report cover?
      7       Q. How much money per year does the ADM           7       A. Just funding sources related to
      8   Board give to Summit County Public Health             8   opiate expenses.
      9   regarding opiates?                                    9       Q. And when you say "funding sources,"
     10       A. It has varied, I think, from year to          10   you mean who is contributing money and how much
     11   year. Generally, it's several hundred thousand       11   money is being contributed?
     12   dollars.                                             12       A. That's correct.
     13       Q. Was there ever a year where ADM gave          13       Q. To Summit County Public Health for
     14   more than several hundred thousand dollars to        14   opiate-related services?
     15   Summit County Public Health for opiates or           15       A. That's correct.
     16   opiate-related services?                             16       Q. And you believe that that report was
     17       A. I don't recall specifically. 2015             17   not circulated in advance of the meeting but was
     18   or 2016 may have been on the north side of the       18   handed out at the meeting and discussed at the
     19   hundred thousands of dollar figure, I mean           19   meeting?
     20   approaching somewhere between half a million and     20       A. That's my recollection, yes.
     21   a million.                                           21       Q. And did Summit County Public Health
     22            One of the reasons I've never really        22   then circulate a revised report after the
     23   focused a whole lot on that is those costs are       23   meeting?
     24   also included in ADM's cost analysis as well.        24       A. Yes.
     25       Q. Okay. So when you met with                    25       Q. How many?
                                                     Page 75                                                   Page 77
      1   Ms. Skoda, she described the various funding      1           A. Just one.
      2   sources, you said through Summit County Public 2              Q. And were you copied on it?
      3   Health, to provide opiate-related services?       3           A. Yes, I was.
      4        A. Yes.                                      4           Q. And what did that revised report say
      5        Q. Okay. So what did she tell you            5       about funding that Summit County Public Health
      6   about the dollars that Summit County Public       6       had received related to opiate services?
      7   Health receives from the ADM Board for            7               MR. PENDELL: Objection. Same
      8   opiate-related services?                          8       instruction as earlier.
      9        A. I don't know that she told me             9           A. That report was provided to counsel,
     10   necessarily anything about them. Again, at the 10         and I've been instructed by counsel not to
     11   request of counsel, we had them provide us a     11       answer.
     12   list of the funding sources and dollars spent on 12           Q. So what is your best recollection of
     13   opiate abatement through Summit County Public 13          what the report that was discussed at this
     14   Health, and, again, at that meeting identified   14       meeting said about the specific dollars that
     15   the costs that were not included for them. It    15       Summit County Public Health had received from
     16   was primarily personnel costs. And at the        16       Summit County, not ADM Board?
     17   instruction of counsel, they prepared a          17               MR. PENDELL: Objection. Same
     18   follow-up analysis.                              18       instruction.
     19        Q. And what did you learn from              19           Q. I'm talking about the report that
     20   Ms. Skoda about dollars that Summit County       20       was discussed at the meeting. What did that say
     21   Public Health received from Summit County        21       about the dollars that Summit County Public
     22   itself, not from the ADM Board, for              22       Health had received from Summit County, not the
     23   opiate-related services?                         23       ADM Board?
     24        A. I don't recall. They would have          24               MR. PENDELL: Objection to form.
     25   been contained on that report that was provided. 25           A. I don't recall -- I don't recall if

                                                                                                 20 (Pages 74 - 77)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 21 of 106. PageID #: 242308


                                                    Page 78                                                 Page 80
      1   there were -- so, for instance, the Job and       1      spends on opiate-related services?
      2   Family Services dollars we talked about earlier 2                MR. PENDELL: Objection to form.
      3   would have not been included in that report and 3            A. Nothing more than we have already
      4   discussed at that meeting. I don't recall if      4      discussed.
      5   there were funding sources for opiates from       5          Q. When you got the report from
      6   non-Summit County agencies on that report.        6      Children Services after this meeting, did you
      7       Q. And what did the report that was           7      discuss it with anyone?
      8   discussed at that meeting say about the dollars   8          A. I likely discussed -- I don't recall
      9   that had been received by Summit County Public 9         specifically, but I believe I discussed with
     10   Health from the ADM Board for opiate-related 10          counsel. I may have also discussed with Darin
     11   services?                                        11      Kearns, but I don't recall specifically.
     12            MR. PENDELL: Objection to form.         12          Q. Do you remember anything about any
     13       A. It provided a listing of grants; and      13      conversation with Ms. Barnes or Ms. Kearns --
     14   in terms of the dollar amounts, I think I've     14      Mr. Kearns about the report that was circulated
     15   previously answered that question.               15      by Children Services after this meeting?
     16       Q. Did you learn anything else from          16              MR. PENDELL: Objection to form.
     17   Ms. Skoda at this meeting regarding the funding 17           A. I don't remember the exact
     18   that Summit County Public Health received for 18         conversations.
     19   opiate-related services?                         19          Q. When you received the report from
     20       A. Not above and beyond what was             20      the ADM Board after this meeting, did you
     21   contained in that report, or, as I mentioned     21      discuss it with Mr. Craig or Ms. Peveich?
     22   earlier, identified primarily personnel costs    22              MR. PENDELL: Objection to form.
     23   that were not included in that report.           23          A. Again, I believe I discussed it with
     24       Q. Did this report from Summit County        24      counsel and I believe I discussed it with
     25   Public Health identify the dollars that it spent 25      Ms. Peveich as well.
                                                    Page 79                                                 Page 81
      1   on opiate-related services?                          1       Q. Okay. So what do you remember
      2            MR. PENDELL: Objection to form.             2   discussing with Ms. Peveich about the report
      3        A. Yeah. I don't recall if it was just          3   that was circulated after this meeting?
      4   a listing of the grants they got or it included      4       A. I do not recall.
      5   both the grant awards and the actual dollars         5       Q. Did you discuss the report with
      6   spent. That, I don't recall.                         6   anyone else at the ADM Board?
      7        Q. You said that Angela Burgess was             7       A. I did not.
      8   also at this meeting?                                8       Q. And when you got the report from
      9        A. Yes.                                         9   Summit County Public Health after this meeting,
     10        Q. What is her position?                       10   did you discuss it with Ms. Skoda or
     11        A. I believe she's -- I don't know her         11   Ms. Burgess?
     12   exact title, but she's essentially the finance      12       A. I did not.
     13   director for Summit County Public Health.           13       Q. Did you discuss it with anyone else
     14        Q. So does she work for the same entity        14   from --
     15   as Ms. Skoda or a different entity?                 15       A. I believe I discussed it with
     16        A. Same entity.                                16   counsel.
     17        Q. So at this meeting there were two           17       Q. Did you discuss it with anyone else
     18   people from Children Services Board, two people     18   from Summit County Public Health?
     19   from the ADM Board and two people from Summit       19       A. No.
     20   County Public Health?                               20       Q. Did you have further conversations
     21        A. That's correct.                             21   with Ms. Barnes or Mr. Kearns to prepare for
     22        Q. And did you learn anything from             22   your testimony as a corporate rep today?
     23   Ms. Burgess, beyond what we've already              23       A. I did not.
     24   discussed, about either the funding that Summit     24       Q. How about with Mr. Craig or
     25   County Public Health receives or the money it       25   Ms. Peveich?
                                                                                               21 (Pages 78 - 81)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 22 of 106. PageID #: 242309


                                                     Page 82                                                   Page 84
      1       A. I did not.                                     1   harm to the county?
      2       Q. How about Ms. Skoda or Ms. Burgess?            2           MR. PENDELL: Objection to form.
      3       A. Wait a minute. I did have a                    3       A. So when you say "Summit County,"
      4   conversation with Ms. Peveich yesterday, I            4   obviously it's a big county with a lot of
      5   believe.                                              5   employees and a lot of varied lines of business,
      6       Q. About what?                                    6   so to speak. I guess I would ask you to further
      7       A. I had called to ask her if she had a           7   define what you mean by when did Summit County
      8   recollection of the first time that the opiate        8   learn.
      9   crisis might have shown up as a subject matter        9       Q. When did anyone in the Summit County
     10   in one of their budget documents.                    10   government learn that prescription opioid abuse
     11       Q. What did she say?                             11   was resulting in harm to Summit County?
     12       A. Her response was essentially no, but          12       A. My -- I can only speak to the first
     13   she has only worked for the agency since 2015,       13   time I became aware, which was probably around
     14   so she had no knowledge about what was -- may or     14   2014 or so, late 2013, early 2014.
     15   may not had been in there prior to that period.      15       Q. And how did you come to learn that?
     16       Q. Did you review the ADM Board budget           16       A. I had a conversation with the county
     17   documents?                                           17   medical examiner, Dr. Kohler, following one of
     18       A. Prior -- are you asking about prior           18   our staff meetings, in which she was talking
     19   to --                                                19   about the number of overdose deaths that were
     20       Q. Prior to today's deposition.                  20   showing up at the county coroner's office, and I
     21       A. I did not.                                    21   remember asking her point blank, "Well, how many
     22       Q. Have you on other occasions in                22   overdoses are you seeing on a daily, weekly,
     23   connection with your work as director of             23   monthly basis?" And her response was, "I see
     24   finance --                                           24   one every day."
     25       A. Well, yeah. Every year when they              25       Q. And did you understand from this
                                                     Page 83                                                   Page 85
      1   submit a budget document, I review it.                1   conversation with Dr. Kohler that these were
      2       Q. And so what is your understanding of           2   overdoses on opioids?
      3   the first time that the opiate crisis shows up        3        A. My recollection is that I -- based
      4   as a subject matter in the ADM Board budget           4   on that conversation, I did.
      5   documents?                                            5        Q. And so it's that conversation that
      6            MR. PENDELL: Objection to form.              6   you place as the first time you were aware that
      7       A. I don't recall.                                7   prescription opioid abuse was resulting in harm
      8       Q. What is the first time you can                 8   to Summit County?
      9   recall the opiate crisis showing up as a subject      9        A. Yes.
     10   matter in the ADM Board budget documents?            10        Q. And moving beyond your knowledge,
     11            MR. PENDELL: Objection to form.             11   what about other leaders in Summit County, the
     12       A. I don't recall.                               12   county executive, people in the county
     13       Q. Did you have any further discussion           13   executive's office or the county council?
     14   with Ms. Peveich yesterday?                          14            MR. PENDELL: Objection to form.
     15       A. No.                                           15        A. I don't know that I can speak
     16       Q. Did you have any further                      16   specifically for when they knew, but I know
     17   conversations with Ms. Skoda or Ms. Burgess to       17   it -- I know it was around 2014, for sure into
     18   prepare for today's deposition?                      18   2015, that this began to become a discussion at
     19       A. I did not.                                    19   budget hearings, at council meetings,
     20       Q. Did you have any conversations with           20   discussions about the Summit County Opiate Task
     21   anyone else to prepare for today's deposition?       21   Force that had been formed. That's when I first
     22       A. Only our attorneys, as we previously          22   really kind of got brought into the fold with
     23   mentioned.                                           23   these issues.
     24       Q. When did Summit County first learn            24        Q. What damages is Summit County
     25   that prescription opioid abuse was resulting in      25   claiming in this case?

                                                                                                 22 (Pages 82 - 85)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 23 of 106. PageID #: 242310


                                                     Page 86                                                    Page 88
      1       A. And by that are you asking for a               1   everything else in the community.
      2   dollar amount, are you asking for types of            2       Q. You said, "We internally have done
      3   damages?                                              3   estimates on costs for 2016." Did I hear you
      4       Q. Yes.                                           4   right?
      5       A. Yes to all of the above?                       5       A. We did a cost analysis that, I
      6       Q. Yes.                                           6   believe, was for the period 2013 through
      7       A. I believe we have a damages report             7   either -- I think it was through 2016, of actual
      8   that was prepared for us based on accounting          8   county costs.
      9   data and information we provided to some damage       9       Q. Who is the "we" in that sentence?
     10   experts, and the makeup of that would be,            10       A. We is myself, the -- the finance
     11   essentially, personnel costs for -- personnel        11   people at CSB, ADM, public health, other -- I'm
     12   costs, treatment costs, costs related to our         12   trying to think if there were other folks in the
     13   criminal justice system, all of the things that      13   direct calculation of those costs within the
     14   we have had to address as a result of the opiate     14   county, but those would be the primary.
     15   crisis.                                              15       Q. And did you prepare a summary of
     16       Q. Anything else you can point to as             16   this cost analysis?
     17   the damages that Summit County is claiming in        17       A. Yes.
     18   this case, either by type or category or by          18       Q. And why did you undertake the cost
     19   dollar figure?                                       19   analysis in the first place?
     20       A. I mean, we have education prevention          20       A. We were -- as we were contemplating
     21   costs. We have treatment costs. We have              21   this suit, we were going back to try to
     22   incarceration costs. We have public defense          22   essentially calculate what it is that this
     23   costs. We have costs for the medical examiner's      23   opiate epidemic was costing Summit County, and
     24   office. Some of those costs are also lost            24   ours was limited to, initially, Summit County
     25   revenue opportunities to the county because of       25   government itself, both in terms of shifting
                                                     Page 87                                                    Page 89
      1   workload. Staffing costs. Those would be the          1   manpower cost to address the impact of this, and
      2   primary buckets. I'm sure there are others.           2   then, also, additional costs that were being
      3   Child placement costs, obviously a large pool         3   borne by the county as a result of the epidemic.
      4   based on our previous discussions.                    4       Q. What do you mean, costs to the
      5        Q. Are you able to put a dollar figure           5   Summit County government itself?
      6   on any of these categories of costs you've            6       A. To -- to the Summit County
      7   listed?                                               7   government political subdivision. In other
      8           MR. PENDELL: Objection to form.               8   words, I did not do an analysis on Akron city
      9        A. Yeah. I mean, we have a damages               9   government or any of the political subdivisions
     10   calculation that was done on our behalf, and         10   in the county, or at that point we also had not
     11   internally we have also done estimates on costs,     11   done an analysis on the state of the economy as
     12   and those costs currently, maybe focusing on         12   a whole in Summit County and the impact it was
     13   2016, run in the 20 -- roughly -- 2 million          13   having on that. It was just really to our
     14   dollar range.                                        14   operations.
     15        Q. The what range, 20 to 22?                    15       Q. And when did you undertake this cost
     16        A. Roughly, 22 million dollars for that         16   analysis that you've described?
     17   one year just in current costs. That doesn't --      17       A. I think late in the summer of 2017.
     18   and those costs are just costs known to us. It       18       Q. And once you did this analysis, who
     19   does not include the overall economic impact to      19   did you share it with?
     20   society as a whole, the drag on work                 20       A. I shared it with the county
     21   productivity, GDP, how that affects sales tax        21   executive. We shared it with our legal counsel.
     22   revenues, housing prices, just essentially           22   I don't recall beyond that who we shared it
     23   overall lost worker productivity, and the pain       23   with.
     24   and suffering of the folks that are dealing with     24       Q. And when you say "the county
     25   opiate-dependent relatives, friends, employees,      25   executive," who are you referring to in
                                                                                                  23 (Pages 86 - 89)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 24 of 106. PageID #: 242311


                                                   Page 90                                                  Page 92
      1   particular?                                         1   about it?
      2        A. Ilene Shapiro.                              2        A. I think her general reaction was a
      3        Q. Did you then discuss it with                3   little shocked at the total amount of resources
      4   Ms. Shapiro?                                        4   that it's taken to address the issue.
      5        A. Yes. I discussed it -- I discussed          5        Q. When did you share it with her?
      6   it at length with Jason Dodson, our chief of        6        A. I don't recall the exact date. It
      7   staff.                                              7   would have been late summer, early fall,
      8        Q. Did you discuss it with Ms. Shapiro?        8   somewhere in that period in 2017.
      9        A. Yes.                                        9        Q. You said you also discussed your
     10        Q. Who made the decision then to file         10   cost analysis with Jason Dodson at length?
     11   the lawsuit?                                       11        A. Yes.
     12        A. Ilene Shapiro, the county executive.       12        Q. Was that with Ms. Shapiro or without
     13        Q. How do you know it was her decision?       13   Ms. Shapiro?
     14        A. Because she's the county executive.        14        A. Most of those conversations were
     15        Q. When did she make the decision to          15   probably without Ms. Shapiro.
     16   file the lawsuit?                                  16        Q. So you had multiple conversations
     17            MR. PENDELL: Object to the form,          17   with Mr. Dodson?
     18   and -- objection to form. This is outside the      18        A. Yes.
     19   scope.                                             19        Q. But some included Ms. Shapiro?
     20            MR. KEYES: I disagree.                    20        A. Yes.
     21        Q. When did she make the decision?            21        Q. And what did Mr. Dodson say about
     22            MS. KEARSE: What topic is it              22   the cost analysis?
     23   pertaining to?                                     23            MR. PENDELL: Objection to form.
     24            MR. KEYES: Damages.                       24            MR. ARNOLD: This is the report that
     25            MR. NAEEM: Anne, you understand           25   we discussed in the last deposition. It was all
                                                   Page 91                                                  Page 93
      1   that Special Master Cohen has already ruled on      1   done at the request of counsel. It's all work
      2   whether people can ask questions outside the        2   product. He's not going to talk about the
      3   scope, and he expressly rejected it, so that's      3   analysis that he and Dodson did together.
      4   not a proper objection and he can ask anything      4           MR. KEYES: This is a first for me
      5   in his personal knowledge. It's understandably      5   where three people representing the same people
      6   not binding on the corporation, but his personal    6   get to speak, object, opine.
      7   knowledge is at issue in this deposition.           7           MS. KEARSE: I'll pass notes from
      8            MS. KEARSE: I'm not saying he can't        8   now on. I'll keep my mouth shut.
      9   ask the question.                                   9           MR. KEYES: I don't think two is
     10            MR. PENDELL: Whether it's outside         10   allowed under the protocol, but I'm pretty sure
     11   the scope, we're allowed to make that objection.   11   that even your side hasn't articulated that
     12            MR. NAEEM: Go ahead.                      12   you're allowed to have three people speak on
     13            MS. KEARSE: I'm not saying not to         13   behalf of a single party.
     14   answer the question. I just want to make.          14           MS. KEARSE: I will do my best to
     15   sure --                                            15   keep quiet.
     16            MR. PENDELL: So your soliloquy was        16       Q. So you can't answer my question?
     17   out of line, Tariq.                                17       A. What was your question again?
     18            MR. NAEEM: And so is your comment,        18           MR. PENDELL: I'm instructing the
     19   so let's just keep going.                          19   witness not to answer if it implicates attorney
     20   BY MR. KEYES:                                      20   work product.
     21       Q. When did Ms. Shapiro make the               21       Q. What did Mr. Dodson say about the
     22   decision to file a lawsuit?                        22   cost analysis?
     23       A. I don't know the actual date.               23       A. I don't recall what he said. Most
     24       Q. You said you discussed your cost            24   of our conversations were about how to go about
     25   analysis with Ms. Shapiro. What did she say        25   preparing the analysis itself.
                                                                                               24 (Pages 90 - 93)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 25 of 106. PageID #: 242312


                                                      Page 94                                                  Page 96
      1        Q. So was Mr. Dodson then involved in             1   costs, these are the costs of paying prosecutors
      2   structuring the cost analysis that you and the         2   to pursue criminal cases against defendants who
      3   finance department did?                                3   are accused of and are being prosecuted for
      4        A. I don't know that I would say he               4   crimes?
      5   was -- I guess that depends on how you define          5       A. Primarily, yes.
      6   structuring it. I came up with methodologies to        6       Q. Well, is there anything else?
      7   put the analysis together. He was more of a            7       A. There could be victim assistance
      8   sounding board to say whether we were on target,       8   costs. There could be costs related to
      9   not on target, or whether there were other             9   witness -- witnesses. There are other smaller
     10   things he could think of that we were missing.        10   ancillary costs, but the prosecutors themselves
     11        Q. You mentioned earlier incarceration           11   would be the primary cost.
     12   costs as a category of damage?                        12       Q. Okay. And are you able to quantify
     13        A. Um-hum.                                       13   the victim's assistance costs?
     14        Q. That's the cost of incarcerating              14       A. We have a -- we have specific
     15   people who have either been convicted of a crime      15   employees in victim assistance services. I
     16   or have been accused of a crime and are awaiting      16   don't have that dollar figure off the top of my
     17   trial?                                                17   head, no, but it's part of our operating budget.
     18           MR. PENDELL: Objection to form.               18       Q. And so those are the costs of
     19        A. That's correct.                               19   providing assistance to victims of crimes?
     20        Q. You mentioned public defender costs.          20       A. Yes.
     21   Those are the costs incurred by the public            21       Q. In particular, drug crimes?
     22   defender's office in representing individuals         22       A. Any crimes.
     23   who have been accused of crimes and are being         23       Q. Any crimes. Not even limited to
     24   prosecuted for crimes?                                24   drug crimes?
     25        A. It may either be the public                   25       A. No.
                                                      Page 95                                                  Page 97
      1   defender's office or private appointed counsel         1        Q. And the witness costs are what
      2   appointed by the courts to defend indigent             2   costs?
      3   defendants that the county bears the cost of.          3        A. Expert witness fees and other
      4       Q. You're saying this category doesn't             4   witness fees you may have to pay to prosecute
      5   include just lawyers in the office of the public       5   somebody.
      6   defender, it also includes private lawyers who         6        Q. What kind of witness fees would you
      7   may be appointed to represent indigent                 7   have to pay besides expert fees?
      8   defendants?                                            8        A. I don't know offhand.
      9       A. That's correct.                                 9        Q. And so these would be the costs paid
     10       Q. But whether it's public defender or            10   by Summit County for experts either to offer
     11   private attorneys, these are the costs spent on       11   opinions in aid of prosecuting someone accused
     12   lawyers to represent individuals who have been        12   of a crime and being prosecuted from a crime?
     13   accused of and are being prosecuted for crimes?       13        A. Correct.
     14       A. That's correct.                                14        Q. Or the costs of paying experts to
     15       Q. And you mentioned earlier costs                15   offer opinions in defense of people?
     16   regarding the criminal justice system. Beyond         16        A. Well, we pay for both. If we
     17   incarceration costs and public defender costs,        17   have -- so along with -- this ties into your
     18   are you referring to prosecutor costs?                18   question earlier about indigent defense costs as
     19       A. Prosecutor costs, probation costs,             19   it relates to the public defender and private
     20   costs over at the juvenile court related to           20   appointed counsel. If we have an indigent
     21   probation and detention, costs related to the         21   defendant and their attorney requires that we
     22   county's contract with Oriana House for -- for        22   have -- we need an expert witness related to
     23   both incarceration and treatment costs through        23   their case, we pay those expert witness fees as
     24   that facility.                                        24   well as part of that indigency.
     25       Q. So when you refer to prosecutor                25        Q. When you refer to a case, that's a
                                                                                                 25 (Pages 94 - 97)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 26 of 106. PageID #: 242313


                                                     Page 98                                                    Page 100
      1   criminal case?                                        1   prosecuting, supporting the prosecution or
      2       A. A criminal case, yes.                          2   incarcerating people who have been charged with
      3       Q. And then when you mentioned --                 3   or convicted of crimes, correct?
      4       A. A felony criminal case in -- well, I           4       A. Correct. And/or treating people who
      5   guess we're -- we also pay for indigent defense       5   have been incarcerated as well, or as an
      6   at the municipal court level, so it could be a        6   alternative to incarceration.
      7   misdemeanor as well.                                  7       Q. Because they were convicted of a
      8       Q. And you referenced probation costs             8   crime?
      9   as being one category of costs in the criminal        9       A. Because they were convicted of a
     10   justice system?                                      10   crime, that's correct.
     11       A. Yes.                                          11       Q. You mentioned treatment costs as one
     12       Q. These are the costs associated with           12   category of damages.
     13   probation services for people who have been          13       A. Yes.
     14   convicted of crimes?                                 14       Q. Who is providing the treatment that
     15       A. Correct.                                      15   falls within this category of treatment costs?
     16       Q. And then the juvenile court costs?            16       A. As it relates to the criminal
     17       A. Yes.                                          17   justice system?
     18       Q. Those are the costs borne by Summit           18       Q. No. Let's -- I understand that
     19   County in operating a juvenile court in which        19   Oriana House provides treatment services as part
     20   juveniles are being prosecuted for crimes?           20   of the criminal justice system.
     21       A. That's correct.                               21       A. Yes.
     22       Q. You mentioned the Oriana House                22       Q. I want to focus on any other
     23   contract. Summit County pays money pursuant to       23   treatment costs that Summit County bears.
     24   a contract with Oriana House, correct?               24       A. Well, there's a host of treatment
     25       A. That's correct.                               25   providers throughout Summit County. As it
                                                     Page 99                                                    Page 101
      1        Q. And Oriana House, in exchange for             1   relates to the opiates, those are primarily
      2   those dollars, provides two types of services,        2   funded through ADM, and there are a whole host
      3   correct?                                              3   of agencies from -- from Oriana to Interval
      4        A. Correct.                                      4   Brotherhood Home to Summit Psychological to --
      5        Q. Treatment services and incarceration          5   there are -- I'd have to go down through the
      6   services, correct?                                    6   list, but there are dozens of them.
      7        A. Correct.                                      7        Q. And you said all or almost all of
      8        Q. And the incarceration services are            8   those third parties receive funding from the ADM
      9   provided by Oriana House to incarcerate people        9   Board?
     10   who have been convicted of crimes?                   10        A. Yes.
     11        A. Correct.                                     11        Q. What funding do any of those service
     12        Q. Felony crimes?                               12   providers receive from Summit County that
     13        A. Felony and misdemeanor both.                 13   doesn't come to them through the ADM Board?
     14        Q. And Oriana House provides treatment          14        A. Many of them receive money that
     15   services?                                            15   comes through the juvenile court, through common
     16        A. Yes.                                         16   pleas court, through the Department of Job and
     17        Q. To people who have been convicted of         17   Family Services. There may be some others, but
     18   crimes?                                              18   those would be the major funding sources from
     19        A. Yes.                                         19   the county to those types of agencies.
     20        Q. So with respect to these categories          20        Q. Does Summit County receive any
     21   of costs that Summit County incurs in operating      21   reports or data either from the ADM Board or
     22   its criminal justice system, prosecutor costs,       22   from any of these service providers that
     23   probation costs, juvenile court costs, and           23   identifies the money spent to provide services
     24   amounts paid to Oriana House, all of those costs     24   to people because of an opioid use disorder --
     25   are incurred by Summit County in either              25            MR. PENDELL: Objection to form.

                                                                                                 26 (Pages 98 - 101)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 27 of 106. PageID #: 242314


                                                      Page 102                                                    Page 104
      1       Q. -- in particular, as distinct from               1   are other causes associated with that.
      2   other things?                                           2            Conversely, when we have a crime,
      3       A. My belief is yes, they do.                       3   say -- and let's just say -- use domestic
      4       Q. What is the data or the report or                4   violence as an example. If somebody is arrested
      5   the information that Summit County gets from any        5   on domestic violence charges, we're not
      6   of these service providers that shows the               6   necessarily capturing whether they have an
      7   dollars that were spent providing services to           7   underlying opiate use disorder which is
      8   people because of an opioid use disorder?               8   contributing to those domestic violence charges.
      9       A. So, as we mentioned earlier, for                 9   So when we look at all of these statistics, I
     10   example, the ADM Board receives case information       10   would say that the number of dollars being spent
     11   and is now coding that in their -- their case          11   on certain types of activities is probably
     12   management system, which helps them identify           12   understated because we don't have the level of
     13   treatment related to opiate use disorder.              13   information to tell us whether, for instance, a
     14       Q. For how long has ADM been coding                14   domestic violence charge was caused because of
     15   things so they can keep track of dollars spent         15   somebody's opiate use disorder.
     16   on service providers providing services to             16       Q. Have you done any study of the data
     17   people with an opioid use disorder?                    17   to see if that's true or not?
     18           MR. ARNOLD: Objection to form.                 18       A. Have I personally done a study of
     19       A. I don't know the exact number of                19   the data?
     20   years, but my understanding is they have been          20       Q. Yes.
     21   coding that longer than Children Services has.         21       A. I have not. I have talked with
     22   I do know, in conversations with Oriana House          22   people in the various offices about that
     23   and based on previous reports I've looked at           23   particular fact.
     24   from Oriana, they code treatment based on --           24       Q. Has anyone at your direction done
     25   they code primary, secondary and tertiary causes       25   such a study?
                                                      Page 103                                                    Page 105
      1   for cases that they provide treatment services          1       A. They have not.
      2   for, and so they would -- they capture as well          2       Q. Has anyone not at your direction
      3   opiate use disorder as one of those causes. So          3   done an actual study of the data to see if
      4   most -- all of these agencies -- and                    4   that's the case?
      5   particularly when they -- you got to remember,          5       A. No, but I also don't know that it's
      6   too, they're not just billing us. A lot of              6   possible to do that study in a scenario like the
      7   these people -- and this is expanded with               7   one I just mentioned. If we haven't captured
      8   Medicaid -- they're also billing Medicaid, and          8   that information, then they -- that likely is
      9   with Medicaid they're required to report, so            9   not part of the systems that would allow us to
     10   throughout the system they're required to report       10   do that analysis.
     11   these causes in order to be reimbursed for those       11       Q. Do each of the service providers
     12   treatment costs.                                       12   that receive funding from the ADM Board have a
     13       Q. Does Oriana House or any of the                 13   contract with the ADM Board?
     14   service providers provide information or reports       14       A. They do.
     15   to Summit County that shows the dollars spent in       15       Q. And does that contract govern the
     16   providing services to people only because they         16   funding that the service provider will receive?
     17   had an opioid use disorder, where they had no          17       A. It does.
     18   other addiction or mental health need for              18       Q. Does it also govern the services
     19   treatment?                                             19   that the service provider will provide?
     20           MR. PENDELL: Objection to form.                20       A. It does.
     21       A. I believe they could. I don't --                21       Q. Does it also govern the information
     22   I've not had that discussion that we have -- in        22   that the service provider will report to the ADM
     23   terms of delving down, when they provide us            23   Board?
     24   information, on treatment costs for opiate use         24       A. I believe it does. And so in the
     25   disorder -- I have not delved into whether there       25   case of ADM, when they're providing treatment

                                                                                                 27 (Pages 102 - 105)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 28 of 106. PageID #: 242315


                                                  Page 106                                                Page 108
      1   services, obviously the underlying cause for      1        A. Through the ADM Board, they have
      2   treatment services is captured. When you get      2   spent -- I don't remember the exact figure.
      3   over to the criminal justice side -- and Job and  3   It's over 3 million dollars.
      4   Family Services is another one. When you have 4            Q. Over what period of time?
      5   people seeking food stamps or food assistance,    5        A. Roughly, 2015 to 2017.
      6   we're not going -- we do not go, and we're not    6        Q. Separate from what the ADM Board has
      7   required legally to go, to the level of trying    7   spent, what has Summit County spent on
      8   to find out whether there's an opiate use         8   education, if any?
      9   disorder contributing to their need for food      9        A. Yeah. There has been -- I don't
     10   stamps, Medicaid or any of the other services of 10   have an exact figure on that from other county
     11   the county.                                      11   departments.
     12           So some areas, obviously because         12        Q. Okay. What other county departments
     13   we're treating them specifically for that        13   are spending money on education regarding
     14   disorder, we capture it. Others we may or may 14      opioids or prescription opioids?
     15   not depending on why it is they're having an     15        A. The sheriff's office is. The
     16   interaction with county government.              16   sheriff's office runs a DARE program that
     17       Q. Okay. Do the contracts between ADM 17          provides education services through that
     18   and the service providers require the service    18   program. Children Services has spent money on
     19   providers to track what services are being       19   education. I'm fairly certain other county
     20   provided to individuals because they have an     20   agencies have as well.
     21   opioid use disorder and for no other reason?     21        Q. Sitting here today, you can identify
     22       A. I do not know the answer to that          22   the ADM Board, the sheriff's office DARE program
     23   question.                                        23   and the Children Services Board as spending
     24       Q. And do the contracts between ADM and 24        money on education regarding opioids or
     25   the service providers require the service        25   prescription opioids?
                                                  Page 107                                                Page 109
      1   providers to do anything to confirm a             1        A. Yes.
      2   self-reported opioid use disorder?                2        Q. Any others?
      3           MR. ARNOLD: Objection to form.            3        A. That I can specifically identify
      4       A. I don't know that I know the answer        4   today, no, but I -- I would guarantee there are
      5   to that question. My understanding is that when 5     others.
      6   somebody seeks services, that any and all         6        Q. What has the Children Services Board
      7   underlying disorders for which they're seeking    7   spent on education regarding opioids or
      8   services are captured and reported.               8   prescription opioids?
      9       Q. So if ADM gets data from Oriana            9        A. I don't have that figure.
     10   House that purports to show the dollars spent in 10        Q. Who does?
     11   providing services to people with an opioid use 11         A. It would be contained in their
     12   disorder, Oriana House is tracking opioid use    12   financials. Darin Kearns could provide that
     13   disorder based on what the recipient of the      13   information.
     14   services says without doing any independent      14        Q. What has the sheriff's office spent
     15   check, such as with a physician, correct?        15   on the DARE program?
     16           MR. PENDELL: Objection to form.          16        A. The DARE budget is about $200,000 a
     17           MR. ARNOLD: Objection to form.           17   year.
     18       A. Yeah. I don't know that that's the        18        Q. And the DARE program is about drug
     19   case. I think --                                 19   abuse, correct?
     20       Q. Do you know either way?                   20        A. Correct.
     21       A. I don't know either way. They may         21        Q. Is it specific to opioids or
     22   very well be following up with physicians and 22      prescription opioids?
     23   getting medical records on those folks.          23        A. It's not specific to that, but there
     24       Q. How much has Summit County spent on 24         is a component of that.
     25   what you describe as education?                  25        Q. Separate from what the sheriff's
                                                                                          28 (Pages 106 - 109)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 29 of 106. PageID #: 242316


                                                     Page 110                                                  Page 112
      1   office spends on the DARE program, what does the       1   dollars out of reserve balances to address the
      2   sheriff's office spend on education regarding          2   opiate epidemic. There was an education
      3   opioids or prescription opioids, if any?               3   component to that. There was an increase in
      4        A. I do not know.                                 4   beds and treatment services as a component to
      5        Q. Who would know?                                5   that. There was also a prevention and
      6        A. Probably Pam Murray, who's the                 6   wrap-around services component to that 3.2
      7   budget director over there. DARE would be the          7   million. And that's annually, going forward
      8   primary one. They have some other programs. I          8   through the end of the levy cycle, presently
      9   don't know -- grant-specific programs, but I           9   committed to that.
     10   don't know if they're spending money on               10       Q. Okay. Mr. Nelsen, my question
     11   education out of those. Summit County Public          11   wasn't about the period of 2015 or later. My
     12   Health would also be spending money on education      12   question was specifically directed to before
     13   as it relates to the opiate issue.                    13   2015. So focusing your attention on before
     14        Q. Did you reach out to Mr. Kearns on            14   2015, what did the ADM Board spend on drug
     15   the topic of what the Children Services Board         15   education or prevention regarding opioids or
     16   spends on education regarding opioids or              16   prescription opioids before 2015?
     17   prescription opioids?                                 17       A. I don't have that specific dollar
     18        A. Not specifically education, though            18   amount. It would have been smaller than the
     19   it is likely included in some of those other          19   figures we just discussed.
     20   smaller miscellaneous line items that they had        20       Q. Well, you said before much smaller.
     21   not previously identified.                            21       A. I believe much smaller, yes.
     22        Q. In the report that was prepared               22       Q. Because before 2015 there was no
     23   after the meeting and that has not been shared,       23   special funding effort for drug education or
     24   correct?                                              24   prevention regarding opioids or prescription
     25        A. That's correct.                               25   opioids?
                                                     Page 111                                                  Page 113
      1       Q. Did you speak with Ms. Murray about             1           MR. PENDELL: Objection to form.
      2   moneys spent by the sheriff's office either on         2           MR. ARNOLD: Objection to form.
      3   the DARE program or otherwise on education             3       A. I'm not going to say there was no
      4   regarding opioids or prescription opioids?             4   funding effort, but it certainly picked up steam
      5       A. Not on education in particular, no.             5   in that 2015 time period, as the number of
      6       Q. And you said that you believe the               6   overdoses began dramatically --
      7   ADM Board spends over -- has spent over 3              7           MR. PENDELL: I'm sorry. Excuse me,
      8   million dollars between 2015 and 2017?                 8   Mr. Keyes.
      9       A. Yes.                                            9           Could you guys on the phone please
     10       Q. On education?                                  10   mute the phone because we can hear you laughing
     11       A. Yes.                                           11   in the middle of the testimony. Thank you.
     12       Q. And that's drug education generally?           12           Sorry. I was distracted by it, so I
     13       A. Yes. I would term that education               13   apologize.
     14   and prevention services.                              14           MR. KEYES: You don't need to
     15       Q. Specific to drugs?                             15   apologize to me. Thank you.
     16       A. Yes. Specific to opiates.                      16       Q. Who at the ADM Board knows how much
     17       Q. So what is -- what has the ADM Board           17   the board spent before 2015 on drug education
     18   spent on drug education and prevention regarding      18   and prevention regarding opioids or prescription
     19   opioids before 2015?                                  19   opioids?
     20       A. Probably a much smaller amount.                20       A. Either Jen Peveich or Jerry Craig
     21   They earmarked 3.2 million dollars -- it was          21   should be able to provide that.
     22   either in the 2015 or 2016 budget, I think it         22       Q. Did you ask either one of them?
     23   was 2015 being the first year, specifically           23       A. Not specifically that question, no.
     24   towards addressing, in addition to what they          24       Q. Now, turning then to what you said
     25   were already doing, an additional 3.2 million         25   about 2015 through 2017, you said that the ADM

                                                                                                29 (Pages 110 - 113)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 30 of 106. PageID #: 242317


                                                     Page 114                                                 Page 116
      1   Board requested a special appropriation of 3.2         1   prescription opioids?
      2   million dollars per year through the end of the        2            MR. PENDELL: Objection.
      3   levy cycle, correct?                                   3       A. I believe the -- I believe the
      4       A. Correct.                                        4   education and prevention component of that is in
      5       Q. We discussed this briefly in your               5   excess of a million dollars a year.
      6   last deposition, and in that deposition you said       6       Q. Can you be more specific?
      7   the funding request was made in 2016 for 2017.         7       A. No, not without looking at some
      8           Does that refresh your recollection?           8   documents.
      9       A. If I said that, yeah, it does.                  9       Q. Did you speak with Mr. Craig or
     10       Q. So would you go with what you said             10   Mr. -- Ms. Peveich in advance of today's
     11   in December or what you said today about the          11   deposition about that special earmarking of 3.2
     12   timing of this special appropriation?                 12   million dollars per year?
     13           MR. PENDELL: Objection to form.               13       A. Not as it relates to this
     14       A. Yeah, because I think we actually              14   deposition, no.
     15   looked at a document that showed it was in 2016       15       Q. Earlier when I had asked you to
     16   for 2017, so that's probably correct.                 16   identify the categories of costs that Summit
     17       Q. And so the ADM Board made that                 17   County is seeking, you listed education, which
     18   request in 2016, correct?                             18   we've talked about now?
     19       A. Correct.                                       19       A. Um-hum.
     20       Q. It made that request to whom?                  20       Q. And then you listed prevention?
     21       A. To the -- well, the ADM director               21       A. Yes.
     22   made it to the ADM Board, who then made -- who        22       Q. Is prevention a separate category or
     23   approved it, sent it on to the social services        23   are you now saying education and prevention are
     24   advisory board, and then on to county council.        24   lumped together for purposes of ADM Board,
     25       Q. And that was not for extra funding             25   sheriff's office and Children Services Board?
                                                     Page 115                                                 Page 117
      1   that the ADM Board didn't have, that was for      1             A. I have -- I have always treated the
      2   permission to spend money that was in the ADM 2            education and prevention as kind of one and the
      3   Board's reserve, correct?                         3        same in my mind. I think ADM may classify them
      4            MR. PENDELL: Objection to form.          4        a little bit differently, but I don't have what
      5       A. That's correct.                            5        that difference is.
      6       Q. And so that amount has been                6             Q. Okay. So beyond what you've already
      7   earmarked for 2017, 2018 and 2019?                7        described, can you identify any specific
      8       A. Yes. Correct.                              8        expenses by Summit County on prevention
      9       Q. And how much of that 3.2 million           9        regarding opioids or prescription opioids?
     10   dollars is directed towards drug education or    10                 MR. PENDELL: Objection to form.
     11   prevention regarding opioids and prescription    11             A. Not off the top of my head.
     12   opioids?                                         12             Q. You also mentioned medical examiner
     13            MR. PENDELL: Objection to form.         13        costs. What are the medical examiner costs that
     14       A. Say that question again. Was it --        14        Summit County is claiming in this lawsuit?
     15   was your question on education or just --        15             A. So, essentially, the biggest cost --
     16       Q. How much of that 3.2 million dollars 16             it's almost an opportunity cost -- as it relates
     17   is directed towards drug education or prevention 17        to the medical examiner's office has been the --
     18   regarding opioids and prescription opioids?      18        the inability to continue to perform
     19            MR. PENDELL: Objection.                 19        out-of-county autopsies for a fee because of the
     20       A. There is a treatment component to         20        lack of time based on their in-county caseload
     21   that 3.2 million dollars as well. I don't        21        increase.
     22   recall the exact split on that.                  22             Q. So the Summit County Medical
     23       Q. Do you know how much of the 3.2           23        Examiner earns money by performing out-of-county
     24   million dollars per year is to be spent on drug  24        autopsies?
     25   education or prevention regarding opioids or     25             A. Yes.

                                                                                               30 (Pages 114 - 117)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 31 of 106. PageID #: 242318


                                                      Page 118                                                Page 120
      1        Q. An out-of-county autopsy is where               1   a million dollars.
      2   the decedent is located outside the boundaries          2           The other issue that we faced is
      3   of Summit County?                                       3   there is nationally a shortage of people with
      4        A. Yes.                                            4   those credentials who qualify for those jobs.
      5            So we have a situation where, in               5       Q. Did Summit County attempt to hire
      6   most counties in Ohio, they have an elected             6   another medical examiner?
      7   county coroner, and there are very, very minor          7       A. We did.
      8   job requirements to be a county coroner. In our         8       Q. When did Summit County initiate that
      9   case, in Summit County, because we're a charter         9   effort?
     10   government, we created a medical examiner              10       A. We -- so this was probably in the
     11   position, that the medical examiner has to be --       11   2014, 2015 range. We spent about a year, or
     12   I think it's like a licensed forensic                  12   close to it, looking to hire another medical
     13   pathologist, which gives her unique credentials        13   examiner. We ended up hiring a medical
     14   that some of the surrounding, more rural county        14   examiner. We have three medical examiners,
     15   medical -- not medical examiners, but coroners,        15   essentially, on staff. That medical examiner
     16   don't have. So some of the more complicated            16   then ended up leaving and going to Cuyahoga
     17   death cases they send to Summit County. They,          17   County about a year ago, so we are back down to
     18   also, if they have overload in cases, send cases       18   two medical examiners.
     19   to Summit County.                                      19           And then we had also -- the medical
     20        Q. Does Summit County have agreements             20   examiner has also come to us identifying the
     21   with other jurisdictions governing when it will        21   need to hire another toxicologist to perform all
     22   provide an autopsy and how much it will receive?       22   of the tox screens that are necessary to keep up
     23        A. Yes.                                           23   with her caseloads as a result of this, and we
     24        Q. And is there a written agreement               24   have not had the money in the budget to hire a
     25   with each of these jurisdictions?                      25   second toxicologist either. So that request
                                                      Page 119                                                Page 121
      1       A. I don't know if -- I'd have to look.             1   has -- has essentially sat dormant.
      2   I don't know if we have a written agreement or          2       Q. Okay. So let's stay focused first
      3   not. We do have a fee schedule that county              3   on the medical examiner.
      4   council approves for the service of us providing        4       A. Okay.
      5   an out-of-county autopsy. I believe there are           5       Q. How many medical examiners did
      6   signed agreements, but I'm not a hundred percent        6   Summit County have in 2013?
      7   positive on that.                                       7       A. In 2013?
      8       Q. And so you're saying that because                8       Q. Yes.
      9   the medical examiner's office is spending so            9       A. It should have been three.
     10   much time performing autopsies for                     10       Q. Throughout 2013?
     11   in-Summit-County decedents --                          11       A. I believe so.
     12       A. Yes.                                            12       Q. How much in 2014?
     13       Q. -- that it doesn't have the                     13       A. I'm not sure at what point Dorothy
     14   resources to perform out-of-county autopsies?          14   Dean, who was the medical examiner who -- the
     15       A. That's correct.                                 15   deputy medical examiner who left -- it was
     16       Q. So why didn't Summit County hire                16   probably somewhere around '14. It had to be
     17   another medical examiner?                              17   somewhere around '14, I think.
     18       A. Because it costs a lot of money to              18       Q. So you went from three to two?
     19   hire another medical examiner and there's not          19       A. Yes.
     20   enough money in the budget to be able to do            20       Q. How many in 2015?
     21   that.                                                  21       A. We may -- probably most of the year
     22       Q. How much does it cost to hire a                 22   we were just sitting at two. I don't remember
     23   medical examiner?                                      23   when we hired Todd Barr. So late '15, maybe
     24       A. A medical examiner, with salary,                24   '16, we hired him and went back up to three.
     25   health care and benefits, is about a quarter of        25       Q. Okay. And how many in 2017?
                                                                                               31 (Pages 118 - 121)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 32 of 106. PageID #: 242319


                                                      Page 122                                                   Page 124
      1       A. 2017, we were at three until either              1   losing about 250 to $300,000 a year from
      2   late '17 or early '18, and I think it was               2   performing these out-of-county autopsy fees. So
      3   probably late '17.                                      3   when you look at that on the surface, it's about
      4       Q. And what happened then?                          4   a tradeoff, getting in that other medical
      5       A. That's when Todd left and went up to             5   examiner.
      6   Cuyahoga County.                                        6           Maybe the biggest problem that we've
      7       Q. And how many in 2018?                            7   got over the next few years is we also have a
      8       A. 2018, we are sitting at two. And my              8   high backlog of caseloads that need work done
      9   understanding was Todd was not happy with the           9   with them, and so in our conversations with
     10   high volume of workload that he had here in            10   Dr. Kohler, hiring that third medical examiner
     11   Summit County.                                         11   was not going to restore our ability to start
     12       Q. So was there ever an attempt by                 12   performing out-of-county autopsies. It might
     13   Summit County to hire a fourth when you had            13   get us to the point where we could start
     14   three?                                                 14   catching up on work.
     15       A. There was discussion of hiring a                15           Hiring a fourth, hopefully we would
     16   fourth. Dr. Kohler came to us with a plan that         16   be caught up and be able to cover that cost
     17   she wanted to make a job offer to a woman who          17   without those out-of-county autopsy fees, but
     18   was very interested -- who was going through           18   even at that point it's still a loss for us when
     19   medical school, was very interested in coming to       19   historically we've operated with three medical
     20   work for her, and essentially agreed to hold a         20   examiners and the out-of-county autopsy fees.
     21   job for her when she completed her residency           21   Now we would have to get to four medical
     22   requirements to create a fourth medical examiner       22   examiners just to restore the county autopsy
     23   position.                                              23   fees.
     24       Q. When was that?                                  24           MR. PENDELL: Can we take a break?
     25       A. That was probably 2016, 2017-ish.               25           MR. KEYES: Sure, in just a minute.
                                                      Page 123                                                   Page 125
      1        Q. When she finished her residency,                1       Q. Since 2013 Summit County has hired
      2   did --                                                  2   one medical examiner, Todd Barr, correct?
      3        A. No. No. This is when Dr. Kohler                 3       A. Correct.
      4   came to us with this plan. The conversation, as         4       Q. And it has discussed hiring someone
      5   I recall, that she would complete her residency         5   as a medical examiner in 2019, when she finishes
      6   requirements and be able to come to work for us         6   her residency?
      7   in 2019. So this was somewhat of a transition           7       A. Correct.
      8   period, because in the budget then -- this was          8       Q. And Summit County has made the
      9   one of those we can't afford this right now,            9   decision not to incur the cost of hiring someone
     10   let's try to align the resources so that in a          10   else as a medical examiner even at the risk of
     11   couple years we'll be able to afford to bring          11   losing the fees that it would get from
     12   her on. And then, in the interim, we lost our          12   performing out-of-county autopsies, correct?
     13   third medical examiner. And so she is still            13            MR. PENDELL: Objection to form.
     14   like in the pipeline to come to work for us, I         14       A. Well, so what we -- so because it is
     15   believe, in 2019, to restore us to three, but in       15   very difficult to find a full-time medical
     16   the interim we've been hiring what they call,          16   examiner, and the reality is to get one, you
     17   under these locum agreements, medical examiners        17   have to get somebody to relocate from somewhere
     18   from other parts of the state who come in and do       18   else in the country to come here. And because
     19   autopsy work for us.                                   19   bringing them one -- bringing one in is not
     20        Q. So was the judgment made that the              20   going to restore those out-of-county autopsy
     21   cost of hiring a medical examiner was greater          21   fees, we have made the decision in the interim
     22   than the lost fees from performing out-of-county       22   that it is more cost effective and easier to
     23   autopsies?                                             23   operationally manage to go ahead and hire,
     24            MR. PENDELL: Objection to form.               24   essentially, contract out, that third position
     25        A. Not necessarily that simple. We're             25   during this interim period.

                                                                                                 32 (Pages 122 - 125)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 33 of 106. PageID #: 242320


                                                  Page 126                                              Page 128
      1       Q. So Summit County has made the              1   essentially, costs that are already there
      2   decision not to hire a medical examiner or two    2   regardless of whether we perform them or not.
      3   medical examiners in order to get the fees from 3     Those out-of-county autopsy fees, under Ohio
      4   performing out-of-county autopsies?               4   statute, go into what they call the medical
      5           MR. PENDELL: Objection to form.           5   examiner's lab fund, and are used to pay for
      6           MR. ARNOLD: Objection to form.            6   maintenance and purchase of equipment for the
      7       A. I think the decision is just trying        7   medical examiner's office. So where we really
      8   to get the operation back to three medical        8   lose out budgetarily is the general fund has had
      9   examiners, and we know we have likely lost long 9     to supplement the cost of maintaining that
     10   term that revenue from out-of-county autopsies. 10    portion of the medical examiner's budget for the
     11   And even bringing in a fourth might restore that 11   last two years and likely will continue to have
     12   revenue, but now we've got the cost of that      12   to do that going forward.
     13   fourth medical examiner, and so bringing one in 13        Q. You're saying the general fund has
     14   to restore those fees doesn't really address the 14   to supplement money that otherwise would have
     15   issue that we have with the fact that we've lost 15   been contributed from the fees for performing
     16   those fees.                                      16   out-of-county autopsies?
     17       Q. Because even -- your position is          17       A. That's correct.
     18   even if you hire another medical examiner, you 18         Q. But in order to perform
     19   will not be able to perform out-of-county        19   out-of-county autopsies, you would need another
     20   autopsies?                                       20   medical examiner?
     21       A. Getting that third medical examiner       21       A. That's correct.
     22   will not get us back to the point of being able  22       Q. And Summit County would incur the
     23   to perform those out-of-county autopsies.        23   costs of having that medical examiner?
     24           MR. KEYES: Okay. We can take a           24       A. That's correct.
     25   break.                                           25       Q. Plus Summit County would incur the
                                                  Page 127                                              Page 129
      1           THE VIDEOGRAPHER: Off the record, 1           costs of performing the out-of-county autopsies
      2   12 p.m.                                          2    themselves?
      3                (Recess had.)                       3         A. Yeah. There's not a whole lot of
      4           THE VIDEOGRAPHER: On the record, 4            additional costs when it comes to performing
      5   12:21.                                           5    out-of-county autopsies. I mean, we were
      6   BY MR. KEYES:                                    6    staffed -- as an analogy, we were staffed with
      7       Q. Mr. Nelsen, I believe you said            7    three medical examiners at a level that afforded
      8   before the break that Summit County loses        8    them enough time to handle in-county caseloads
      9   hundreds of thousands of dollars from its        9    plus the out-of-county work that came their way.
     10   inability to perform out-of-county autopsies?   10    Now, those three medical examiners -- so we're
     11       A. Correct.                                 11    still paying those costs, those salaries, which
     12       Q. Is that per year?                        12    is the biggest driver of that, but we just no
     13       A. Yes.                                     13    longer have the capacity to do the out-of-county
     14       Q. And when you say loses hundreds of       14    work, so that most of the costs associated with
     15   thousands of dollars, you're talking about      15    out-of-county autopsies are costs that we still
     16   revenue?                                        16    have.
     17       A. That's correct.                          17         Q. Over the past five years what has
     18       Q. That doesn't take into consideration     18    been the increase in the number of autopsies
     19   the costs that would be incurred by Summit      19    performed by the medical examiner's office?
     20   County in order to perform those out-of-county 20          A. I don't have those numbers. Those
     21   autopsies or have staffing to perform those     21    were, I believe, included in our original
     22   out-of-county autopsies, correct?               22    analysis we put together back in 2017.
     23           MR. PENDELL: Objection to form.         23         Q. Do you believe it's increased
     24       A. Semi-correct I guess. I mean, so         24    between 2013 and now?
     25   those costs -- the majority of those costs are, 25         A. Oh, definitely, yes.
                                                                                         33 (Pages 126 - 129)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 34 of 106. PageID #: 242321


                                                     Page 130                                                   Page 132
      1       Q. Focusing, then, on the increased                1   mentioned lab testing. What are the specific
      2   number of autopsies performed by the medical           2   lab testing costs?
      3   examiner's office, what percentage of those            3       A. Additional supplies. I think we
      4   additional autopsies are attributable to deaths        4   bought an additional piece of equipment. I
      5   resulting from the use of a prescription opioid?       5   don't know if it was last year or the year
      6       A. Just the prescription component of              6   before as well.
      7   the opioid?                                            7       Q. So the lab testing costs include
      8       Q. Yes.                                            8   supplies and one additional piece of equipment?
      9       A. I don't have that information.                  9       A. I believe so, yes.
     10       Q. And what percentage of the                     10       Q. And these are supplies that are
     11   additional autopsies that the Summit County           11   necessary to perform any autopsy?
     12   Medical Examiner's Office is performing over the      12       A. I don't know that I can speak to
     13   past five years involve a decedent who died from      13   that having never performed an autopsy.
     14   an overdose and had used a prescription opioid        14       Q. Do you know what the supplies are
     15   at some point in the past?                            15   that you're referring to?
     16       A. Again, Dr. Kohler would be the one             16       A. Supplies related to the toxicology
     17   that may have that information. I do not.             17   work they do, the slides, whatever they use for
     18       Q. Earlier when I asked you what are              18   tissue sample. I'm not an expert. I don't
     19   the medical examiner costs that Summit County         19   know.
     20   has incurred and that it's seeking in this case,      20       Q. And so these are supplies that are
     21   you said the biggest one is the lost revenue          21   used to perform any and every autopsy?
     22   from performing out-of-county autopsies,              22       A. I don't know if -- I can't quantify
     23   correct?                                              23   that answer. That's a Dr. Kohler answer.
     24       A. Correct.                                       24       Q. What is the additional piece of
     25       Q. What other, if any, medical examiner           25   equipment that you believe the medical
                                                     Page 131                                                   Page 133
      1   costs is Summit County seeking?                        1   examiner's office purchased?
      2       A. There were additional costs                     2       A. We purchased a -- I'm trying -- a --
      3   associated with lab testing, with body                 3   what was it? A gas -- gastro -- gastrometer
      4   transport. We had a $25,000 contract with an           4   something. I don't remember the name of it.
      5   agency to do body transports. We had to double         5       Q. What does it do?
      6   that contract to $50,000. We have overtime             6       A. I don't remember. I was told at the
      7   costs. We added an additional investigator, and        7   time we made the purchase what it did.
      8   that investigator was originally added and then        8       Q. When was it purchased?
      9   put on the county's lab fund. So when the              9       A. It was -- I believe it was either
     10   county ends up subsidizing, through the general       10   last year or the year before.
     11   fund, the lab fund, based on our financial            11       Q. So 2017 or 2018?
     12   situation in Summit County, we don't have             12       A. Yes. Possibly even 2016, but
     13   additional revenues to cover that.                    13   somewhere right in that time frame.
     14           What that means is something else             14       Q. Did the piece of equipment that was
     15   doesn't get paid for. And the big loser to the        15   purchased in 2017 or 2018 replace equipment that
     16   county, the county's budget, in all of this has       16   the medical examiner's office already had?
     17   truly been the county's capital investments in        17       A. I believe it did, yes, but that's
     18   buildings, equipment, car replacements,               18   one of those purchases that would have been paid
     19   maintaining facilities, HVAC systems, roof            19   for out of lab fund dollars that were not
     20   replacements. All of that stuff has suffered as       20   available to pay for it.
     21   a result of money that we have had to divert          21       Q. Well, this piece of equipment, was
     22   into helping out with this opiate issue.              22   this increasing the technical capacity of the
     23       Q. Okay. I was asking about medical               23   medical examiner's office or just replacing old
     24   examiner costs besides the lost revenue from          24   equipment?
     25   performing out-of-county autopsies, and you           25       A. I think it's both, but I would defer

                                                                                                34 (Pages 130 - 133)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 35 of 106. PageID #: 242322


                                                     Page 134                                                 Page 136
      1   to Dr. Kohler on that answer, though.                  1        A. Primarily the investigators.
      2       Q. What additional technical capacity              2        Q. How many investigators are there in
      3   did the medical examiner's office need such that       3   the medical examiner's office?
      4   it purchased this equipment that it didn't need        4        A. I think we're at -- I believe it's
      5   it before?                                             5   six investigators and two supervising
      6       A. That's not a question I'm qualified             6   investigators.
      7   to answer.                                             7        Q. How many were there in 2018?
      8       Q. Was it prompted by the fact that the            8        A. We had that many in 2018.
      9   medical examiner's office was now seeing               9        Q. Six investigators plus two
     10   fentanyl and carfentanil and analogs to fentanyl      10   supervisors?
     11   and carfentanil in the autopsies and it needed        11        A. I believe so.
     12   to test for those things?                             12        Q. How many in 2017?
     13            MR. PENDELL: Object to form.                 13        A. I believe we had that number in '17
     14       A. I can't say specifically. I do know            14   as well.
     15   back when fentanyl and carfentanil kind of hit        15        Q. Six investigators plus two
     16   the scene, that we -- that Dr. Kohler was             16   supervisors?
     17   having, with carfentanil I think in particular,       17        A. Yes.
     18   a very difficult time being able to get that to       18        Q. How many in 2016?
     19   show up in the kind of standard sets of tests         19        A. I would -- and forgive me because
     20   that they run. I don't remember what the              20   all this stuff kind of runs together. It was
     21   solution that ultimately -- if this was part of       21   either -- it was probably 2016 that we added an
     22   that or this was just something different.            22   additional investigator. It could have been
     23       Q. So was it the increasing incidence             23   2015, though.
     24   of fentanyl and carfentanil in the overdoses          24        Q. And how many supervisors in 2016?
     25   that were being autopsied that led to the need        25        A. Two.
                                                     Page 135                                                 Page 137
      1   to purchase this additional piece of equipment?        1       Q. How many supervisors in 2015?
      2           MR. PENDELL: Objection to form.                2       A. Two.
      3       A. I don't know that it was -- I don't             3       Q. How many investigators in 2014?
      4   remember it being conveyed to me that way. I           4       A. I would assume two.
      5   don't know for sure.                                   5       Q. Investigators.
      6       Q. Who would know about these claimed              6       A. Oh, investigators. We would have
      7   costs incurred by the medical examiner's office?       7   had five investigators and two supervisors.
      8       A. Dr. Kohler would be the -- would                8       Q. How many in 2013?
      9   have more detail on the types of questions             9       A. I believe it was five and two. I
     10   you're asking.                                        10   don't recall any changes. Again, I'd have to go
     11       Q. Did you reach out to Dr. Kohler to             11   back and look, but I don't recall changes other
     12   understand what the medical examiner costs were       12   than adding that additional investigator
     13   that are being sought in this case prior to           13   somewhere in that '15, '16 time range.
     14   today's deposition?                                   14       Q. Since 2013 the medical examiner's
     15       A. Well, back in 2017, when we did our            15   office has had two supervisors?
     16   original analysis of cost, we talked with             16       A. I believe so, yes.
     17   Dr. Kohler about the costs she was incurring.         17       Q. And since 2013 the medical
     18       Q. Since then have you talked to her?             18   examiner's office has had either five or six
     19       A. Not specific to this, no.                      19   investigators?
     20       Q. And did you talk to her to prepare             20       A. I believe so, yes.
     21   for today's deposition?                               21       Q. And you believe that that sixth
     22       A. I did not.                                     22   investigator was hired either in 2016 or 2017?
     23       Q. You said overtime is a cost?                   23       A. I believe so.
     24       A. Overtime is a cost.                            24       Q. And who made the decision to hire
     25       Q. Overtime by which personnel?                   25   that additional investigator?
                                                                                               35 (Pages 134 - 137)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 36 of 106. PageID #: 242323


                                                  Page 138                                                Page 140
      1      A.   Dr. Kohler came to us and requested       1         Q. When did Dr. Kohler first request a
      2   it.                                               2     second toxicologist?
      3       Q. When?                                      3         A. It was at least two years ago.
      4       A. So that request really -- I know it        4         Q. And to whom did Dr. Kohler make that
      5   came prior to the issues with the lab fund,       5     request?
      6   because the -- we did two things. We agreed to 6            A. To myself and Mr. Dodson.
      7   hire the additional investigator, pay them out    7         Q. And I take it that request has not
      8   of the lab fund, and then we also went back and 8       been granted so far?
      9   revisited the fee schedule for out-of-county      9         A. That is correct.
     10   autopsies, which had not been updated in several 10         Q. What is your reasoning for not
     11   years, and updated that to help produce some     11     granting a second toxicologist per Dr. Kohler's
     12   more revenue to help pay for the investigator.   12     request?
     13       Q. And what was Dr. Kohler's rationale       13         A. Lack of funding.
     14   for needing to hire one more investigator either 14              We also have -- we have a position
     15   in 2016 or 2017?                                 15     that, I think our thought was, down the road
     16       A. Higher caseloads. I'm going to            16     when that person retires, rather than replace
     17   guess it was probably '15 or '16, because the    17     that position, we would likely hire a second
     18   lab fund really began struggling in 2017 because 18     toxicologist into that position instead, so she
     19   I know I've provided general fund dollars to     19     is kind of playing the waiting game so that we
     20   keep it afloat in both 2017 and 2018.            20     can do it within budget.
     21       Q. So is it your testimony that since        21         Q. Focusing on the medical examiner's
     22   2013 the medical examiner's office has always 22        office, since 2013 is it accurate to say that
     23   had two supervisors and it's had either five or  23     only one position has been created and that is
     24   six investigators and that it hired the sixth    24     the position of an investigator?
     25   investigator in 2015 or 2016?                    25              MR. PENDELL: Objection to form.
                                                  Page 139                                                Page 141
      1       A. Off the top of my head, that is my           1        A. It is semi-accurate to say that, I
      2   best recollection of those employee counts. I       2   guess. It is true, we have added one
      3   can say for certain we hired an additional          3   investigator. That position was added and is
      4   investigator and put them on the lab fund in        4   currently on the county's payroll. A plan was
      5   '15, '16-ish time frame.                            5   put together to add a fourth medical examiner
      6       Q. How many toxicologists does the              6   position, but that then kind of -- and it was
      7   medical examiner's office have currently?           7   agreed upon and then just kind of fell apart
      8       A. One toxicologist.                            8   when we lost the third medical investigator.
      9       Q. How many in 2018?                            9        Q. Okay. But since 2013 the medical
     10       A. One.                                        10   examiner's office has always had one
     11       Q. How many in 2017?                           11   toxicologist?
     12       A. One.                                        12        A. Um-hum.
     13       Q. How many in 2016?                           13        Q. Correct?
     14       A. One.                                        14        A. Yes.
     15       Q. How many in 2015?                           15        Q. It's always had two supervisors,
     16       A. One.                                        16   correct?
     17       Q. How many in 2014?                           17        A. Yes.
     18       A. One.                                        18        Q. It's either had five or six
     19       Q. How many in 2013?                           19   investigators, correct?
     20       A. One.                                        20        A. Yes.
     21       Q. Okay.                                       21        Q. And it's always had two or three
     22       A. She has requested that she would            22   medical examiners?
     23   like a second toxicologist.                        23        A. Correct.
     24       Q. Dr. Kohler has requested?                   24        Q. And other than hiring Todd Barr to
     25       A. Yep.                                        25   fill the position that was left vacant when
                                                                                           36 (Pages 138 - 141)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 37 of 106. PageID #: 242324


                                                     Page 142                                                   Page 144
      1   Dorothy Dean left, the only plans that have been       1   spike, we had to stop doing out-of-county
      2   discussed to hire someone else are to hire this        2   autopsies -- that occurred somewhere in that '15
      3   resident who can join the office in 2019,              3   to '16 time frame -- and we had to start hiring
      4   correct?                                               4   somebody -- we had to hire locums and then a
      5       A. That is correct, but don't forget,              5   third medical examiner just to keep up with the
      6   in addition, we started contracting out autopsy        6   in-county work, and we really were not -- I
      7   work to non-county employee medical examiners,         7   don't know that we've kept up with it. I think
      8   so that third position is being filled by              8   there's still a backlog of cases that need
      9   contract workers. And when we get into 2019,           9   finalized.
     10   we'll have to make a decision about whether we        10        Q. Before Dorothy Dean left did Summit
     11   continue that practice in addition to this third      11   County pay contractors to perform autopsies?
     12   medical examiner, and whether we can afford to        12        A. No.
     13   continue that practice becomes the other              13        Q. During the time between Dorothy Dean
     14   practicality in all of this for us.                   14   leaving and Todd Barr joining Summit County did
     15       Q. How many contractors is Summit                 15   pay contractors?
     16   County paying in 2019 to do autopsies?                16        A. Yes.
     17       A. We have -- I believe it's two or               17        Q. When Todd Barr filled the spot that
     18   three different what they call locum contract         18   Dorothy Dean had vacated, did Summit County
     19   persons that come in and do this work for us.         19   continue to pay contractors to perform
     20       Q. How many did Summit County have in             20   autopsies?
     21   2018?                                                 21        A. No.
     22       A. We have -- we will have the same in            22        Q. Okay. And then at some point
     23   '18, or had the same -- excuse me -- in '18.          23   thereafter Summit County started to use
     24       Q. How many in 2017?                              24   contractors again to perform autopsies?
     25       A. I think at the point Dr. Barr left,            25        A. Yes.
                                                     Page 143                                                   Page 145
      1   which I think was in '17, most of '17 we had           1        Q. When was that?
      2   none, and then we reached out to these handful         2        A. That would have been after Todd
      3   when he left.                                          3   left.
      4       Q. Did Summit County pay contractors to            4        Q. And you believe he left in 2017?
      5   do autopsies before 2017?                              5        A. I believe so, yes.
      6       A. Yes. In that interim period, when               6        Q. And so when he left -- if he left in
      7   Dorothy Dean retired and before Todd Barr              7   2017, Summit County used two or three
      8   started working for us, we were paying them            8   contractors?
      9   as -- then as well. I don't remember if it was         9        A. Yes.
     10   three of them or not, but --                          10        Q. And then used two or three
     11       Q. Okay. Did Summit County pay                    11   contractors in 2018?
     12   contractors to perform autopsies before Dorothy       12        A. Yes.
     13   Dean left?                                            13        Q. And is still using two or three
     14       A. No.                                            14   contractors?
     15       Q. So since 2013, Summit County first             15        A. Yes.
     16   started using contractors to perform autopsies        16        Q. And how much did Summit County pay
     17   when Dorothy Dean left?                               17   the contractors to perform these autopsies in
     18       A. Yes.                                           18   2017?
     19       Q. And that was either in 2016 or 2017?           19        A. I think the rate is a thousand
     20       A. No. That was when Todd Barr left.              20   dollars per autopsy.
     21   Dorothy Dean left earlier, '13 or '14, somewhere      21        Q. And how many autopsies did they
     22   in there. So the reality is when Dorothy Dean         22   perform?
     23   was there, we were not paying contractors and we      23        A. I don't know offhand. If I recall,
     24   were performing out-of-county autopsy work.           24   we -- we entered into about $75,000 worth of
     25   After Dorothy Dean left and caseloads began to        25   contracts.
                                                                                                37 (Pages 142 - 145)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 38 of 106. PageID #: 242325


                                                     Page 146                                                  Page 148
      1        Q. In 2017?                                       1       A. So I don't know that I can answer if
      2        A. In -- no. In 2018, for a full year.            2   the crime rate itself has increased, but what I
      3        Q. Okay. So you paid these contractors            3   can tell you is that from 2013 to 2016 the
      4   $75,000 in 2018 to perform autopsies?                  4   number of cases prosecuted by the Summit County
      5        A. Well, I'm not going to say we paid             5   Prosecutor's Office has increased.
      6   them that. I know we -- I believe that we              6       Q. Has the crime rate in Summit County
      7   approved $75,000 worth of contracts.                   7   increased or decreased over the past ten years?
      8        Q. How much was approved for 2017?                8            MR. PENDELL: Objection to form.
      9        A. I don't recall. It only would have             9       A. I have not reviewed -- and I would
     10   been for a partial year, so it would have been a      10   assume you're referring to like FBI crime rate
     11   smaller amount.                                       11   statistics. I have not reviewed any of those
     12        Q. Okay. So to make sure I understand,           12   statistics but have reviewed caseload stats, as
     13   the first time that the medical examiner's            13   I mentioned.
     14   office paid contractors to perform autopsies was      14       Q. My question was specific, and if you
     15   the period when -- after Dorothy Dean had left        15   don't know, you don't know.
     16   and before Todd Barr had joined?                      16            Do you know whether the crime rate
     17        A. Yes.                                          17   in Summit County has increased or decreased over
     18        Q. And then it wasn't until Todd Barr            18   the past five years?
     19   left that Summit County again started paying          19            MR. PENDELL: Objection to form.
     20   contractors to perform autopsies?                     20       A. I do not know the answer to that.
     21        A. That is correct.                              21       Q. Do you know whether the crime rate
     22        Q. And Summit County paid or approved            22   in Summit County has increased or decreased over
     23   approximately $75,000 to be paid to contractors       23   the past ten years?
     24   for autopsies in 2018, correct?                       24            MR. PENDELL: Objection. Form.
     25        A. That's my recollection, yes.                  25       A. I know caseloads at the prosecutor's
                                                     Page 147                                                  Page 149
      1       Q. And something less than $75,000 was             1   office have increased. I cannot tell you about
      2   approved to pay contractors to perform autopsies       2   the overall crime rate in the county.
      3   in 2017?                                               3       Q. And you said that before and you
      4       A. That's my recollection.                         4   said you know that happened between 2013 and
      5       Q. So the cost to Summit County of                 5   2016.
      6   paying these two or three contractors to perform       6       A. And I know that only because those
      7   autopsies is lower than the cost of hiring a           7   are the only years I actually looked at it.
      8   medical examiner?                                      8   They could have increased over the last ten
      9       A. Yes. It's kind of a multi-part                  9   years as well.
     10   question. I mean, if we had them come in and          10       Q. Has the rate of drug crime increased
     11   perform the same amount of work as a full-time        11   or decreased over the past five years?
     12   medical examiner, I don't know if that would be       12           MR. PENDELL: Objection to form.
     13   the case, but it provided flexibility for us to       13       A. The rate of drug prosecutions by the
     14   be able to call them when we needed them and not      14   prosecutor's office from 2013 to 2016 increased
     15   pay somebody if nobody is showing up at the           15   42 percent.
     16   door, which hasn't really been the case for the       16       Q. Over the past five years has the
     17   last several years, but it -- it also allowed us      17   drug crime rate gone up or down?
     18   to -- as I mentioned earlier, the difficulty in       18           MR. PENDELL: Objection.
     19   trying to find a full-time employee. We had to        19       A. The number of prosecuted cases has
     20   implore kind of what I'd call stop gap measures       20   gone up.
     21   to keep everything afloat until we could get a        21       Q. Has the drug crime rate over the
     22   new full-time person in.                              22   past ten years gone up or down?
     23       Q. Has the crime rate in Summit County            23           MR. PENDELL: Objection.
     24   increased or decreased over the past five years?      24       A. I can't -- I can't tell you. I
     25            MR. PENDELL: Objection to form.              25   don't know.
                                                                                                38 (Pages 146 - 149)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 39 of 106. PageID #: 242326


                                                      Page 150                                                  Page 152
      1       Q. Has the rate of opioid-related            1          the percentage of child placement cases that
      2   crimes gone up or down over the past five years? 2          were opioid related?
      3            MR. PENDELL: Objection.                 3              A. Correct.
      4       A. My answer would be intuitive. I           4              Q. Did they use a specific list of
      5   haven't seen an exact stat on opiate, but I      5          placement cases to conduct that review?
      6   would assume, given the increase in all of the   6              A. I was not a part of that review. I
      7   statistics we've talked about, that the number   7          don't know -- I can't answer any questions on
      8   of the increase in felony drug possession cases  8          what the criteria was.
      9   by the prosecutor's office would indicate that   9              Q. Have you seen any records that show
     10   the number of opiate crimes has increased.      10          which cases they looked at?
     11       Q. And you said that's your assumption? 11                       MR. ARNOLD: Objection to form.
     12       A. Yes.                                     12              A. I have not seen a listing.
     13       Q. You don't know?                          13              Q. Are you aware of the number of
     14       A. I don't have a statistic on that.        14          people in Summit County who used prescription
     15       Q. Has the rate of opioid-related           15          opioids, became addicted to opioids, and then
     16   crimes increased or decreased over the last ten 16          used illegal opioids and entered the criminal
     17   years?                                          17          justice system?
     18            MR. PENDELL: Objection to form.        18                   MR. PENDELL: Objection. Form.
     19       A. Same answer as the last one.             19              A. No. I have not seen a statistic on
     20       Q. Has the number of drug crimes            20          that. I, again, can only infer from, as I
     21   involving opioids increased or decreased over 21            mentioned earlier, the data regarding OARRS and
     22   the past five years?                            22          the increase in caseloads both in the criminal
     23            MR. PENDELL: Objection.                23          justice system, the overdoses, that there are
     24       A. How is that question different than      24          probably a large number of people who started
     25   the previous ones?                              25          off with prescription-based opioids, who, when
                                                      Page 151                                                  Page 153
      1       Q. I asked you before about the rates.              1   the OARRS requirement went into place, ended up
      2   Now I'm just asking you about pure number.              2   moving on to illegal opioids.
      3           Has the number of opioid-related                3        Q. My question was, are you aware of
      4   crimes increased or decreased over the past five        4   the number of people in Summit County who used
      5   years?                                                  5   prescription opioids, became addicted to
      6           MR. PENDELL: Objection.                         6   opioids, then used illegal opioids and entered
      7       A. I'm still not following how that's               7   the criminal justice system?
      8   different than the rates. Were you talking              8            MR. PENDELL: Objection.
      9   percentages before?                                     9        A. I haven't conducted a survey on
     10       Q. Well, my question right now is, the             10   that, no.
     11   number of opioid-related crimes, has that gone         11        Q. Have you directed anyone else to do
     12   up or down over the last five years?                   12   that?
     13       A. I think my answer to that would be              13        A. I have not.
     14   the same as the previous answer.                       14        Q. Do you know of anyone else in Summit
     15       Q. That it's your assumption that it               15   County who has done that?
     16   went up?                                               16        A. I am not aware. That does not mean
     17       A. It's my assumption that it went up.             17   it may not exist.
     18       Q. Has the number of opioid-related                18        Q. Can you point me to any individual
     19   crimes increased or decreased over the last ten        19   who fits that description, used prescription
     20   years?                                                 20   opioids, became addicted to opioids, then used
     21           MR. PENDELL: Objection.                        21   illicit or unlawful opioids and entered the
     22       A. Same answer.                                    22   criminal justice system?
     23       Q. Earlier you said that in your                   23            MR. PENDELL: Objection.
     24   meeting with Ms. Barnes and Mr. Kearns, they           24        A. Can I personally point you?
     25   described a review of SACWIS data to determine         25        Q. Yes.

                                                                                                 39 (Pages 150 - 153)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 40 of 106. PageID #: 242327


                                                     Page 154                                                        Page 156
      1        A. Let me think about that for a                  1          Q.   Who is that judge?
      2   minute.                                                2          A.   That was Judge Joy Oldfield.
      3            MR. PENDELL: And I'm just objecting           3          Q.   That didn't answer my question at
      4   to the form and scope, but you can go ahead.           4   all.
      5        A. You know, I am aware of some people            5       A. To answer your question, I do not --
      6   -- I don't know that I'm going to say they ended       6   I cannot, off the top of my head, personally
      7   up in the criminal justice system, but who             7   think of somebody in that situation.
      8   either ended up in the hospital, or another            8       Q. That wasn't my question either. I
      9   gentleman I'm thinking actually lost a licensure       9   already asked that question and you said you
     10   because of a situation like that. And I'm             10   couldn't name anyone.
     11   certainly not going to go into any detail on          11           The question I just asked was, have
     12   those cases or who those people are.                  12   you undertaken to determine the percentage of
     13        Q. But my question was specific. Can             13   people who are in the criminal justice system
     14   you point to anybody who used prescription            14   because they were convicted of a drug crime who
     15   opioids, became addicted to opioids, then used        15   used prescription opioids, developed an
     16   illicit or unlawful opioids and then entered the      16   addiction to opioids, then used illicit opioids
     17   criminal justice system, that is they were            17   and were then arrested and prosecuted because of
     18   charged with and prosecuted for a drug crime          18   a drug crime involving opioids?
     19   involving opioids?                                    19           MR. PENDELL: Objection to form.
     20            MR. PENDELL: Objection.                      20           MR. ARNOLD: Objection to form.
     21        Q. Can you point to anyone?                      21       Q. Have you undertaken to do that?
     22            MR. PENDELL: Objection. Form and             22           MR. PENDELL: Same objection.
     23   scope.                                                23       A. So your question is have I gone out
     24        A. Not off the top of my head do I               24   and surveyed all the prisoners in the jail to
     25   personally know somebody or can think that I          25   ask them if they started out on prescription
                                                     Page 155                                                        Page 157
      1   personally know somebody in that situation.            1   opioids?
      2        Q. Have you undertaken to determine the           2       Q. Have you done anything to undertake
      3   percentage of people who were convicted of a           3   that?
      4   drug crime who used prescription opioids,              4       A. I don't know that that's my role
      5   developed an addiction, then used illicit              5   with the county, to undertake something like
      6   opioids and then were charged with and convicted       6   that.
      7   of a drug crime because of their use of illicit        7       Q. Whether it's your role or not, have
      8   opioids?                                               8   you undertaken to do that?
      9            MR. PENDELL: Objection.                       9       A. I have not.
     10        A. So, to me, these are interesting              10       Q. Have you asked anyone else to do it?
     11   questions as a -- personal questions as a             11       A. I have not.
     12   representative of Summit County. I personally         12       Q. To your knowledge, has anyone else
     13   cannot think of anybody in that situation, but        13   at Summit County studied that?
     14   as I have talked with people that -- in the           14       A. I do not know.
     15   county that deal with people in that situation,       15       Q. Did the -- in 2018 did the ADM Board
     16   the first person I'm thinking about is one of         16   create any new positions because of the opioid
     17   the judges who runs the Turning Point program,        17   problem?
     18   who told me that 71 out of the 85 people who          18       A. In the 2019 -- 2019 budget, the ADM
     19   participated in that last year were there             19   Board has requested an additional position. I
     20   because of an opioid addiction, and that, yes,        20   do not know offhand if that is specifically
     21   it is quite common for people to -- to use a          21   related to the opiate issue or not.
     22   prescription opiate and eventually end up on an       22       Q. What is the new position it's
     23   illegal opiate substance and in the criminal          23   requested?
     24   justice system. So I have been told that              24       A. I don't recall. I just recall that
     25   happens quite routinely.                              25   they were going from 20 employees to 21
                                                                                                    40 (Pages 154 - 157)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 41 of 106. PageID #: 242328


                                                      Page 158                                                 Page 160
      1   full-time employees.                                    1        A. That's correct.
      2       Q. Has that request been granted?                   2        Q. How about 2016?
      3       A. Yes.                                             3        A. No, they did not.
      4       Q. How about in 2018; did the ADM Board             4        Q. 2015?
      5   create any new position because of the opioid           5        A. They did not.
      6   problem in Summit County?                               6        Q. 2014?
      7       A. They did not, but let's not forget               7        A. They did not. And before that I
      8   the ADM Board is essentially a contracting              8   would have to say I don't recall.
      9   entity that essentially -- when it comes to             9        Q. 2013?
     10   service providers, when it comes to addiction          10        A. Don't recall.
     11   treatment and all of those services, it's the          11        Q. How many new positions did the
     12   non-profits who contract with ADM who have added       12   prosecutor's office create in 2018 because of
     13   positions and requested additional dollars to          13   the opioid problem?
     14   deal with the opioid epidemic, not the ADM Board       14        A. So with the prosecutor's office, you
     15   itself.                                                15   are talking about a -- an office that is
     16       Q. In 2018 did the ADM Board create any            16   restricted in funding because of the general
     17   new position because of the opioid problem in          17   fund restrictions on it and lack of funding for
     18   Summit County?                                         18   it. I don't believe they added any positions in
     19       A. They did not.                                   19   2018.
     20       Q. How about in 2017?                              20        Q. So did the prosecutor's office
     21       A. They did not.                                   21   create any new positions in 2018 because of the
     22       Q. 2016?                                           22   opioid problem?
     23       A. I do not believe.                               23        A. I do not believe so.
     24       Q. 2015?                                           24        Q. How about in 2017?
     25       A. I do not believe.                               25        A. I don't believe so.
                                                      Page 159                                                 Page 161
      1       Q. 2014?                                            1       Q. How about 2016?
      2       A. I do not believe.                                2       A. If we start getting back there, I
      3       Q. 2013?                                            3   don't recall, because they also have a number of
      4       A. I don't recall that far back.                    4   grants that they receive.
      5       Q. In 2018 did the Children Services                5       Q. How about in 2015?
      6   Board create any new position because of the            6       A. I don't recall.
      7   opioid problem?                                         7       Q. How about 2014?
      8       A. The Children Services Board, in                  8       A. I don't recall either.
      9   their 2019 budget request, has requested five           9       Q. How about 2013?
     10   additional staffing positions for case managers.       10       A. I don't recall.
     11       Q. What is the status of that request?             11       Q. Public defender's office; in 2018
     12       A. It was approved as part of their                12   did the public defender's office create any new
     13   budget, and it was also part of their levy             13   positions because of the opioid problem?
     14   increase request back in November to fund those.       14       A. The public defender's office is not
     15       Q. In 2018 did the Children Services               15   a county agency. They're a private non-profit,
     16   Board create any new positions because of the          16   so I have no way -- I do not know.
     17   opioid problem?                                        17       Q. Did the court of common pleas create
     18       A. They did not. I think the                       18   any new positions in 2018 because of the opioid
     19   additional placement costs were consuming the          19   problem?
     20   vast majority of any excess dollars they had.          20       A. The court of common pleas has in
     21       Q. In 2017 did the Children Services               21   2018 added additional probation officers.
     22   Board create any new positions because of the          22       Q. How many?
     23   opioid problem?                                        23       A. I'm going to say about eight.
     24       A. Same answer.                                    24       Q. And to be clear, are you saying they
     25       Q. The answer is no, they did not?                 25   created eight new positions for probation
                                                                                               41 (Pages 158 - 161)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 42 of 106. PageID #: 242329


                                                     Page 162                                                   Page 164
      1   officers or they filled slots?                         1   judges to the common pleas benches in Summit
      2       A. They created eight new positions for            2   County, going from eight to ten, and staffing
      3   probation officers.                                    3   for those, to deal with increases in crime.
      4       Q. In 2018?                                        4   That may have been even prior to 2013.
      5       A. In late 2017, into early 2018, so               5       Q. Can you place that in time?
      6   part of this, and the funding for this was part        6       A. Offhand, I don't recall. Probably
      7   of the initiative by the State of Ohio, because        7   mid to late 2000s.
      8   of overcrowding in the state's prison system, to       8       Q. So you believe that the two
      9   essentially say we don't want non-violent, low         9   additional judges, plus the staffing to assist
     10   level, felony 5 offenders, and that's where the       10   those judges, was sometime before 2010?
     11   big increase -- because those are primarily the       11           MR. PENDELL: Objection to form.
     12   drug possession cases. That's where the big           12       A. I believe.
     13   increase occurred in both the local and state         13       Q. And sitting here today, your
     14   prisons. It's where the increase occurred in          14   understanding is that the court of common pleas
     15   our public defense costs. The State of Ohio           15   did not create any new positions because of the
     16   essentially said we won't accept prisoners            16   opioid problem between 2013 and 2017, correct?
     17   sentenced to state prison anymore for those           17       A. I have to think about -- they have
     18   offenses and began a program called TCAP, which       18   added one or two positions in the court
     19   is Targeted Community Alternatives to Prison, to      19   operations itself. One of -- I believe one of
     20   push low-level offenders back to the county           20   those positions may have been in the
     21   level for alternative sentencing solutions.           21   psycho-diagnostic -- a psycho-diagnostic
     22            And so we -- and they provided grant         22   evaluator, which isn't -- I'm going to say is
     23   money to do that. We at local level then ended        23   not completely opioid related but certainly has
     24   up hiring -- one of the main offshoots of that        24   strong ties into the opiate situation.
     25   were the additional eight positions hired at the      25       Q. When was the psycho-diagnostic
                                                     Page 163                                                   Page 165
      1   adult probation department.                            1   evaluator position created?
      2            The State of Ohio is also looking at          2       A. I think that was somewhere around
      3   sentencing -- and this is what led to State            3   2015, '14. I'm not completely sure on that,
      4   Issue 1 last year, to reform sentencing for            4   though, without going back to look.
      5   these drug possession offenders because there          5       Q. Turning your attention to the eight
      6   are so many of them in the system who, once they       6   new probation officer positions created by the
      7   get a felony conviction, can't get work anymore;       7   court of common pleas in 2018, you said that was
      8   that they are looking at alternative treatment         8   the result of overcrowding as a result of the
      9   programs and trying to essentially decriminalize       9   state system not accepting prisoners?
     10   a lot of the drug possession -- and all of this       10       A. Correct.
     11   is a result of what's happened over the last          11       Q. And how did Summit County pay for
     12   several years with this opiate.                       12   these new -- eight new probation officer
     13        Q. In 2017 did the court of common               13   positions, using what funds?
     14   pleas create any new positions because of the         14       A. Grant funds provided by the state.
     15   opioid problem?                                       15       Q. Entirely?
     16        A. They did not.                                 16       A. Yes.
     17        Q. How about in 2016?                            17       Q. Turning your attention to the
     18        A. They did not.                                 18   juvenile court, how many positions, if any, did
     19        Q. How about 2015?                               19   the juvenile court create in 2018 because of the
     20        A. I don't believe.                              20   opioid problem?
     21        Q. How about 2014?                               21       A. Juvenile court is a little different
     22        A. I don't believe. Now --                       22   in the way that they operate. The judge at our
     23        Q. How about 2013?                               23   juvenile court has a strong belief in
     24        A. -- somewhere -- and I don't recall            24   alternative programming, so they tend not to
     25   what year this was -- we did add two additional       25   hold very many kids in detention.

                                                                                                42 (Pages 162 - 165)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 43 of 106. PageID #: 242330


                                                     Page 166                                                 Page 168
      1           The biggest cost driver at the            1        eliminated several years ago. The -- we have
      2   juvenile court is the significant increase in     2        also, over the last several years, double-bunked
      3   indigent defense costs related to those cases at  3        most of the jail to hold inmates as a result of
      4   the court. I do not believe -- well, they have    4        the increase in the number of felony 5 offenders
      5   added -- they have added some staff over the      5        sitting at the jail.
      6   years through some alternative programming in 6                 Q. Okay, sir. My question was very
      7   their CASA GAL program. I don't know. I don't 7            specific. How many positions, if any, did the
      8   have specific numbers for specific years on       8        sheriff's office create in 2018 because of the
      9   them. I don't recall anything in the last two     9        opioid problem?
     10   or three years that they've added.               10                 MR. PENDELL: Objection to form.
     11       Q. Okay. Did the juvenile court create       11             A. I never did finish answering. So
     12   any new positions in 2018 because of the opioid 12         the reality is they're adding five, they've
     13   problem?                                         13        realigned 16 to come back to the jail, and
     14       A. I don't believe so.                       14        they've requested 60.
     15       Q. How about 2017?                           15             Q. So how many new positions are there?
     16       A. I don't believe so.                       16             A. Five.
     17       Q. How about 2016?                           17             Q. Okay. And what will these
     18       A. I don't believe so.                       18        additional inmate service workers do?
     19       Q. How about 2015?                           19             A. Provide recreation -- primarily
     20       A. I don't recall.                           20        recreation programming, AA and NA, which are the
     21       Q. How about 2014?                           21        alcohol and drug programming services, and
     22       A. Don't recall.                             22        religious services at the jail to deal with the
     23       Q. How about 2013?                           23        larger inmate population at the jail.
     24       A. Don't recall.                             24             Q. And so did the sheriff's office get
     25       Q. Sheriff's office --                       25        these five additional inmate service workers
                                                     Page 167                                                 Page 169
      1       A. Yes.                                            1   because of the increased population at the
      2       Q. -- in 2018 how many, if any, new                2   county jail?
      3   positions did the sheriff's office create              3       A. Yes.
      4   because of the opioid problem?                         4       Q. How many, if any, new positions did
      5       A. Well, so the sheriff's office came              5   the sheriff's office create in 2017?
      6   to us in 2018 with a request to add 60                 6       A. As a result of the opioid epidemic?
      7   additional deputies to his staff. That request         7       Q. Because of the opioid problem.
      8   was turned down. We do not have the funding for        8       A. The answer to that would be none.
      9   that. That request ultimately led to -- was one        9       Q. How about 2016?
     10   of the drivers that led to the formation of           10       A. None.
     11   redesignating the Glenwood Jail operated by           11       Q. 2015?
     12   Oriana House as a community alternative               12       A. And I should clarify. All of these
     13   sentencing center and not a county jail, which        13   years they've requested additional staffing and
     14   would allow for more folks who are being pushed       14   gotten none because of a lack of funding.
     15   through the prison system, particularly on these      15       Q. Okay. So how many -- to be clear,
     16   low-level, non-violent offenses, to go to             16   in 2017 and 2016 the sheriff's office did not
     17   this -- to the CASC and receive treatment             17   create any new positions because of the opioid
     18   services.                                             18   problem, correct?
     19            The -- the result of that was also           19       A. They requested two and were denied.
     20   that we were able to pull 16 sheriff deputies         20       Q. Okay. Requested two in 2017?
     21   back from what used to be the Glenwood Jail, add      21       A. Yep.
     22   them to the staffing at the county jail, and          22       Q. And requested two in 2016?
     23   then also approved hiring five -- five                23       A. Yep.
     24   additional inmate service workers to help             24       Q. And both were denied?
     25   restore programming at the jail that was              25       A. Yes.
                                                                                               43 (Pages 166 - 169)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 44 of 106. PageID #: 242331


                                                   Page 170                                                    Page 172
      1       Q. How many, if any, new positions were          1        Q. And in 2018 the sheriff's office
      2   created by the sheriff's office in 2015?             2   added five inmate service workers because of the
      3       A. They requested in '15 and were                3   opioid problem?
      4   denied.                                              4        A. Yes.
      5       Q. How many did they request in 2015?            5        Q. And that's because of the additional
      6       A. I think the number then was right             6   inmate population at the county jail, correct?
      7   around 24 to 26.                                     7        A. Yes.
      8       Q. How many, if any, new positions were          8        Q. Which is due to the state refusing
      9   created by the sheriff's office in 2014 because      9   to accept inmates at state-run facilities?
     10   of the opioid problem?                              10            MR. PENDELL: Objection to form.
     11       A. 24 to 26.                                    11        A. Not completely. The jail inmate
     12       Q. Were requested?                              12   population has risen steadily over the last two
     13       A. Yes.                                         13   or three years, even prior to the state action.
     14       Q. How many were granted?                       14   The creation of the CASC and more people being
     15       A. None.                                        15   sent out of the jail to the former Glenwood
     16       Q. How many, if any, new positions were         16   Jail, the now CASC run by Oriana, that increase
     17   created by the sheriff's office in 2013 because     17   is truly a direct result, along with the
     18   of the opioid problem?                              18   additional probation officers, of the state
     19       A. Again, requested 24 to 26, and none          19   refusing to accept felony 5 non-violent
     20   were granted.                                       20   offenders.
     21       Q. So is it accurate to say that from           21        Q. What funds is Summit County using to
     22   2013 to 2017, the sheriff's office did not          22   pay for these five additional inmate service
     23   create any new positions because of the opioid      23   workers?
     24   problem?                                            24        A. County general fund dollars.
     25       A. It is accurate --                            25        Q. I had asked you before about the
                                                   Page 171                                                    Page 173
      1           MR. PENDELL: Objection.                      1   sheriff's office. If we talk about the sheriff
      2       A. -- to say they did not create any             2   jail category, would you have anything different
      3   new positions because of a lack of funding, but      3   to say about whether any new positions were
      4   the need was there because of the opiate             4   created?
      5   problem.                                             5        A. No. It's all the same answers.
      6       Q. But if we're trying to figure out             6   Yeah.
      7   dollars that were spent, no new positions were       7        Q. So you don't break it out by
      8   created between 2013 and 2017 because of the         8   sheriff's office and sheriff jail?
      9   opioid problem, correct?                             9        A. I mean, we have a budget for sheriff
     10       A. If we're going to start talking              10   admin, sheriff jail. When you and I are talking
     11   about dollars that were spent, we also had an       11   about sheriff operations, I'm thinking of the
     12   increase in overtime costs at the jail during       12   whole big --
     13   that period.                                        13        Q. So taking sheriff office admin and
     14       Q. Sir, this is -- you can give your            14   sheriff jail, the only new positions that were
     15   testimony down the road. Today -- and I think       15   created since 2013 because of the opioid problem
     16   I've been quite tolerant -- I'm asking you to       16   are these five additional inmate service
     17   answer the question I pose. So is it accurate       17   workers?
     18   to say that between 2013 and 2017, the sheriff's    18        A. Yeah. They were the only positions
     19   office did not create any new positions because     19   funded.
     20   of the opioid problem? Is that accurate?            20        Q. Now, turning to alternative
     21           MR. PENDELL: Objection. Form.               21   corrections --
     22   Asked and answered.                                 22        A. Okay.
     23       A. It is accurate to say the sheriff's          23        Q. -- what is that?
     24   office did not receive funding for any new          24        A. Alternative corrections is the
     25   positions during that period.                       25   Oriana House.

                                                                                              44 (Pages 170 - 173)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 45 of 106. PageID #: 242332


                                                    Page 174                                                 Page 176
      1       Q. What new positions did Oriana House            1        A. Again, with public health, they're a
      2   create in 2018 because of the opioid problem?         2   separate entity. I don't have their employment
      3       A. So Oriana is a private,                        3   information.
      4   not-for-profit entity. I don't have an answer         4           The other thing I will say about
      5   for that. I will tell you that as a result of         5   adult probation, over the last several years, in
      6   the formation of the CASC, we have increased          6   addition to those eight that the state has paid
      7   their budget by a total of -- I think starting        7   for, they have, like the sheriff's office and
      8   this year, with the new operation of the CASC,        8   the prosecutor's office and other entities,
      9   by a total of about $760,000, to provide for          9   asked for funding for additional positions and
     10   additional employees and additional programming      10   been denied because of the lack of available
     11   at that facility.                                    11   funding. They also asked us for money to
     12       Q. Okay. Are you able to tell me for             12   increase the salary of probation officers this
     13   any year between 2013 and 2018 whether or how        13   year because of the caseloads and because they
     14   many new positions were created by Oriana House      14   felt they weren't competitive with what other
     15   because of the opioid problem?                       15   counties are paying, and they were denied that
     16       A. I cannot. I don't have any of that            16   request from local dollars as well.
     17   information available.                               17              - - - - -
     18       Q. And does Oriana House get funding             18           (Thereupon, Nelsen 30(b)(6)
     19   from Summit County to provide incarceration          19           Deposition Exhibit 3, Summit County,
     20   services?                                            20           Ohio Plaintiff's Second Supplemental
     21       A. They get -- they get funding to               21           Response and Objections to
     22   provide incarceration services, drug and alcohol     22           Distributor Defendants'
     23   treatment programs, home monitoring services, a      23           Interrogatory No. 18 Pursuant to the
     24   whole host of what we would call alternative         24           Court's November 21, 2018 Order, was
     25   sentencing options.                                  25           marked for purposes of
                                                    Page 175                                                 Page 177
      1       Q. Then turning your attention to adult           1           identification.)
      2   probation --                                          2              - - - - -
      3       A. Yes. We did talk about that.                   3           (Thereupon, Nelsen 30(b)(6)
      4   That's part of common pleas court.                    4           Deposition Exhibit 4, Spreadsheet
      5       Q. So you grouped that together?                  5           Entitled "Summit County ($
      6       A. Yes, I did.                                    6           Millions)," Marked Confidential, was
      7       Q. So talking about the court of common           7           marked for purposes of
      8   pleas and adult probation, the only new               8           identification.)
      9   positions that were created since 2013 are the        9              - - - - -
     10   eight new probation officer positions?               10       Q. I'm showing you what has been marked
     11       A. Yes.                                          11   as Nelsen 30(b)(6) Exhibit 3 and what I've
     12       Q. Those were created in 2018, and               12   marked as Nelsen 30(b)(6) number 4. These two
     13   those are funded by the state entirely?              13   documents were previously marked as Nelsen
     14       A. Those new positions, yes.                     14   Exhibit 2 and 3 in your December deposition.
     15           And then there was also that                 15           Do you have those two documents in
     16   evaluator position, I believe, at the court.         16   front of you?
     17       Q. Right, which -- the                           17       A. Yes.
     18   psycho-diagnostic evaluator position?                18       Q. I asked you questions about the
     19       A. Yes.                                          19   chart that is Nelsen 30(b)(6) Exhibit 4 in your
     20       Q. And you placed that sometime in 2014          20   deposition in December.
     21   or 2015?                                             21           Do you recall that?
     22       A. Somewhere in that range, yeah.                22       A. Yes.
     23       Q. How about public health? Has public           23       Q. And you testified that you did not
     24   health created any new positions because of the      24   prepare this chart, correct?
     25   opioid problem since 2013?                           25       A. That's correct.
                                                                                              45 (Pages 174 - 177)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 46 of 106. PageID #: 242333


                                                      Page 178                                                   Page 180
      1       Q. You understand it was prepared by                1       A. Correct.
      2   experts for Summit County, correct?                     2       Q. You said you reviewed some summaries
      3       A. That's correct.                                  3   of costs incurred by different departments or
      4       Q. That you understand that the experts             4   agencies?
      5   used data that you or your office had provided,         5       A. Correct.
      6   correct?                                                6       Q. You said that during the meeting,
      7       A. That's correct.                                  7   the group identified costs or categories of
      8       Q. And that the only data that you are              8   costs that were not included in those figures,
      9   aware of that had been provided to those experts        9   correct?
     10   were reports of expenditures by Summit County?         10       A. That's correct.
     11       A. Correct.                                        11       Q. You said that counsel directed the
     12           MR. PENDELL: Objection to form.                12   various departments or agencies to then go out
     13       Q. And when I asked you whether you                13   and calculate the costs from those missing
     14   could explain how any of these numbers were            14   categories?
     15   calculated, you said you could not, correct?           15       A. Correct.
     16           MR. PENDELL: Objection to form.                16       Q. And you have seen those subsequent
     17       A. How they compiled those numbers, I              17   analyses?
     18   would say that's correct.                              18       A. I have.
     19       Q. So have you done anything since your            19       Q. And the subsequent analyses do
     20   last deposition to understand how this chart was       20   include those other categories of costs that
     21   put together?                                          21   were missing from the earlier reports?
     22       A. So I have not done anything to talk             22       A. From our earlier reports, yes.
     23   to these experts about how this chart was put          23       Q. Okay. So does this chart that --
     24   together, but -- here's the big but, and this is       24   Nelsen 30(b)(6) Exhibit 4, does this chart
     25   probably a little different from the last              25   include in these figures those costs that were
                                                      Page 179                                                   Page 181
      1   deposition I gave -- we have spent quite a bit          1   to be added based on the November meeting?
      2   of time today talking about the fact that in            2           MR. PENDELL: Objection.
      3   2017 we internally put together an analysis of          3           Hold on one second.
      4   costs by departments, and, as we indicated, we          4       A. So the -- the meeting that we had in
      5   have had some ongoing discussion about what was         5   November, the further analyses that we did was
      6   in, not in, those costs, and honing in on better        6   independent of the damage experts, the
      7   data to verify those costs.                             7   economists who put together this chart, so I
      8            When I go back and look at the                 8   cannot tell you -- I don't know whether that
      9   analysis we put together in 2017 -- and the one         9   information was relayed to them or not. I don't
     10   thing I have done since the last deposition is         10   even know -- this chart may have come out before
     11   sit down and compare our original analysis             11   we had that meeting. I'm not positive on that.
     12   with -- in particular, for year 2016 with these        12   What I can tell you is that I can look at this
     13   cost centers, to see if essentially I've arrived       13   chart and say that in some cost pools those
     14   at the same place through an independent means         14   numbers look pretty similar, in other cost pools
     15   that these experts have arrived at, I would say        15   this chart may be a little lower than the
     16   our numbers are extremely similar in most of           16   estimates that I compiled.
     17   these categories.                                      17       Q. So you said that the work you did
     18        Q. So do the numbers on this chart                18   coming out of that November meeting was
     19   include the costs from the various cost centers        19   independent of this?
     20   that you said were excluded from the analysis          20       A. Completely independent of this.
     21   that was reviewed at the meeting in November?          21       Q. How do you know it's completely
     22            MR. PENDELL: Objection.                       22   independent?
     23        Q. I'll break that down.                          23       A. I have not -- I have not supplied
     24            You talked about a meeting in                 24   any of that information. I have seen -- I
     25   November?                                              25   believe -- and I'd have to go back and look, but

                                                                                                 46 (Pages 178 - 181)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 47 of 106. PageID #: 242334


                                                      Page 182                                                   Page 184
      1   I have seen versions of this prior to that              1   where you're comparing Summit County's outside
      2   analysis. I have seen versions of this and              2   lawyers' experts' numbers with your analysis,
      3   compared this to our original analysis. I can't         3   your analysis includes the additional categories
      4   sit here and say with any certainty, but my             4   of costs that were identified at that November
      5   understanding is this was done under a                  5   meeting, correct?
      6   completely -- other than us supplying, here's           6           MR. PENDELL: Objection to form.
      7   our financial information, their methodology for        7       A. I compared it to both my original
      8   going through and putting together these costs          8   version and I have a comparison to the latest
      9   was completely independent of the analysis we           9   version that was compiled after the November
     10   did.                                                   10   meeting, yes.
     11        Q. And when you keep saying "this,"               11       Q. Okay. So you've compared this
     12   you're referring to the chart that is Nelsen           12   Nelsen 30(b)(6) Exhibit 4 to the cost estimates
     13   30(b)(6) Exhibit 4?                                    13   that were prepared before the November meeting
     14        A. I am, yes.                                     14   and discussed at the November meeting; yes?
     15        Q. But the analysis that you say you              15       A. Yes.
     16   did that was "completely independent" is an            16       Q. And you've done a comparison, a
     17   analysis that you gave to Summit County's              17   side-by-side comparison?
     18   outside lawyers?                                       18       A. Yes.
     19        A. That's correct.                                19       Q. And is that reflected in writing,
     20        Q. But the analysis that you did, you             20   that side-by-side comparison?
     21   did compare that with Nelsen 30(b)(6) Exhibit 4?       21       A. No.
     22           MR. PENDELL: Objection to form.                22       Q. It's just you've eyeballed it?
     23        A. I did.                                         23       A. I sat down with both of them and
     24        Q. And you said they're roughly the               24   looked one to one, yes.
     25   same?                                                  25       Q. And then you did a separate
                                                      Page 183                                                   Page 185
      1            MR. PENDELL: Objection to form.                1   comparison of Nelsen Exhibit 4 with the separate
      2       A. Yeah. Some of the -- most of the                 2   report that was created after the November
      3   categories I would -- I would say this. Most of         3   meeting that included these additional
      4   the categories are within about a -- and I only         4   categories of costs that were identified at that
      5   really compared 2016, honing in on the fact             5   meeting?
      6   that, as I mentioned earlier with like SACWIS           6       A. Correct.
      7   data, it wasn't until 2016 that we truly had            7       Q. And you say that in that second
      8   good data. I didn't go back to 2006 either in           8   comparison, your numbers were roughly the same,
      9   the analysis I did. It focused on the periods           9   although your numbers were a little bit higher
     10   of 2013 through 2016. Most of these categories         10   for sheriff and sheriff jail?
     11   are within a hundred thousand dollars.                 11       A. Yes.
     12            There are -- one category that I had          12       Q. Other than that comparison, have you
     13   costs higher than what is on this are the              13   learned anything at all about how this Nelsen
     14   sheriff jail and sheriff's office in particular.       14   30(b)(6) Exhibit 4 was created?
     15   So there are some differences. But overall,            15       A. No.
     16   they're generally fairly close.                        16       Q. Or how the numbers were arrived at?
     17       Q. And what is your understanding of               17       A. All I know is I supplied numbers and
     18   why you have different and higher numbers for          18   identified cost pools to study and then did my
     19   sheriff and sheriff jail than is reflected in          19   own analysis on those same cost pools; and they,
     20   Nelsen 30(b)(6) Exhibit 4?                             20   through their methodology, came up with this,
     21            MR. PENDELL: Objection to form.               21   and under a separate methodology I came up with
     22       A. I don't know because I have had no              22   an analysis, and those numbers are pretty
     23   conversation with the folks who compiled Nelsen        23   similar.
     24   30(b)(6) Exhibit 4.                                    24       Q. Then turning your attention to
     25       Q. And the comparison that you said                25   Nelsen 30(b)(6) Exhibit 3, would you turn to

                                                                                                 47 (Pages 182 - 185)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 48 of 106. PageID #: 242335


                                                     Page 186                                                Page 188
      1   page 6? At the bottom of page 6 it says,               1   tell me anything about the 734 million dollar
      2   "Plaintiff also seeks the following past and           2   figure --
      3   ongoing lost tax revenue in the amount of              3           MR. PENDELL: Objection to form.
      4   approximately 734 million dollars."                    4        Q. -- correct?
      5           Do you see that?                               5        A. That is correct.
      6       A. I do.                                           6        Q. And then going back to the chart
      7       Q. And I asked you about how that                  7   that is Nelsen 30(b)(6) Exhibit 4 --
      8   number was arrived at in your deposition in            8        A. Yes.
      9   December and you said you didn't know?                 9        Q. -- are you able to connect any of
     10       A. That's correct.                                10   these damages figures to the conduct of any
     11       Q. Do you know anything more about how            11   particular defendant?
     12   this figure was arrived at today than you knew        12           MR. PENDELL: Objection to form.
     13   back in December?                                     13        A. Individually?
     14       A. I do not. Again, that was compiled             14        Q. Yes. Can you connect any of the
     15   by these economists and experts. As I indicated       15   damages figures to any particular defendant or
     16   back in December, I have looked at other              16   the conduct of any particular defendant?
     17   economic indicators from outside economists and       17           MR. PENDELL: Objection to form and
     18   experts that -- I think as I mentioned in             18   scope.
     19   December there's a study I looked at that             19        A. No. We have not gone to that level
     20   indicated there was a .8 percent drag on GDP in       20   of analysis.
     21   Ohio, and that if I wanted to sit down, I could       21        Q. When you say "we," you mean you and
     22   probably come up with a methodology, but that         22   the experts?
     23   was not an exercise I had undertaken on the           23        A. Well, I can't speak for the experts.
     24   overall economic impact to Summit County.             24   I have not.
     25       Q. So for this 734 million dollar                 25        Q. Okay. Well, we are looking at the
                                                     Page 187                                                Page 189
      1   figure, do you know how much is past tax          1        chart that you say was prepared by the experts.
      2   revenue?                                          2            A. That's correct.
      3        A. Other than the 734 million dollar         3            Q. Are you able to connect any of the
      4   figure, I've been provided no information beyond 4         figures in that chart to any particular
      5   that total dollar amount.                         5        defendant?
      6        Q. So how much of that is past lost tax      6                MR. PENDELL: Objection to form.
      7   revenue?                                          7            A. I cannot from looking at the chart.
      8           MR. PENDELL: Objection to form.           8            Q. Can you connect any of those figures
      9        A. Hasn't been provided to me.               9        in the chart to the particular conduct of any
     10        Q. How much of that is ongoing lost tax 10            particular defendant?
     11   revenue?                                         11                MR. PENDELL: Objection to form.
     12           MR. PENDELL: Objection to form.          12            A. I cannot, looking at the chart.
     13        A. Hasn't been provided to me.              13            Q. Then going back to the reports that
     14        Q. What types of lost tax revenue are       14        you have prepared and that you compared with
     15   included in this figure?                         15        this chart, for either of those can you connect
     16        A. Hasn't been provided to me.              16        any of the damages figures to any particular
     17        Q. And how was this 734 million dollar      17        defendant?
     18   figure calculated?                               18                MR. PENDELL: Objection to form.
     19           MR. PENDELL: Objection to form.          19            A. Repeat that question.
     20        A. Hasn't been provided to me.              20            Q. It's the same question I asked you
     21        Q. Are you saying it hasn't been            21        about this chart. Now I'm asking about the two
     22   provided to the county, to anyone in the county? 22        cost analyses that you said you prepared.
     23        A. I would assume if I haven't gotten       23            A. Oh, that I did. Yeah. No. No, we
     24   it, nobody else has either.                      24        did not.
     25        Q. Okay. Then going -- so you can't         25            Q. Can you connect any of the damages
                                                                                              48 (Pages 186 - 189)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 49 of 106. PageID #: 242336


                                                    Page 190                                                  Page 192
      1   figures in either of those analyses to any            1   think, yeah, we had costs back in 2006 related
      2   particular defendant?                                 2   to this.
      3            MR. PENDELL: Objection.                      3       Q. So you found out that the marketing
      4        A. We cannot, nor was it an objective            4   practices go all the way back to the '90s and
      5   of that analysis.                                     5   that that caused these opioid expenses?
      6        Q. And can you connect any particular            6       A. That's my understanding.
      7   damages figures in either of your analyses to         7       Q. Okay. And how did you find out that
      8   particular conduct of a particular defendant?         8   these marketing practices caused these opioid
      9            MR. PENDELL: Objection to form.              9   expenses?
     10        A. We cannot, nor was it an objective.          10       A. Through conversations -- through
     11            I would like to -- I would like to          11   news media reports, conversations with
     12   add one thing, and I know this -- I know this        12   attorneys, conversations with people over at the
     13   does not bear on an explanation of how the 734       13   ADM Board. In this 2017, 2016 time frame was
     14   million dollars was calculated, but I do want to     14   when -- and everything blew up, I became, at
     15   say that Summit County, based on our current tax     15   least on my end, aware of this issue.
     16   structure, collects about 200 million dollars a      16       Q. So this is -- this chart, although
     17   year in county property tax and sales tax, so        17   it was prepared by Summit County's lawyers'
     18   arriving at a figure that big over a multi-year      18   experts, this chart is Summit County's position.
     19   look-back, look-forward period, I don't find         19   You understand that?
     20   that number to be terribly shocking to me as I       20       A. I understand that.
     21   look at it, but again, I don't have any detail       21       Q. And so Summit County's position is
     22   as to how it was actually calculated.                22   that it spent 6.8 million dollars in 2006
     23        Q. So you testified earlier that the            23   because of the opioid problem?
     24   first time you became aware that Summit County       24       A. Yes.
     25   was spending money because of the opioid problem     25       Q. And another 7.2 million dollars in
                                                    Page 191                                                  Page 193
      1   was the end of 2013 or early 2014. Did I get          1   2007 because of the opioid problem?
      2   that right?                                           2      A. Yep.
      3        A. Yes.                                          3      Q. And another 8.3 million dollars in
      4        Q. Okay. So looking at the chart,                4   2008 because of the opioid problem?
      5   Nelsen Exhibit 30(b)(6), Exhibit 4, do you see        5      A. Yes.
      6   the line "Department-Related Costs Past"?             6      Q. And another 11.8 million dollars in
      7        A. Yes.                                          7   2009 because of the opioid problem?
      8        Q. So is it your testimony that Summit           8      A. Yes.
      9   County incurred 6.8 million dollars in costs in       9      Q. And another 12.3 million dollars in
     10   2006 because of the opioid problem?                  10   2010 because of the opioid problem?
     11            MR. PENDELL: Objection to form.             11      A. Yes.
     12        A. So my -- my analysis did not go back         12      Q. Another 12.3 million dollars in 2011
     13   to 2006, but there is -- I -- my analysis            13   because of the opioid problem?
     14   strictly focused on that period where everything     14      A. Yes.
     15   skyrocketed. When I go back and look at data,        15      Q. Another 13.7 million dollars in 2012
     16   like the Ohio Hospital Association provides, the     16   because of the opioid problem?
     17   Department of Health provides, and then, again,      17      A. Yes.
     18   based on news reports and everything else I've       18      Q. And another 17 million dollars in
     19   read, there's always been an underlying level of     19   2013 because of the opioid problem?
     20   opiate costs built into our issue. And so what       20      A. Yes.
     21   -- I guess when we later go on to find out that      21      Q. All unbeknownst to Summit County?
     22   the marketing practices that date all the way        22           MR. PENDELL: Objection to form.
     23   back to the '90s of the firms -- the Defendants      23      A. So when I go back, such as last
     24   in this case have contributed to this, I don't       24   night, and look at the statistics from the Ohio
     25   look at this chart and find it unreasonable to       25   Hospital Administration -- or Ohio Hospital
                                                                                              49 (Pages 190 - 193)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 50 of 106. PageID #: 242337


                                                     Page 194                                                   Page 196
      1   Association on overdose deaths in Summit County        1       A. Yes.
      2   and see that our -- or overdoses in Summit             2       Q. Another 13.7 in 2012 unbeknownst to
      3   County and see that number, there's a baseline         3   you and your office?
      4   number back in 2008 on that report, and I see it       4       A. Yes.
      5   slowly growing across the board and then               5       Q. 17 million in 2013 unbeknownst to
      6   skyrocketing as we get into that 2014, '15             6   you and your office?
      7   period, and I sit here and look at these numbers       7       A. So now we get to the period where we
      8   and then see them take off when we get into that       8   start looking around and saying, what is going
      9   same period, those numbers to me correlate with        9   on here, why are overdoses increasing, why are
     10   each other that there has always been an issue        10   these departments -- why is the jail filling up
     11   with overdoses and an issue with opiates, and         11   and departments are struggling. So it then
     12   that those numbers just took off when we got          12   begins to start like jumping off the page at us.
     13   into the 2014, roughly, time frame.                   13       Q. In 2013?
     14       Q. Well, Summit County has taken the              14       A. Begins to, but we still didn't have
     15   position that it spent 6.8 million dollars in         15   an answer. I didn't have an answer for it.
     16   2006 because of the opioid problem.                   16       Q. So what steps do you take in 2013
     17       A. Yes.                                           17   when these figures are skyrocketing and it's
     18       Q. Did Summit County know that it was             18   jumping off the page?
     19   spending 6.8 million dollars because of the           19            MR. PENDELL: Objection to form.
     20   opioid problem that year?                             20       A. 2013 was also the year our indigent
     21           MR. PENDELL: Objection to form.               21   defense costs started going up, so we started
     22       A. In 2006?                                       22   analyzing indigent defense costs. The ADM Board
     23       Q. Yes.                                           23   forms the -- at some point in this period forms
     24       A. I don't think so. I'm sure I did               24   the opiate task force. There were things that
     25   not know that.                                        25   were independently going on that -- that -- and
                                                     Page 195                                                   Page 197
      1       Q. And how about the 7.2 million                   1   it's kind of siloed at this point where we're
      2   dollars in 2007?                                       2   all looking at different things, saying, what's
      3           MR. PENDELL: Objection to form.                3   going on here.
      4       A. No.                                             4        Q. So what steps did you take in 2013
      5       Q. Didn't know about it?                           5   to understand why Summit County was spending
      6       A. Here's the thing. We spent money on             6   millions and millions and millions of dollars
      7   cocaine in 2006. It was built into the numbers.        7   because of the opioid problem going back to
      8   It wasn't -- until it started skyrocketing and         8   2006?
      9   kind of smacked us in the face in the last few         9            MR. PENDELL: Objection to form.
     10   years, no, we weren't aware of it. Part of            10        A. Going back to 2006, I don't know
     11   that, half -- 6.8 million in a half billion           11   that I realized in 2013 that this problem went
     12   dollar budget spread out amongst multiple             12   back to 2006.
     13   departments doesn't strike me as anything             13        Q. What investigation did the county do
     14   extreme.                                              14   in 2013 when it sees these numbers?
     15       Q. And another 8.3 million in 2008                15            MR. PENDELL: Objection to form.
     16   unbeknownst to --                                     16        A. We started looking at the increased
     17       A. Yes. Continues to slowly grow.                 17   costs that were occurring in 2013 to try to
     18       Q. And another 11.8 million in 2009               18   figure out what was going on with them.
     19   unbeknownst to you and your office?                   19        Q. So what did you and your office do
     20       A. Yes.                                           20   to try to figure out the increased costs and why
     21       Q. And another 12.3 million in 2010               21   they were being incurred?
     22   unbeknownst to you and your office?                   22        A. We started analyzing them, we
     23       A. Yes.                                           23   started having meetings with departments, and we
     24       Q. Another 12.3 in 2011 unbeknownst to            24   started talking about what the issue is.
     25   you and your office?                                  25        Q. And what steps did you take besides

                                                                                                50 (Pages 194 - 197)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 51 of 106. PageID #: 242338


                                                      Page 198                                                    Page 200
      1   talking about it to figure out that the county          1          MR. PENDELL: Objection to form and
      2   was incurring millions of dollars each year             2   scope.
      3   because of this opioid problem?                         3       A. You know, I don't know that I'm
      4            MR. PENDELL: Objection to form.                4   the -- the complete expert on this, but I go
      5        A. Well, I think when you look at                  5   back to the story I talked about on 60 Minutes
      6   particular, like ADM and public health, they            6   relating to Kermit, West Virginia, and the 11
      7   were already taking steps on -- and public              7   million pills being dispensed for a town of 400
      8   safety throughout Summit County were already            8   people. I think we all became more aware of the
      9   taking steps with this opiate task force and            9   types of marketing and lack of -- marketing
     10   some of these things. At my level, we were just        10   processes and lack of monitoring how and where
     11   more in the analyzing data. And for me it was          11   these pills were being dispensed along the
     12   really the indigent defense costs that first           12   course of that time. And I'm not going to say
     13   cropped up. We were already dealing with the           13   that other people didn't -- weren't aware of
     14   jail issue at that time and we were coming off         14   that before I was. I'm the finance guy. I
     15   the recession and state budget cuts, so our            15   mean, they come to me when it comes to dollars
     16   ability to react to this was somewhat limited.         16   and cents. I'm not necessarily on the forefront
     17            The other fortunate thing we had              17   of all of those issues.
     18   going on was Medicaid expansion at the time,           18       Q. You are the finance guy, and so when
     19   which was allowing ADM to live within their            19   Summit County -- as you say, it realizes in 2013
     20   budgetary means and -- within their revenue            20   that these costs are skyrocketing because of the
     21   streams to begin dealing with this. It really          21   opioid problem and has been spending 75 million
     22   was not -- and I think the other thing at the          22   dollars over the last seven years because of the
     23   time was, well, is this going to go away, is           23   opioid problem, what did you do to figure out
     24   this just a blip in the radar. I mean, there           24   why and to identify the causes and figure out
     25   was just a lot of trying to understand what was        25   who's responsible?
                                                      Page 199                                                    Page 201
      1   going on and whether there were truly long-term         1          MR. PENDELL: Objection to form and
      2   impacts with this at the time.                          2   scope.
      3       Q. At what point did Summit County                  3       A. So in 2013 I can tell you that I did
      4   conclude that it was the fault of the Defendants        4   not know we spent 75 million dollars dating back
      5   in this case that Summit County was spending all        5   to 2006 on this issue. This analysis that goes
      6   this money because of the opioid problem?               6   back to 2006 that analyzes how much of our costs
      7            MR. PENDELL: Objection to form and             7   in 2006 were on this issue I just saw this past
      8   scope.                                                  8   year. What I can tell you is when I start
      9       A. I don't know that I can answer that              9   seeing costs take off, which they were, we began
     10   because I think the reality is there were              10   asking questions.
     11   probably -- depending on who you ask and what          11       Q. In 2013?
     12   part of the county, there would probably be            12       A. In 2013. I didn't have answers in
     13   different answers.                                     13   2013. This continued into 2014 and 2015. It
     14       Q. But the conclusion was made in 2016             14   was really 2015 where everything kind of blew up
     15   or 2017 to go after the Defendants in this case        15   with the overdoses, having to call the state to
     16   for all these expenses?                                16   send up a mobile hospital because we couldn't
     17            MR. PENDELL: Objection to form and            17   handle the number of people showing up at the
     18   scope.                                                 18   morgue. You start seeing the news reports of
     19       A. I was not brought into the fold of              19   parents. I remember seeing the picture on the
     20   that conversation until 2017. I can't speak for        20   Beacon Journal of parents both passed out in a
     21   what anybody else thought or any other                 21   vehicle with a needle in their arms while their
     22   conversations they had.                                22   kids were found at -- their little children were
     23       Q. So what did the county learn in 2017            23   found at home unattended. That's when we became
     24   to -- as the basis to file this lawsuit against        24   aware of all this.
     25   the Defendants to recover all these costs?             25       Q. Starting in 2013, when you say this

                                                                                                 51 (Pages 198 - 201)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 52 of 106. PageID #: 242339


                                                  Page 202                                              Page 204
      1   came to your attention and you didn't have       1   look at the growth in drug possession cases
      2   answers, what did you or Summit County do        2   versus the growth in total caseloads, and then
      3   between 2013 and 2017 to get answers?            3   apply that as a statistical measurement in the
      4            MR. PENDELL: Objection to form and 4        years 2013 to 2016 to carve out costs
      5   scope.                                           5   attributable to drug possession cases, and then
      6        A. I think I just outlined that. We         6   used the growth factor in that cost as the cost
      7   just started talking to -- just because we       7   to apply it to the analysis we did on cost being
      8   waited until 2017 to file the suit doesn't mean  8   spent on the opioid issue.
      9   we were not actively trying to -- the opiate     9        Q. Would you turn your attention to
     10   task force, the DAWN clinics, all of the things 10   Nelsen 30(b)(6) Exhibit 4, the chart?
     11   that were going on to try to mitigate this. We  11        A. Yeah.
     12   were kind of busy on the front lines of trying  12        Q. There's a line on the chart for
     13   to deal with this.                              13   "Department-Related Costs Ongoing."
     14        Q. And so what is it in 2017 that          14           Do you see that?
     15   caused Summit County to say now we will         15        A. Yes.
     16   attribute fault to the Defendants in this case? 16        Q. And that projects out costs from
     17            MR. PENDELL: Objection to form and 17       2018 to 2027?
     18   scope.                                          18        A. Yes.
     19        A. I can't answer on why we finally        19        Q. How were the numbers arrived at for
     20   reached the point of enough is enough, we need 20    each of those years on this chart?
     21   to do something to mitigate this problem.       21           MR. PENDELL: Objection to form.
     22            MR. KEYES: Okay. Why don't we take 22            A. Yeah. So those costs on that line
     23   a ten-minute break.                             23   were put together by the economists and the
     24            THE VIDEOGRAPHER: Off the record, 24        experts who calculated damages. I do not have
     25   1:48.                                           25   the basis for that, though I -- though I believe
                                                  Page 203                                              Page 205
      1                (Recess had.)                       1 it is -- and the other thing I would say, when I
      2            THE VIDEOGRAPHER: On the record, 2 look at those costs and I compare that to the
      3   2:16.                                            3 projections provided by the Ohio Hospital
      4   BY MR. KEYES:                                    4 Association report, their projections on
      5       Q. Mr. Nelsen, earlier you testified         5 increases in overdose caseloads; that, based on
      6   that the number of cases prosecuted increased    6 that comparison, those numbers to me don't look
      7   between 2013 and 2016?                           7 unrealistic, but I don't have the statistical
      8       A. Correct.                                  8 method with which they calculated that. That
      9       Q. What is that based on?                    9 was not supplied to me.
     10       A. Statistics filed -- or provided to       10      Q. So do you know how any of those
     11   me by the prosecutor's office on the number of, 11 numbers were arrived at?
     12   I believe, cases filed.                         12      A. I do not.
     13       Q. And who in the prosecutor's office       13      Q. And do you know what specific costs
     14   gave that to you?                               14 were included in each of those numbers?
     15       A. I believe it was either Brad Gessner     15      A. My belief from looking at this is
     16   or John Galonski.                               16 it's a forward-looking projection at all of the
     17       Q. And where did either of them pull        17 costs identified above as they would continue as
     18   the data from?                                  18 the number of overdoses continue to grow in the
     19            MR. PENDELL: Objection to form.        19 county, and convictions and everything else that
     20       A. I did not ask.                           20 has spiked.
     21       Q. And what did you do with the             21      Q. In the analyses that you say you've
     22   statistics that they provided?                  22 prepared --
     23       A. We used that as a basis -- one of        23      A. Yes.
     24   the bases to look at public safety-related      24      Q. -- separate from what the experts
     25   departments, like the prosecutor's office, to   25 have prepared --
                                                                                         52 (Pages 202 - 205)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 53 of 106. PageID #: 242340


                                                     Page 206                                                  Page 208
      1       A. Yes.                                            1       A. Yes.
      2       Q. -- have you undertaken any                      2       Q. So by how much has the total head
      3   projections of costs to be incurred by Summit          3   count for the Summit County government decreased
      4   County in the future because of the opioid             4   from 2009 through 2018?
      5   problem?                                               5       A. I can tell you from 2008 to 2018 it
      6       A. My analysis was strictly the 2013 to            6   has decreased, roughly, 900 employees
      7   2016 time frame.                                       7   countywide.
      8       Q. How does the total head count for               8       Q. In the two cost analyses that you
      9   the Summit County government in 2018 compare to        9   said you did, did you break out any of the cost
     10   2015; higher or lower?                                10   categories according to the source of revenue
     11       A. Total, it would be lower.                      11   that covered the cost?
     12       Q. Lower in 2018?                                 12       A. I did -- well, all of the -- kind of
     13       A. Yes.                                           13   yes. I mean, I know what the source revenue is
     14       Q. And how does the total head count              14   for all of these. I strictly looked at the cost
     15   for the Summit County government in 2015 compare      15   side, but I know what the revenue source is for
     16   with 2012?                                            16   all of these.
     17       A. 2012 would have been higher                    17       Q. Well, you know it, but does the
     18   countywide.                                           18   analysis that you put together --
     19       Q. And how does the head count between            19       A. Indicate which one?
     20   2012 and 2009 compare?                                20       Q. -- indicate what the source of
     21       A. 2009 would have been higher. If you            21   revenue is for each cost category?
     22   recall, in my first deposition I explained that       22       A. The analysis itself does not, no.
     23   in 2009, when the Great Recession hit Summit          23       Q. So it's purely focused on the cost
     24   County, along with all of the local governments,      24   side?
     25   the revenues available to Summit County, which        25       A. Yes.
                                                     Page 207                                                  Page 209
      1   were primarily sales tax, property conveyance          1       Q. It does not look at or take into
      2   taxes, property taxes, even the levy revenues          2   consideration the source of revenue for the
      3   for like CSB, ADM, DD, all of these agencies --        3   costs?
      4   everything began to drop considerably and the          4       A. That's correct.
      5   county began reducing workforce to live within         5       Q. In the cost analyses that you put
      6   those constrained means. Then you fast forward         6   together, those are your effort to quantify the
      7   to 2012. We have a governor in office in Ohio          7   costs incurred by different parts of the Summit
      8   who starts balancing the state budget by cutting       8   County government because of the opioid problem,
      9   funding to local governments, and that has             9   correct?
     10   continued all the way through 2017, 2018, and so      10           MR. PENDELL: Objection to form.
     11   we have -- while we've increased like the levy        11       A. Correct.
     12   for CSB, had increased the levy for ADM in 2007,      12       Q. Does your analysis separate out
     13   part of the overall global picture in Summit          13   costs incurred because of people's use, abuse or
     14   County is that we're having to address this by        14   addiction to prescription opioids versus illicit
     15   reallocating resources and deferring capital and      15   opioids?
     16   other needs of the county to address this issue.      16           MR. PENDELL: Objection to form.
     17       Q. So if I understand you correctly,              17       A. My analysis does not make that
     18   the total head count for the Summit County            18   distinction.
     19   government is lower in 2018 than it was in 2015?      19       Q. Does your analysis separate out
     20       A. That's correct.                                20   costs incurred because of people's overdoses to
     21       Q. And it was lower in 2015 than it was           21   prescription opioids versus illicit opioids?
     22   in 2012?                                              22           MR. PENDELL: Objection to form.
     23       A. Yes.                                           23       A. My analysis does not make that
     24       Q. And it was lower in 2012 than it was           24   distinction.
     25   in 2009?                                              25       Q. Does your analysis separate out

                                                                                               53 (Pages 206 - 209)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 54 of 106. PageID #: 242341


                                                      Page 210                                                    Page 212
      1   costs incurred because of overdoses resulting           1   that Summit County has received grants
      2   from the use of prescription opioids rather than        2   throughout the years that are specifically for
      3   illicit opioids?                                        3   the opiate crisis; is that right?
      4        A. My analysis does not make that                  4       A. Some dollars, yes.
      5   distinction.                                            5       Q. The analysis that you did leading up
      6        Q. Does your analysis separate out                 6   to that November meeting and then coming out of
      7   treatment costs for people who have an opioid           7   that November meeting, did it make any effort to
      8   use disorder arising from their use of                  8   tease out which costs were paid from those grant
      9   prescription opioids versus their use of illicit        9   funds?
     10   opioids?                                               10       A. Yes.
     11            MR. PENDELL: Objection to form.               11           MR. ARNOLD: Objection to form.
     12        A. My analysis does not make that                 12       A. Yes. We -- we focused on county
     13   distinction.                                           13   general fund dollars, and with the levy
     14        Q. Does your analysis separate out the            14   agencies, and I'll use ADM as the example,
     15   costs incurred by Summit County because people         15   because we focused on just ADM levy dollars, not
     16   are in the criminal justice system because of          16   any matching federal or state dollars and not
     17   their use of prescription opioids versus their         17   any of the cases that they managed that were
     18   use of illicit opioids?                                18   billed back to Medicaid and not billed to the
     19        A. My analysis does not make that                 19   county. So the analysis we did was just local
     20   distinction.                                           20   county dollars.
     21        Q. And does your analysis separate out            21       Q. Okay.
     22   personnel costs incurred by Summit County              22       A. And we didn't use like drug -- I
     23   because they are dealing with people who use           23   know we have a drug court grant that we get. We
     24   prescription opioids versus use illicit opioids?       24   didn't use those dollars in that analysis, nor
     25        A. My analysis does --                            25   for -- we talked earlier about the eight
                                                      Page 211                                                    Page 213
      1           MR. PENDELL: Object to form.                    1   additional adult probation officers. We did not
      2       A. -- not make that distinction.                    2   include the funding -- that TCAP funding from
      3       Q. And, to your knowledge, does the                 3   the state that paid for those eight probation
      4   chart that is Nelsen 30(b)(6) Exhibit Number 4          4   officers as part of this analysis either.
      5   draw any of those distinctions?                         5       Q. So when we look at your final
      6           MR. PENDELL: Objection to form.                 6   analysis coming out of that November meeting, it
      7       A. I don't have enough information                  7   would not include any of those grant dollars
      8   about how this was compiled to tell you.                8   that you received from federal or state funds?
      9       Q. You can't say one way or the other?              9       A. That's correct. Our initial
     10       A. That's correct.                                 10   analysis last -- in '17 and then this latest
     11           MR. KEYES: I will pass the witness.            11   analysis that we've done does not include those
     12          EXAMINATION OF BRIAN NELSEN                     12   dollars. It's also one of the reasons, like,
     13   BY MS. RANJAN:                                         13   you don't see Job and Family Services and all of
     14       Q. Mr. Nelsen, my name is Brandy                   14   the client services they provide to people who
     15   Ranjan. I represent Walmart here today. I have         15   might be affected. None of that has been
     16   a few additional questions for you. It should          16   included in this as well.
     17   be brief. I'm going to jump around a little bit        17       Q. And when you say "this," I see you
     18   just because a lot of the things have been hit         18   motioning to the document in front of you.
     19   already so I apologize if it seems a little            19       A. This document -- well, I don't
     20   disjointed. Just let me know if you're not --          20   know -- JFS is not listed on this document.
     21   you know, if you're not understanding my               21   They're certainly not included in the analysis I
     22   question.                                              22   did, and the analysis I did that I've compared
     23       A. Sure.                                           23   to this document leads me to believe that they
     24       Q. So you spoke briefly about the                  24   have not as well, but again, I haven't been
     25   sources of funding for Summit County. It's true        25   given the level of detail that makes this up to

                                                                                                 54 (Pages 210 - 213)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 55 of 106. PageID #: 242342


                                                      Page 214                                                   Page 216
      1   say for certain.                                        1   complaint document?
      2        Q. Changing gears, we talked earlier               2       Q. No. So this is Summit County's
      3   about the lab fund for the medical examiner's           3   interrogatory responses to some interrogatories
      4   office. Are you aware of what proportion of the         4   that were posed by the retail pharmacy
      5   dollars in spend from that lab fund are used to         5   Defendants.
      6   pay for sending toxicology samples to reference         6       A. Okay.
      7   laboratories?                                           7       Q. With that explanation, do you know
      8        A. Not -- that lab fund has about three            8   if you've seen this document prior to today?
      9   to four -- probably about $400,000 a year in            9       A. I do not believe I've seen this
     10   spending. I don't have the breakdown on how            10   entire document, no. Yeah. No, I haven't.
     11   much of that would be specifically for those           11       Q. Okay. Do you know if you provided
     12   toxicology tests.                                      12   any information that was used to compile this
     13        Q. So help me understand. This                    13   document?
     14   analysis that you put together, that you then          14       A. Well --
     15   discussed at the November meeting, was the goal        15       Q. And I'll tell you I'm specifically
     16   of that analysis to estimate all of the costs of       16   going to be asking you today about interrogatory
     17   the opioid crisis to Summit County?                    17   number 20, which starts on page 87.
     18            MR. PENDELL: Objection to form.               18       A. 87?
     19        A. It was to, as -- it was essentially            19       Q. Yes.
     20   -- and I can't say all. What I can say is we           20       A. Okay.
     21   knew there were certain things that we could dig       21       Q. So you'll see interrogatory number
     22   a little deeper to try to identify costs, and it       22   20 asks, "Provide a computation of each category
     23   was to make sure that we had truly looked into         23   of damages, monetary sums, and injunctive relief
     24   identifying cases and digging to the point where       24   that you seek from each National Retail Pharmacy
     25   we felt comfortable that the costs we identified       25   Defendant."
                                                      Page 215                                                   Page 217
      1   were truly costs associated with this and that          1           Do you see that?
      2   we could back up. So it was to, as reasonably           2        A. I see that, yes.
      3   as we could, pinpoint costs associated to the           3        Q. If you look on the next page,
      4   opioid epidemic.                                        4   there's a bullet point list of categories of
      5           I can tell you for certain I don't              5   damages.
      6   know that we could ever identify every cost             6        A. Um-hum.
      7   associated with it. Like at the county jail,            7           MR. PENDELL: Yes?
      8   you dig -- you'd have to dig down into every            8           THE WITNESS: Yes.
      9   court record, and even then, you still may not          9        Q. Do you know if you provided any
     10   have enough information, like my example earlier       10   information that was used to draft this
     11   about domestic violence.                               11   interrogatory?
     12              - - - - -                                   12           MR. PENDELL: Objection to form.
     13           (Thereupon, Nelsen 30(b)(6)                    13        A. So I would assume by that you mean
     14           Deposition Exhibit 5, Summit County            14   this response (indicating)?
     15           and City of Akron, Ohio Plaintiffs'            15        Q. No. I mean what's listed on page 88
     16           First Amended Responses and                    16   through 89, that bullet point list. Did you
     17           Objections to the National Retail              17   have any role in helping to draft that bullet
     18           Pharmacy Defendants' First Set of              18   point list?
     19           Interrogatories, was marked for                19        A. I guess the answer to that is not
     20           purposes of identification.)                   20   directly, but maybe indirectly.
     21              - - - - -                                   21        Q. You're not sure if the information
     22       Q. I'm handing you what's been marked              22   you provided was used here or not?
     23   as Nelsen 30(b)(6) Exhibit 5. Do you recognize         23        A. Well, I think -- I think the reality
     24   this document?                                         24   is the cost analysis that we did, identifying
     25       A. It looks like -- is this the                    25   departments and areas of service that were
                                                                                                 55 (Pages 214 - 217)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 56 of 106. PageID #: 242343


                                                    Page 218                                                   Page 220
      1   affected, was probably used to compile this       1       costs are included in Nelsen Deposition Exhibit
      2   list, but I did not type out this list or have    2       4, 30(b)(6) Exhibit 4, or you don't, so is the
      3   any comment on this list.                         3       answer you don't know?
      4        Q. Okay. Let's just use a couple of          4               MR. PENDELL: Objection to form.
      5   examples from this list and maybe we can          5            A. Yeah. I would have to say I don't
      6   streamline the questioning a little bit.          6       know.
      7            If you look at the second bullet         7            Q. Okay. And you just described some
      8   there, "Costs for providing healthcare and        8       costs that you think may or may not fall into
      9   medical care for patients suffering from          9       this category. Based on your understanding of
     10   opioid-related addiction or disease, including   10       the second bullet point, would those costs have
     11   overdoses and deaths," is that something that    11       been included in the estimation of costs that
     12   you analyzed in connection with your analysis of 12       you put together leading up to that November
     13   Summit County's costs in connection with the 13           meeting and then further analysis coming out of
     14   opioid crisis?                                   14       that November meeting?
     15        A. When we went -- so off the top of my 15                   MR. ARNOLD: Objection to form.
     16   head, there would be -- and I guess the          16            A. The jail medical cost certainly
     17   definition of medical care -- so we looked at    17       would have been. The employee healthcare costs
     18   our own internal employee healthcare pool and 18          would not have been. And as we talked, I think
     19   went back and reviewed the number of opiate      19       ad nauseam, certainly all of ADM's costs would
     20   prescriptions in the history of that. My belief  20       have been included in that as well.
     21   is we chose not to claim that as part of these   21            Q. And do you know, sitting here today,
     22   damages. We do have healthcare and medical 22             what the dollar figure is that you would assign
     23   costs that we pay for at the county jail, which  23       to those categories? The jail healthcare costs
     24   would be inclusive of the numbers on Exhibit 4, 24        I think was one of them.
     25   as part of the jail expense, though the analysis 25            A. Let me think here. Off the top of
                                                    Page 219                                                   Page 221
      1   we used to drill down into this, we did not go        1   my head, probably for the jail -- I'm just going
      2   pull medical records for those inmates to drill       2   to give you a top of my head ballpark, roughly
      3   down into that.                                       3   $180,000 annually.
      4           Now, I guess the other thing, I               4       Q. And similar to the other costs that
      5   don't know that -- if the -- the alternative,         5   we talked about today, that figure does not
      6   like programming that ADM and Oriana and those        6   tease out which costs are related to illicit
      7   agencies provided, would fall under this bullet       7   drugs versus which costs are related to
      8   point, but obviously we've spent more time on         8   prescription opioids?
      9   that than on the healthcare piece of it.              9       A. That is correct.
     10        Q. Sure.                                        10       Q. Okay.
     11           Sitting here today, can you tell me          11       A. Now -- and I would also make the
     12   if the costs that you would include in this          12   point that remember earlier when we discussed,
     13   second bullet point, the healthcare and medical      13   on the jail in particular, my cost analysis was
     14   care for patients suffering from opioid-related      14   higher on the jail than this one, so -- not only
     15   addiction or disease, including overdoses and        15   in terms of not being able to say what they
     16   deaths -- are the costs that Summit County is        16   included and didn't include, that $180,000
     17   claiming for that, are they included in the          17   figure, based on my numbers, could be higher
     18   numbers that are Nelsen 30(b)(6) Exhibit 4?          18   than what is in here, if it is in here, just
     19        A. So, again, to make the distinction,          19   based on the pro rata comparison.
     20   I don't know what -- what they included in           20       Q. Moving on to the next bullet point,
     21   Exhibit 4.                                           21   "Costs of training emergency and/or first
     22        Q. And I think that answers my                  22   responders in the proper treatment of drug
     23   question.                                            23   overdoses," is that something you looked at in
     24        A. Okay.                                        24   connection with your November analysis and then
     25        Q. I mean, you either know if those             25   going forward?

                                                                                               56 (Pages 218 - 221)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 57 of 106. PageID #: 242344


                                                    Page 222                                                 Page 224
      1        A. Not in -- not specifically. So at         1       and/or first responders to opioid overdoses,"
      2   the county -- this is one of those cost items     2       do you have an estimate for the cost to Summit
      3   that's probably more relevant to the -- like the  3       County in that category?
      4   City of Akron. We don't have fire and EMS         4           A. Our costs, or at least in my
      5   services at the county. EMS would be one of the 5         analysis that I provided, did not include any
      6   big ones on that. Even our sheriff's office is    6       costs for emergency responses to opioid
      7   limited in terms of the number of communities     7       overdoses.
      8   they provide road patrol in where they might be 8             Q. And sitting here today, do you have
      9   a first responder responding to that. I think     9       a figure for how much those services, as it
     10   in total we have about 70 sheriff deputies out   10       relates to the opioid crisis, have cost Summit
     11   of the pool of 300 and some, roughly, sheriff    11       County?
     12   deputies, so -- and in those rotary communities 12                 MR. PENDELL: Objection to form.
     13   that pay us for those services, I did not, in my 13           A. Again, as I mentioned, we only -- we
     14   analysis, include any of the -- any of those     14       don't have fire and EMS services at the county.
     15   deputies' costs, training costs, or the revenues 15       We --
     16   that support that back to those communities in 16             Q. So this would be more of a city
     17   this analysis.                                   17       cost?
     18        Q. Okay.                                    18           A. It really is a city cost, yeah.
     19        A. So I would say that that -- to the       19           Q. Okay.
     20   extent any of that's included, it's got to be    20           A. We do have those community patrols,
     21   fairly nominal.                                  21       but those communities pay us for those, and I
     22        Q. So the cost to Summit County in this     22       did not include those in this -- in my analysis
     23   category would be nominal?                       23       anyway.
     24        A. Yes.                                     24           Q. Taking a look at the list overall,
     25            MS. RANJAN: Can we go off the           25       are there any other categories in here that you
                                                    Page 223                                                 Page 225
      1   record for just a second?                             1   would say are more city costs and not county
      2           THE VIDEOGRAPHER: Off the record at           2   costs?
      3   2:41.                                                 3       A. I'm not aware of any costs that we
      4               (Recess had.)                             4   would incur on cleanup of public park spaces
      5           THE VIDEOGRAPHER: On the record,              5   and -- well, I guess I should take that back. I
      6   2:42.                                                 6   don't know if the -- we did not include costs
      7   BY MS. RANJAN:                                        7   like for the sanitary sewer department of the
      8       Q. Mr. Nelsen, moving on to the next              8   county. They could have cleanup costs, but
      9   category, "Costs associated with providing            9   those were not identified.
     10   police officers, firefighters and emergency          10       Q. Okay.
     11   and/or first responders with naloxone," do you       11       A. We don't -- we the -- there is a
     12   have an estimate for how much Summit County          12   Summit County MetroParks that's a separate
     13   estimates its costs have been related to that        13   political subdivision that's not part of this,
     14   category?                                            14   so we don't have costs with that.
     15       A. Yes. The only naloxone costs that I           15       Q. Turning your attention to the third
     16   found in the research we did on this was through     16   from the bottom bullet point, "Losses caused by
     17   the ADM Board, and those costs were fairly           17   decreased business investment and tax revenue,"
     18   nominal, too. I think that number was under --       18   do I understand your testimony from earlier
     19   I'm going to say it was under $40,000.               19   today to be that you, sitting here today, cannot
     20       Q. And those would be included in the            20   assign a dollar figure to that?
     21   ADM figures that you've already given us today?      21       A. We have not assigned a dollar figure
     22       A. Yes.                                          22   to that. I think the report provided by the
     23       Q. Moving on to the next category,               23   damages experts and economists assign a figure
     24   "Costs associated with emergency responses by        24   to that, but I have not done an internal study
     25   police officers, firefighters and emergency          25   on my own of that.
                                                                                             57 (Pages 222 - 225)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 58 of 106. PageID #: 242345


                                                   Page 226                                                    Page 228
      1       Q. And speaking on behalf of Summit              1   staffing of that would be included in the common
      2   County sitting here today, you do not know how       2   pleas court costs that were included in my
      3   that figure was arrived at; is that correct?         3   analysis that -- that, again, I didn't -- you
      4       A. Their figure?                                 4   know, I didn't participate in these
      5       Q. Yes.                                          5   calculations, but mine were very similar, at
      6       A. No. I have not been provided that             6   least in 2016, to the court of common pleas
      7   level of detail.                                     7   costs on this Exhibit 4.
      8       Q. Let's go to the next bullet point,            8       Q. Okay. Taking a look at -- and I
      9   "Plaintiff's contributions to the Alcohol, Drug      9   want to make sure you're looking at the bullets
     10   Addiction and Mental Health Services Board."        10   that are on page 89 as well as the ones that are
     11            We talked about those costs to             11   on page 88.
     12   Summit County already, right?                       12       A. Um-hum.
     13       A. Yes.                                         13       Q. Is there any category of costs
     14       Q. And the next one, "Increased public          14   that's listed here that you would say is a
     15   safety services, including but not limited to,      15   significant driver of costs related to opioids
     16   training, investigation, staffing," et cetera,      16   that we have not already discussed today?
     17   we talked about those costs already today as        17            MR. PENDELL: Objection to form.
     18   well?                                               18       A. I got to tell you, I think in some
     19       A. Yes.                                         19   way, shape or form we have touched just about --
     20       Q. Going to the fourth from the bottom          20   we didn't talk about fleet vehicles, but I did
     21   bullet, "Loss of tax revenue due to decreased       21   not -- we had some debate about this, but I did
     22   efficiency and size of the working population,"     22   not feel that we should assign a cost, on the
     23   et cetera, again, do I understand your testimony    23   county's side anyway, to vehicle fleet
     24   to be that you do not have a dollar figure to       24   replacement.
     25   assign to that category today?                      25            As I've mentioned earlier, one of
                                                   Page 227                                                    Page 229
      1       A. My belief would be that would be              1   the things that, in order to address this, we've
      2   part of that 743 million dollars the experts --      2   had to do is put off replacing fleet vehicles,
      3   and, again, I didn't -- I haven't seen how they      3   and I suppose there is some future costs that we
      4   calculated that and I have not done my own           4   could estimate in terms of catching up with
      5   separate calculation of that.                        5   that.
      6       Q. Costs associated with the increased           6            But no. I got to tell you. I think
      7   burden on Plaintiff's drug courts, have we           7   throughout the two depositions I've done, we've
      8   talked about that already today?                     8   pretty much gone through really every major cost
      9       A. We do have drug -- a drug court, and          9   center of the county at least.
     10   we have grant funding for that, so that drug        10        Q. Turning your attention to the list
     11   court costs were not included in this -- in my      11   on pages 94 through 95 -- and I believe this is
     12   analysis.                                           12   a list of treatment and recovery services that
     13       Q. Because the increased burden on the          13   Summit County offers.
     14   drug courts, that is -- those are -- let me         14        A. Okay.
     15   rephrase that question. The costs that are          15        Q. Are these the ones that are funded
     16   associated with the drug courts, that's funded      16   through the ADM Board?
     17   by grant money?                                     17        A. These certainly look like the list
     18       A. Yes. Now, let me think through               18   of service providers ADM funds. Now, like --
     19   this. So the drug court itself, the services        19   now -- but let me make the distinction. Like
     20   that are provided by the drug court are provided    20   Summa Akron City Hospital, I don't know that --
     21   by Oriana House, so all of the treatment            21   I'm not sure if ADM provides funding to them or
     22   services and any -- typically those don't           22   this is -- you know, Summa itself provides that
     23   involve incarceration, but monitoring,              23   funding. But, yeah, this is -- this is
     24   treatment, probation, Oriana provides that. The     24   representative of the service providers that ADM
     25   grant pays for that. The court's time and           25   uses.

                                                                                              58 (Pages 226 - 229)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 59 of 106. PageID #: 242346


                                                     Page 230                                                   Page 232
      1       Q. And so the funds that were provided       1         calculations we've been discussing throughout
      2   to fund these treatment and recovery services    2         the course of the day for that specific entity,
      3   would be included in the costs that you've       3         is it also accurate that you did not include
      4   already estimated related to the ADM Board?      4         grants in coming up with the ADM dollars
      5       A. That's correct.                           5         allegedly attributable to the opioid crisis?
      6            MS. RANJAN: Let's go off the            6              A. That's correct. We just used their
      7   record.                                          7         local levy dollars and identified just that
      8            THE VIDEOGRAPHER: Off the record, 8               portion. So if we paid a bill and two thirds of
      9   2:51.                                            9         it was levy and one third was federal or state
     10               (Recess had.)                       10         money, it was just that two-thirds portion that
     11            THE VIDEOGRAPHER: On the record, 11               we included.
     12   2:59.                                           12              Q. Okay. Now, when you were looking at
     13            MR. BERGMAN: Before we get started, 13            that ADM opioid-related service and dividing up
     14   can I just announce my appearance really quick 14          between, you know, what portion was grant versus
     15   for the record? I forgot to mention it earlier. 15         general revenue fund, did you also make that
     16   Andrew Bergman on behalf of Endo and Par.       16         division for any employee cost and benefit cost
     17            MR. KEYES: You're now official.        17         associated with providing that service?
     18            MR. BERGMAN: Great.                    18              A. Yes, because there -- we did a
     19           EXAMINATION OF BRIAN NELSEN 19                     time -- ADM in particular provided a time
     20   BY MR. NAEEM:                                   20         breakdown and funding breakdown for their
     21       Q. Mr. Nelson, I really just wanted to      21         employees.
     22   follow up on one of your answers to make sure I 22              Q. Now -- and I just have to tie this
     23   understood it. What I wrote down was -- and     23         off then with respect to what I believe was the
     24   this is towards the end of your testimony, so   24         30(b)(6) Depo Exhibit 4, which is the expert one
     25   just a few minutes before we broke. I thought 25           page that we've discussed. Do you have any
                                                     Page 231                                                   Page 233
      1   that what I heard you say was that when you were       1   knowledge one way or the other as to whether on,
      2   doing your analysis, you did not include grants        2   for example, that ADM line item that Summit's
      3   in making that calculation, and my question is,        3   experts used the same method that you did to
      4   simply, why didn't you include grants?                 4   exclude grants and to assign for employee costs
      5            MR. PENDELL: Objection to form.               5   the difference between grant dollars and general
      6        A. We only -- we made the decision not            6   revenue dollars?
      7   to include federal and state-funded dollars in         7       A. I do not.
      8   our assessment, really just the money that local       8            MR. NAEEM: I don't have anything
      9   Summit County taxpayers were paying to Summit          9   further.
     10   County government for those services.                 10            MR. PENDELL: Anyone on the phone
     11        Q. And when you say "we," who is the             11   have a question in the five minutes we have
     12   "we"?                                                 12   left? I'll take that as a no.
     13        A. "We" being the administration within          13            We don't have any questions. We
     14   the executive's office.                               14   thank you for your time and we will reserve the
     15        Q. Okay. Earlier when you were talking           15   right to read and sign.
     16   about Summit Public Health, you mentioned that        16            THE VIDEOGRAPHER: Off the record,
     17   it's not technically a part of the Summit County      17   3:02.
     18   government?                                           18
     19        A. That's correct.                               19       (Deposition concluded at 3:02 p.m.)
     20        Q. Is that also accurate for the ADM             20              -----
     21   Board?                                                21
     22        A. No, that is not. ADM Board is                 22
     23   actually -- it is actually an agency within           23
     24   Summit County government.                             24
     25        Q. Okay. And when you did the                    25

                                                                                                59 (Pages 230 - 233)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 60 of 106. PageID #: 242347


                                                       Page 234                                                                        Page 236
      1   Whereupon, counsel was requested to give                 1           I do further certify that I am not a
      2   instruction regarding the witness' review of             2    relative, counsel or attorney for either party,
      3   the transcript pursuant to the Civil Rules.              3    or otherwise interested in the event of this
      4                                                            4    action.
      5               SIGNATURE:                                   5           IN WITNESS WHEREOF, I have hereunto set
      6   Transcript review was requested pursuant to              6    my hand and affixed my seal of office at
      7   the applicable Rules of Civil Procedure.                 7    Cleveland, Ohio, on this 29th day of January, 2019.
      8                                                            8
      9           TRANSCRIPT DELIVERY:                             9
     10   Counsel was requested to give instruction               10
     11   regarding delivery date of transcript.                  11
     12                                                           12        <%2227,Signature%>
     13                                                           13    Renee LL. Pellegrino,
                                                                                  P ll i Notary
                                                                                              N t    Public
                                                                                                     P
     14                                                           14    within and for the State of Ohio
     15                                                           15
     16                                                           16    My commission expires October 12, 2020.
     17                                                           17
     18                                                           18
     19                                                           19
     20                                                           20
     21                                                           21
     22                                                           22
     23                                                           23
     24                                                           24
     25                                                           25
                                                       Page 235                                                                        Page 237
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                                                                                     Cleveland, Ohio 44114
      3                ) SS:                                       3                  Phone: 216-523-1313
      4   County of Cuyahoga. )                                    4
                                                                       January 29, 2019
      5                                                            5
      6          I, Renee L. Pellegrino, a Notary Public               To: Michael J. Pendell
                                                                   6
      7   within and for the State of Ohio, duly                       Case Name: In Re: National Prescription Opiate Litigation v.
      8   commissioned and qualified, do hereby certify            7
                                                                       Veritext Reference Number: 3196704
      9   that the within named witness, BRIAN NELSEN, was by      8
                                                                     Witness: Brian Nelsen          Deposition Date: 1/24/2019
     10   me first duly sworn to testify the truth, the whole      9
     11   truth and nothing but the truth in the cause            10 Dear Sir/Madam:
                                                                  11
     12   aforesaid; that the testimony then given by the            Enclosed please find a deposition transcript. Please have the witness
     13   above referenced witness was by me reduced to           12
                                                                     review the transcript and note any changes or corrections on the
     14   stenotypy in the presence of said witness;              13
     15   afterwards transcribed, and that the foregoing is a        included errata sheet, indicating the page, line number, change, and
                                                                  14
     16   true and correct transcription of the testimony so         the reason for the change. Have the witness’ signature notarized and
                                                                  15
     17   given by the above referenced witness.
                                                                     forward the completed page(s) back to us at the Production address
     18          I do further certify that this                   16 shown
                                                                  17 above, or email to production-midwest@veritext.com.
     19   deposition was taken at the time and place in the       18
     20   foregoing caption specified and was completed              If the errata is not returned within thirty days of your receipt of
                                                                  19
     21   without adjournment.                                       this letter, the reading and signing will be deemed waived.
     22                                                           20
                                                                  21 Sincerely,
     23                                                           22 Production Department
     24                                                           23
                                                                  24
     25                                                           25 NO NOTARY REQUIRED IN CA

                                                                                                                 60 (Pages 234 - 237)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 61 of 106. PageID #: 242348


                                                                            Page 238                                                      Page 240
      1           DEPOSITION REVIEW                                                     1            ERRATA SHEET
                 CERTIFICATION OF WITNESS
      2                                                                                          VERITEXT LEGAL SOLUTIONS MIDWEST
        ASSIGNMENT REFERENCE NO: 3196704                                                2          ASSIGNMENT NO: 1/24/2019
      3 CASE NAME: In Re: National Prescription Opiate Litigation v.
                                                                                        3   PAGE/LINE(S) /    CHANGE       /REASON
        DATE OF DEPOSITION: 1/24/2019
      4 WITNESS' NAME: Brian Nelsen                                                     4   ___________________________________________________
      5     In accordance with the Rules of Civil                                       5   ___________________________________________________
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me.                                         6   ___________________________________________________
      7     I have made no changes to the testimony                                     7   ___________________________________________________
        as transcribed by the court reporter.                                           8   ___________________________________________________
      8
        _______________          ________________________                               9   ___________________________________________________
      9 Date                  Brian Nelsen                                             10   ___________________________________________________
     10     Sworn to and subscribed before me, a
        Notary Public in and for the State and County,
                                                                                       11   ___________________________________________________
     11 the referenced witness did personally appear                                   12   ___________________________________________________
        and acknowledge that:                                                          13   ___________________________________________________
     12
            They have read the transcript;                                             14   ___________________________________________________
     13     They signed the foregoing Sworn                                            15   ___________________________________________________
            Statement; and                                                             16   ___________________________________________________
     14     Their execution of this Statement is of
            their free act and deed.                                                   17   ___________________________________________________
     15                                                                                18   ___________________________________________________
            I have affixed my name and official seal
     16
                                                                                       19
        this ______ day of_____________________, 20____.                                  _______________      ________________________
     17                                                                                20 Date              Brian Nelsen
                ___________________________________
     18         Notary Public                                                          21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     19         ___________________________________                                    22 DAY OF ________________________, 20______ .
                Commission Expiration Date
                                                                                       23       ___________________________________
     20
     21                                                                                         Notary Public
     22                                                                                24
     23
     24                                                                                         ___________________________________
     25                                                                                25       Commission Expiration Date

                                                                            Page 239
      1          DEPOSITION REVIEW
                CERTIFICATION OF WITNESS
      2
        ASSIGNMENT REFERENCE NO: 3196704
      3 CASE NAME: In Re: National Prescription Opiate Litigation v.
        DATE OF DEPOSITION: 1/24/2019
      4 WITNESS' NAME: Brian Nelsen
      5     In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me.
      7     I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
      8 well as the reason(s) for the change(s).
      9     I request that these changes be entered
        as part of the record of my testimony.
     10
            I have executed the Errata Sheet, as well
     11 as this Certificate, and request and authorize
        that both be appended to the transcript of my
     12 testimony and be incorporated therein.
     13 _______________           ________________________
        Date                  Brian Nelsen
     14
            Sworn to and subscribed before me, a
     15 Notary Public in and for the State and County,
        the referenced witness did personally appear
     16 and acknowledge that:
     17     They have read the transcript;
            They have listed all of their corrections
     18     in the appended Errata Sheet;
            They signed the foregoing Sworn
     19     Statement; and
            Their execution of this Statement is of
     20     their free act and deed.
     21     I have affixed my name and official seal
     22 this ______ day of_____________________, 20____.
     23         ___________________________________
                Notary Public
     24
                ___________________________________
     25         Commission Expiration Date


                                                                                                                         61 (Pages 238 - 240)
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 62 of 106. PageID #: 242349


   [& - 2013]                                                                      Page 1

             &            126 6:23,24           177 5:9,13            20005 2:16
    & 2:10,14 3:2,7       127 6:24              178 7:18,18           2000s 164:7
      9:15,20,22          12:21 127:5           179 7:19              2003 33:5 34:14,25
                          12th 2:15             18 1:12,14 5:7,11       35:4,19 36:11
             0
                          13 17:14 143:21         23:23 31:19 68:11     37:15
    001084232 5:8         13.7 193:15 196:2       122:2 142:23,23     2006 183:8 191:10
      68:13               134 6:25                176:23                191:13 192:1,22
    09 29:25              135 7:3               180,000 221:3,16        194:16,22 195:7
             1            14 121:16,17          181 7:19                197:8,10,12 201:5
    1 5:5 11:16,22          143:21 165:3        182 7:20                201:6,7
      163:4               141 7:3               1820 237:2            2007 16:18 17:4,20
    1.8 44:20             148 7:4,4,5,5         183 7:20,21             18:3 33:4,5,22
    1/24/2019 237:8       149 7:6,6,7           184 7:21                34:11,14,25 35:4
      238:3 239:3 240:2   15 41:17 52:13        187 7:22,22,23          35:19 36:11 37:15
    10 4:8 29:25            121:23 137:13       188 7:23,24,24          37:20 193:1 195:2
    10,000 47:16,20         138:17 139:5        189 7:25 8:3,3          207:12
    100,000 47:17           144:2 170:3 194:6   190 8:4,4             2008 23:16 29:16
    10018-1405 3:9        150 7:7,8,8           191 8:5                 29:24 33:4,22
    102 6:15,16           151 7:9,9             193 8:5                 34:11 37:20 193:4
    103 6:16              152 7:10,10           194 8:6                 194:4 195:15
    107 6:17,17,18        153 7:11,11           195 8:6                 208:5
    10:27 52:4            154 7:12,12,13        196 8:7               2009 193:7 195:18
    10:44 65:13           155 7:13              197 8:7,8               206:20,21,23
    10:47 65:16           156 7:14,14,15        198 8:8                 207:25 208:4
    11 5:5 12:5 29:25     16 38:19 44:22        199 8:9,9             201 1:22 8:10
      200:6                 47:24 52:13         1:48 202:25           2010 38:17,19 39:1
    11.8 193:6 195:18       121:24 137:13                 2             39:17,20 40:1,6,17
    1100 3:4 30:3           138:17 139:5                                41:4,12 42:13,15
                                                2 4:3 5:6 68:6,9
      237:1                 144:3 167:20                                43:15,25 44:13
                                                  69:3 87:13 177:14
    113 6:18,19             168:13                                      164:10 193:10
                                                2,000 23:18
    114 6:19              164 7:15                                      195:21
                                                20 40:9 42:4,18
    115 6:20,20,21        168 7:16                                    2011 44:20 193:12
                                                  44:3,12,24 53:19
    116 6:21              17 1:7,10 38:19                               195:24
                                                  54:1,5,14 55:1
    117 6:22                39:2 47:24 52:14                          2012 193:15 196:2
                                                  72:22 87:13,15
    12 17:14 127:2          122:2,3 136:13                              206:16,17,20
                                                  157:25 216:17,22
      236:16                143:1,1 193:18                              207:7,22,24
                                                  238:16 239:22
    12.3 193:9,12           196:5 213:10                              2013 84:14 88:6
                                                  240:22
      195:21,24           171 7:16,17                                   121:6,7,10 125:1
                                                200 8:10 23:17
    123 6:22              172 7:17                                      129:24 137:8,14
                                                  29:23 190:16
    125 6:23              175 2:20                                      137:17 138:22
                                                200,000 109:16
                                                                        139:19 140:22

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 63 of 106. PageID #: 242350


   [2013 - 3.2]                                                                    Page 2

      141:9 143:15          175:21 201:13,14      164:16 166:15       214 8:16
      148:3 149:4,14        206:10,15 207:19      169:5,16,20         215 5:15
      159:3 160:9 161:9     207:21                170:22 171:8,18     216 3:5
      163:23 164:4,16     2016 23:2,19 26:2       179:3,9 192:13      216-523-1313
      166:23 170:17,22      30:3 39:2,20 40:6     199:15,20,23          237:3
      171:8,18 173:15       40:8,9,12,17 41:4     202:3,8,14 207:10   216-9229 2:5
      174:13 175:9,25       41:12 42:2,16,20    2018 5:12 38:5        217 8:17
      183:10 191:1          43:5,21 44:14,25      55:4 115:7 122:7    22 12:5 87:15,16
      193:19 196:5,13       53:2,6,9 54:22        122:8 133:11,15     220 8:17,18
      196:16,20 197:4       74:18 87:13 88:3      136:7,8 138:20      2200 30:4
      197:11,14,17          88:7 111:22 114:7     139:9 142:21        2227 236:12
      200:19 201:3,11       114:15,18 122:25      145:11 146:2,4,24   224 8:18
      201:12,13,25          133:12 136:18,21      157:15 158:4,16     228 8:19
      202:3 203:7 204:4     136:24 137:22         159:5,15 160:12     230 4:10
      206:6                 138:15,25 139:13      160:19,21 161:11    231 8:19
    2014 23:17 30:1         143:19 148:3          161:18,21 162:4,5   235 4:12
      41:16 52:13 54:3      149:5,14 158:22       165:7,19 166:12     24 1:18 44:22
      54:8,14 84:14,14      160:2 161:1           167:2,6 168:8         170:7,11,19
      85:17 120:11          163:17 166:17         172:1 174:2,13      24th 9:2
      121:12 137:3          169:9,16,22           175:12 176:24       25 15:24 16:3
      139:17 159:1          179:12 183:5,7,10     204:17 206:9,12     25,000 131:4
      160:6 161:7           192:13 199:14         207:10,19 208:4,5   250 124:1
      163:21 166:21         203:7 204:4 206:7   2019 1:18 9:3         26 170:7,11,19
      170:9 175:20          228:6                 115:7 123:7,15      27 53:6,10 54:22
      191:1 194:6,13      2017 5:7 23:3,19        125:5 142:3,9,16    28 2:4
      201:13                26:3 29:18,19         157:18,18 159:9     2804 1:6,7
    2015 23:17 29:16        40:14 53:17 54:25     236:7 237:4         288-2805 2:21
      30:3 44:18,22,24      68:12 89:17 92:8    202 2:16 8:11,11      29 237:4
      53:1,22 54:14         108:5 111:8         2020 236:16           29464 2:5
      74:17 82:13 85:18     113:25 114:7,16     2025 23:5 27:16,22    29th 236:7
      108:5 111:8,19,22     115:7 121:25          47:11               2:16 203:3
      111:23 112:11,13      122:1,25 129:22     2027 204:17           2:41 223:3
      112:14,16,22          133:11,15 135:15    203 8:12              2:42 223:6
      113:5,17,25           136:12 137:22       204 8:12              2:51 230:9
      120:11 121:20         138:15,18,20        209 8:13,13,14        2:59 230:12
      136:23 137:1          139:11 142:24       21 5:12 12:5                   3
      138:25 139:15         143:5,19 145:4,7      157:25 176:24
                                                                      3 5:9 108:3 111:7
      158:24 160:4          145:18 146:1,8      210 8:14
                                                                        176:19 177:11,14
      161:5 163:19          147:3 158:20        211 4:9 8:15,15
                                                                        185:25
      165:3 166:19          159:21 160:24       212 3:9 8:16
                                                                      3.2 111:21,25
      169:11 170:2,5        162:5 163:13
                                                                        112:6 114:1 115:9
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 64 of 106. PageID #: 242351


   [3.2 - accepting]                                                             Page 3

      115:16,21,23        42 149:15             620 3:8              87 6:13 216:17,18
      116:11              43215-2673 3:13       65 6:5               88 217:15 228:11
    30 1:17 11:15,22      434-5186 2:16         66 23:1              89 217:16 228:10
      11:23 12:25 15:10   44113-7213 3:4        66,000 23:2 26:2              9
      15:24 16:3 23:7     44114 237:2           67 6:6
                                                                     90 6:14 15:20
      27:23 28:1 68:6,8   45004 1:10            68 5:6
                                                                       18:24 42:8,22,23
      69:3 176:18 177:3   45090 1:12            69 6:6
                                                                       43:9
      177:11,12,19        45132 1:14                     7           90,000 23:6 27:16
      180:24 182:13,21    469-3939 3:13
                                                7.2 192:25 195:1       47:12
      183:20,24 184:12             5            70 222:10            900 208:6
      185:14,25 188:7
                          5 4:4 5:15 162:10     7000 2:11            90s 191:23 192:4
      191:5 204:10
                            168:4 172:19        71 155:18            92 6:14
      211:4 215:13,23
                            215:14,23           713 2:12             94 6:15 229:11
      219:18 220:2
                          50 1:22               72 6:7               95 229:11
      232:24
                          50,000 131:6          725 2:15             950 3:4
    300 30:1 222:11
                          54 6:4 23:24 31:20    734 186:4,25 187:3   9:08 1:19 9:2
    300,000 124:1
                            31:22                 187:17 188:1       9:58 52:1
    3196704 237:7
                          576-2400 2:12           190:13                      a
      238:2 239:2
                          58 6:4                743 227:2
    325 3:12                                                         a.m. 1:19
                          59 6:5 31:20          75 200:21 201:4
    37 6:3,3 12:5                                                    aa 168:20
                          592-5000 3:5          75,000 145:24
    38 12:6                                                          aarnold 2:6
                                   6              146:4,7,23 147:1
    39 23:23,24 31:22                                                aaron 1:8
                                                760,000 174:9
    3:02 233:17,19        6 1:17 4:5 11:15                           abatement 72:7
                                                77 6:7,8,8
             4              11:22,23 12:25                             75:13
                                                770 30:2
                            15:10 68:6,8 69:3                        ability 124:11
    4 5:13 177:4,12,19                          77002-2755 2:12
                            176:18 177:3,11                            198:16
      180:24 182:13,21                          78 6:9
                            177:12,19 180:24                         able 87:5 96:12
      183:20,24 184:12                          79 6:9
                            182:13,21 183:20                           113:21 119:20
      185:1,14 188:7                                     8
                            183:24 184:12                              123:6,11 124:16
      191:5 204:10
                            185:14,25 186:1,1   8 68:5 186:20          126:19,22 134:18
      211:4 218:24
                            188:7 191:5         8.3 193:3 195:15       147:14 167:20
      219:18,21 220:2,2
                            204:10 211:4        80 6:10,10,11          174:12 188:9
      228:7 232:24
                            215:13,23 219:18    83 6:11,12             189:3 221:15
    4,000 42:3
                            220:2 232:24        836 42:3             abuse 83:25 84:10
    40 39:17 40:2 44:2
                          6.8 191:9 192:22      84 6:12                85:7 109:19
    40,000 223:19
                            194:15,19 195:11    841-1104 3:9           209:13
    400 30:1 200:7
                          60 167:6 168:14       843 2:5              accept 162:16
    400,000 214:9
                            200:5               85 6:13 155:18         172:9,19
    4000 2:11
                          614 3:13              859 2:21             accepting 165:9
    40507 2:20

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 65 of 106. PageID #: 242352


   [accompanied - alternatives]                                                     Page 4

    accompanied             130:4,11 131:2,7       114:21,22 115:1,2     212:14 219:7
      39:16 47:9            131:13 132:3,4,8       116:24 117:3        agency 52:23
    accounting 86:8         132:24 134:2           157:15,18 158:4,8     82:13 131:5
    accurate 16:12          135:1 136:22           158:12,14,16          161:15 231:23
      59:2 140:22 141:1     137:12,25 138:7        192:13 196:22       ago 16:14,16
      170:21,25 171:17      139:3 157:19           198:6,19 207:3,12     120:17 140:3
      171:20,23 231:20      158:13 159:10,19       212:14,15 219:6       168:1
      232:3                 161:21 162:25          223:17,21 229:16    agreed 122:20
    accused 94:16,23        163:25 164:9           229:18,21,24          138:6 141:7
      95:13 96:3 97:11      167:7,24 168:18        230:4 231:20,22     agreement 118:24
    acknowledge             168:25 169:13          232:4,13,19 233:2     119:2
      238:11 239:16         172:5,18,22          adm's 74:24           agreements
    act 238:14 239:20       173:16 174:10,10       220:19                118:20 119:6
    action 172:13           176:9 184:3 185:3    admin 173:10,13         123:17
      236:4                 211:16 213:1         administer 48:6       ahead 37:11 91:12
    actively 202:9        address 86:14          administration          125:23 154:4
    activities 104:11       89:1 92:4 112:1        193:25 231:13       aid 97:11
    actual 63:22 79:5       126:14 207:14,16     administrators        akearse 2:7
      88:7 91:23 105:3      229:1 237:15           13:5                akeyes 2:17
    ad 220:19             addressing 111:24      adult 163:1 175:1     akron 1:22 2:2
    add 141:5 163:25      adjournment              175:8 176:5 213:1     5:15 9:5,14 15:16
      167:6,21 190:12       235:21               advance 66:12,14        89:8 215:15 222:4
    added 131:7,8         adm 16:12 17:4,7         66:15 69:20 76:2      229:20
      136:21 141:2,3        17:13,21 18:1          76:17 116:10        al 1:9,10,12,14
      158:12 160:18         49:10,11 63:16,18    advisement 21:1       alcohol 168:21
      161:21 164:18         63:22 64:11 65:21    advisory 114:24         174:22 226:9
      166:5,5,10 172:2      66:1,3,5,22 67:8     affixed 236:6         align 123:10
      181:1                 67:10,14,25 69:4,9     238:15 239:21       allegedly 232:5
    addicted 152:15         69:10 70:11 72:4     afford 123:9,11       allow 105:9
      153:5,20 154:15       72:9 73:2,7,14         142:12                167:14
    addiction 73:5,13       74:7,13 75:7,22      afforded 129:7        allowed 91:11
      103:18 155:5,20       77:16,23 78:10       afloat 138:20           93:10,12 147:17
      156:16 158:10         79:19 80:20 81:6       147:21              allowing 198:19
      209:14 218:10         82:16 83:4,10        aforesaid 235:12      alluded 32:7
      219:15 226:10         88:11 101:2,8,13     age 10:7 23:13,22     alternative 100:6
    adding 137:12           101:21 102:10,14       23:23,24 28:15        162:21 163:8
      168:12                105:12,13,22,25        31:16,19,22           165:24 166:6
    addition 111:24         106:17,24 107:9      agencies 72:21          167:12 173:20,24
      142:6,11 176:6        108:1,6,22 111:7       78:6 101:3,19         174:24 219:5
    additional 89:2         111:17 112:14          103:4 108:20        alternatives
      111:25 129:4          113:16,25 114:17       180:4,12 207:3        162:19

                                    Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 66 of 106. PageID #: 242353


   [amended - assignment]                                                         Page 5

    amended 5:5,15          212:19,24 213:4,6   answered 78:15       areas 106:12
      11:16,23 215:16       213:10,11,21,22       171:22               217:25
    amerisourceberg...      214:14,16 217:24    answering 12:15      arising 210:8
      2:18 10:1             218:12,25 220:13      168:11             arms 201:21
    amount 86:2 92:3        221:13,24 222:14    answers 15:4         arnold 2:3,10 9:10
      111:20 112:18         222:17 224:5,22       173:5 199:13         9:10 12:22 13:9
      115:6 146:11          227:12 228:3          201:12 202:2,3       72:18 92:24
      147:11 186:3          231:2                 219:22 230:22        102:18 107:3,17
      187:5               analyze 46:5          anybody 49:16          113:2 126:6
    amounts 61:21,24      analyzed 46:18          60:12 154:14         152:11 156:20
      78:14 99:24           218:12                155:13 199:21        212:11 220:15
    analogs 134:10        analyzes 201:6        anymore 162:17       arrested 104:4
    analogy 129:6         analyzing 196:22        163:7                156:17
    analyses 62:16,19       197:22 198:11       anyway 224:23        arrived 179:13,15
      180:17,19 181:5     ancillary 96:10         228:23               185:16 186:8,12
      189:22 190:1,7      andrew 2:3,10,15      apart 141:7            204:19 205:11
      205:21 208:8          9:10,15 230:16      apologize 113:13       226:3
      209:5               andrew.bergman          113:15 211:19      arriving 190:18
    analysis 24:19,21       2:13                appear 238:11        articulated 93:11
      24:22 25:2,4        andy 65:9               239:15             asked 14:22 56:17
      26:14,18 43:21      angela 49:14 79:7     appearance             61:21 66:4,6,8
      46:10,23 50:19      anne 2:4 9:12           230:14               116:15 130:18
      52:11,15,20 55:24     90:25               appearances 2:1        151:1 156:9,11
      56:14 57:7 66:3     announce 230:14         3:1 4:3              157:10 171:22
      67:5 68:24 74:24    annually 112:7        appended 239:11        172:25 176:9,11
      75:18 88:5,16,19      221:3                 239:18               177:18 178:13
      89:8,11,16,18       answer 12:14          applicable 234:7       186:7 189:20
      91:25 92:10,22        14:24 37:8 51:14    apply 204:3,7        asking 59:23
      93:3,22,25 94:2,7     51:20,22 58:3,5,9   appointed 95:1,2,7     73:22 82:18 84:21
      105:10 129:22         58:13 59:9 63:11      97:20                86:1,2 131:23
      135:16 179:3,9,11     67:24 77:11 91:14   approaching            135:10 151:2
      179:20 182:2,3,9      93:16,19 106:22       74:20                171:16 189:21
      182:15,17,20          107:4 132:23,23     appropriation          201:10 216:16
      183:9 184:2,3         134:1,7 148:1,20      114:1,12           asks 216:22
      185:19,22 188:20      150:4,19 151:13     approved 114:23      assessment 231:8
      190:5 191:12,13       151:14,22 152:7       146:7,8,22 147:2   assign 220:22
      201:5 204:7 206:6     156:3,5 159:24,25     159:12 167:23        225:20,23 226:25
      208:18,22 209:12      169:8 171:17        approves 119:4         228:22 233:4
      209:17,19,23,25       174:4 196:15,15     approximately        assigned 225:21
      210:4,6,12,14,19      199:9 202:19          146:23 186:4       assignment 238:2
      210:21,25 212:5       217:19 220:3                               239:2 240:2

                                   Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 67 of 106. PageID #: 242354


   [assist - baseline]                                                             Page 6

    assist 164:9           attributable 27:11    avenue 3:4,8           192:1,4 193:23
    assistance 96:7,13       27:19 37:4 40:3     average 23:7           194:4 197:7,10,12
      96:15,19 106:5         40:18,22 41:1       awaiting 94:16         200:5 201:4,6
    associated 98:12         42:20 50:6 51:11    awards 79:5            212:18 215:2
      104:1 129:14           52:8 55:10,13       aware 63:12 84:13      218:19 222:16
      131:3 215:1,3,7        58:18 59:15 60:21     85:6 152:13 153:3    225:5 237:15
      223:9,24 227:6,16      130:4 204:5 232:5     153:16 154:5        backlog 124:8
      232:17               attribute 202:16        178:9 190:24         144:8
    association 13:5       attributed 33:7         192:15 195:10       bakerlaw.com
      22:12,18,24 23:1,5     39:19 42:5            200:8,13 201:24      2:13
      24:4,6,13 25:7,16    august 5:7 68:11        214:4 225:3         balances 112:1
      25:16,20 26:1,17     authorize 239:11      aways 23:20 24:1      balancing 207:8
      26:19,25 30:22       autopsied 134:25        25:8                ballpark 221:2
      31:2,7,14 34:9       autopsies 117:19               b            barnes 49:11 50:1
      36:19,21 47:8          117:24 119:10,14                           50:11,15 51:6,10
                                                 b 1:17 11:15,22,23
      48:8 191:16 194:1      123:23 124:12                              52:7 53:8 54:11
                                                   12:25 15:10 68:6
      205:4                  125:12 126:4,10                            55:6,15 56:1,9,21
                                                   68:8 69:3 176:18
    association's 24:9       126:20,23 127:10                           59:6,11 60:9,25
                                                   177:3,11,12,19
    assume 37:12             127:21,22 128:16                           61:6,12 80:13
                                                   180:24 182:13,21
      137:4 148:10           128:19 129:1,5,15                          81:21 151:24
                                                   183:20,24 184:12
      150:6 187:23           129:18 130:2,4,11                         barr 121:23 125:2
                                                   185:14,25 188:7
      217:13                 130:22 131:25                              141:24 142:25
                                                   191:5 204:10
    assumption               134:11 138:10                              143:7,20 144:14
                                                   211:4 215:13,23
      150:11 151:15,17       142:16 143:5,12                            144:17 146:16,18
                                                   219:18 220:2
    attached 239:7           143:16 144:2,11                           based 12:15 14:21
                                                   232:24
    attachment 5:8           144:20,24 145:17                           16:21 18:19 22:20
                                                 back 13:1 16:25
      68:12                  145:21 146:4,14                            26:20,23 29:1
                                                   17:15 23:16 33:4
    attempt 60:19            146:20,24 147:2,7                          31:9 32:17,25
                                                   33:22 43:15 57:8
      120:5 122:12         autopsy 37:6                                 33:11 34:13 41:20
                                                   61:22 63:22 64:2
    attended 49:9            118:1,22 119:5                             44:8 45:6 47:4,11
                                                   88:21 120:17
    attention 38:23          123:19 124:2,17                            47:15 52:20 56:10
                                                   121:24 126:8,22
      112:13 165:5,17        124:20,22 125:20                           56:18 59:20 85:3
                                                   129:22 134:15
      175:1 185:24           128:3 132:11,13                            86:8 87:4 102:23
                                                   135:15 137:11
      202:1 204:9            132:21 142:6                               102:24 107:13
                                                   138:8 159:4,14
      225:15 229:10          143:24 145:20                              117:20 131:11
                                                   161:2 162:20
    attorney 93:19         available 12:16                              152:25 181:1
                                                   165:4 167:21
      97:21 236:2            13:4 32:8,15 53:4                          190:15 191:18
                                                   168:13 179:8
    attorneys 13:9           133:20 174:17                              203:9 205:5 220:9
                                                   181:25 183:8
      14:8,12 15:13          176:10 206:25                              221:17,19
                                                   186:13,16 188:6
      49:4,7 83:22         ave 237:1                                   baseline 194:3
                                                   189:13 190:19
      95:11 192:12
                                                   191:12,15,23
                                    Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 68 of 106. PageID #: 242355


   [bases - bring]                                                                Page 7

    bases 203:24            103:21 105:24         129:12 130:21       board's 115:3
    basis 50:24 84:23       111:6 112:21          166:1               body 131:3,5
      199:24 203:23         116:3,3 119:5       bill 232:8            borne 66:21 89:3
      204:25                121:11 123:15       billed 212:18,18        98:18
    bates 5:8 68:13         127:7 129:21,23     billing 103:6,8       bottom 186:1
    beacon 201:20           132:9,25 133:9,17   billion 195:11          225:16 226:20
    bear 190:13             136:4,11,13 137:9   binding 91:6          bought 132:4
    bears 95:3 100:23       137:16,20,21,23     bit 13:3 117:4        boulevard 2:4
    beds 112:4              142:17 145:4,5        179:1 185:9           3:12
    began 17:12 56:15       146:6 158:23,25       211:17 218:6        boundaries 118:2
      64:12 85:18 113:6     159:2 160:18,23     black 47:21           brad 203:15
      138:18 143:25         160:25 163:20,22    blank 84:21           brandy 3:12 9:17
      162:18 201:9          164:8,12,19 166:4   blew 192:14             211:14
      207:4,5               166:14,16,18          201:14              branjan 3:14
    beginning 5:8           175:16 181:25       blip 198:24           brannon 2:19 9:25
      44:24 68:12           203:12,15 204:25    board 16:12 17:4        9:25
    begins 196:12,14        213:23 216:9          17:21 18:1 49:10    break 26:22 27:17
    behalf 2:2,8,14,18      229:11 232:23         49:11 63:17,18        28:4,8,25 30:8,16
      3:2,6,11 9:13,16    believed 15:3 16:8      66:22 67:8,11,15      34:19 37:13 41:22
      9:18,22 10:1          17:7 18:7,16,25       67:25 69:4,11         51:13,21,24
      87:10 93:13 226:1   benches 164:1           70:11 72:4,9 73:2     124:24 126:25
      230:16              benefit 232:16          73:14 74:8 75:7       127:8 173:7
    belief 28:20 102:3    benefits 119:25         75:22 77:16,23        179:23 202:23
      165:23 205:15       benzodiazepine          78:10 79:18,19        208:9
      218:20 227:1          35:14 36:4            80:20 81:6 82:16    breakdown 31:18
    believe 13:17         bergman 2:10            83:4,10 94:8          32:16 33:8 50:19
      16:10 21:25 23:19     230:13,16,18          101:9,13,21           214:10 232:20,20
      25:13,14,15 26:16   best 77:12 93:14        102:10 105:12,13    breakdowns 33:10
      29:17 30:2,14,15      139:2                 105:23 108:1,6,22   brian 1:17 4:7 5:5
      32:20 36:16,18      better 179:6            108:23 109:6          5:7 10:7,12 11:17
      38:4,11 39:2        beyond 37:20            110:15 111:7,17       11:24 68:11
      40:15 42:3,23         60:13,23 73:13        112:14 113:16,17      211:12 230:19
      43:2,13,16 44:9       78:20 79:23 85:10     114:1,17,22,24        235:9 237:8 238:4
      47:8 53:7 54:9        89:22 95:16 117:6     115:1 116:24,25       238:9 239:4,13
      61:8 62:5,21 63:8     187:4                 157:15,19 158:4,8     240:20
      64:1 65:4 66:13     big 84:4 131:15         158:14,16 159:6,8   bridgeside 2:4
      68:3,22 69:16,18      162:11,12 173:12      159:16,22 192:13    brief 211:17
      69:21,24 70:22        178:24 190:18         194:5 196:22        briefly 114:5
      76:3,16 79:11         222:6                 223:17 226:10         211:24
      80:9,23,24 81:15    biggest 23:23           229:16 230:4        bring 123:11
      82:5 86:7 88:6        117:15 124:6          231:21,22

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 69 of 106. PageID #: 242356


   [bringing - certainly]                                                             Page 8

    bringing 125:19         busy 202:12           casa 166:7               99:20 116:16
      125:19 126:11,13                c           casc 167:17              179:17 180:7,14
    broke 23:12 32:9                                172:14,16 174:6,8      180:20 183:3,4,10
                            ca 237:25
      39:3 230:25                                 case 1:7,10,12,14        184:3 185:4
                            calculate 57:10
    broken 38:25                                    20:1,6 59:12,24        208:10 217:4
                              88:22 180:13
    brotherhood                                     60:3,11,13 63:23       220:23 224:25
                            calculated 57:25
      101:4                                         63:24 64:1 67:3      categorized 47:15
                              58:7,11 178:15
    brought 66:10                                   85:25 86:18 97:23    category 39:6,14
                              187:18 190:14,22
      85:22 199:19                                  97:25 98:1,2,4         41:13,19 56:24
                              204:24 205:8
    bryan 5:7 68:10                                 102:10,11 105:4        86:18 94:12 95:4
                              227:4
    buckets 87:2                                    105:25 107:19          98:9 100:12,15
                            calculating 25:12
    budget 10:21                                    118:9 130:20           116:22 173:2
                            calculation 87:10
      67:12 82:10,16                                135:13 147:13,16       183:12 208:21
                              88:13 227:5 231:3
      83:1,4,10 85:19                               159:10 191:24          216:22 220:9
                            calculations 228:5
      96:17 109:16                                  199:5,15 202:16        222:23 223:9,14
                              232:1
      110:7 111:22                                  237:6 238:3 239:3      223:23 224:3
                            call 48:2 51:1
      119:20 120:24                               caseload 63:22           226:25 228:13
                              123:16 128:4
      123:8 128:10                                  117:20 148:12        caught 38:22
                              142:18 147:14,20
      131:16 140:20                               caseloads 120:23         124:16
                              174:24 201:15
      157:18 159:9,13                               124:8 129:8          cause 38:25 44:2
                            called 10:7 82:7
      173:9 174:7                                   138:16 143:25          106:1 235:11
                              162:18
      195:12 198:15                                 148:25 152:22        caused 104:14
                            capacity 129:13
      207:8                                         176:13 204:2           192:5,8 202:15
                              133:22 134:2
    budgetarily 128:8                               205:5                  225:16
                            capita 48:12,14
    budgetary 198:20                              cases 17:10 47:12      causes 102:25
                            capital 131:17
    building 3:8                                    50:4,5,19,20 51:11     103:3,11 104:1
                              207:15
    buildings 131:18                                52:8 53:5 55:8,9       200:24
                            caption 235:20
    built 191:20 195:7                              58:16,17 59:13,14    cc'd 57:23
                            capture 103:2
    bullet 217:4,16,17                              60:20,21 96:2        cdc 34:7
                              106:14
      218:7 219:7,13                                103:1 118:17,18      center 167:13
                            captured 105:7
      220:10 221:20                                 118:18 144:8           229:9
                              106:2 107:8
      225:16 226:8,21                               148:4 149:19         centered 60:7
                            capturing 104:6
    bullets 228:9                                   150:8 152:1,5,10     centers 64:12,14
                            car 131:18
    bunked 168:2                                    154:12 162:12          70:12 179:13,19
                            cardinal 2:14 9:16
    burden 227:7,13                                 166:3 203:6,12       cents 200:16
                            care 56:24 119:25
    burgess 49:14                                   204:1,5 212:17       certain 11:12
                              218:9,17 219:14
      79:7,23 81:11                                 214:24                 104:11 108:19
                            carfentanil 134:10
      82:2 83:17                                  catching 124:14          139:3 214:1,21
                              134:11,15,17,24
    burling 3:7 9:20                                229:4                  215:5
                            carolina 2:5
    business 84:5                                 categories 23:12       certainly 44:8,14
                            carve 204:4
      225:17                                        39:1,3,8 87:6          62:22 113:4

                                     Veritext Legal Solutions
    www.veritext.com                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 70 of 106. PageID #: 242357


   [certainly - complaint]                                                           Page 9

      154:11 164:23          chief 90:6            cleveland 1:13 3:4   commissioned
      213:21 220:16,19       child 50:5 56:24        236:7 237:2          235:8
      229:17                   87:3 152:1          client 213:14        committed 112:9
    certainty 182:4          children 49:12,12     clinics 202:10       common 101:15
    certificate 4:12           50:15 52:16,23      close 120:12           155:21 161:17,20
      235:1 239:11             53:13 54:12 57:8      183:16               163:13 164:1,14
    certification 238:1        62:8,25 63:2        clr 1:25               165:7 175:4,7
      239:1                    79:18 80:6,15       cocaine 35:13,25       228:1,6
    certified 10:10            102:21 108:18,23      39:4,9,22 40:23    communities
    certify 235:8,18           109:6 110:15          41:13 195:7          222:7,12,16
      236:1                    116:25 159:5,8,15   code 102:24,25         224:21
    cetera 226:16,23           159:21 201:22       coded 47:21          community 88:1
    chance 37:9              chose 218:21          coding 102:11,14       162:19 167:12
    change 41:5              circulate 67:25         102:21               224:20
      237:13,14 239:8          76:22               cohen 91:1           companies 2:9
      240:3                  circulated 66:11      collect 17:25        company 10:2
    changed 17:8               66:13 69:20 76:17   collected 34:13      compare 179:11
    changes 137:10,11          80:14 81:3          collects 190:16        182:21 205:2
      237:12 238:7           cite 44:19            columbus 3:13          206:9,15,20
      239:7,9                cited 16:9,10         come 16:11 84:15     compared 182:3
    changing 214:2           city 1:13 2:2 5:15      101:13 120:20        183:5 184:7,11
    charge 104:14              9:14 15:16 18:20      123:6,14,18          189:14 213:22
    charged 100:2              89:8 215:15 222:4     125:18 142:19      comparing 184:1
      154:18 155:6             224:16,18 225:1       147:10 168:13      comparison
    charges 104:5,8            229:20                181:10 186:22        183:25 184:8,16
    chart 39:17,18           city's 18:20            200:15               184:17,20 185:1,8
      41:16 47:13            civil 10:9 234:3,7    comes 101:15           185:12 205:6
      177:19,24 178:20         238:5 239:5           129:4 158:9,10       221:19
      178:23 179:18          claim 218:21            200:15             competitive
      180:23,24 181:7        claimed 135:6         comfortable            176:14
      181:10,13,15           claiming 85:25          214:25             compile 24:15
      182:12 188:6             86:17 117:14        coming 69:9            46:1,5,19 52:19
      189:1,4,7,9,12,15        219:17                122:19 181:18        216:12 218:1
      189:21 191:4,25        claims 17:13            198:14 212:6       compiled 20:14
      192:16,18 204:10       clarify 169:12          213:6 220:13         34:7,7,9 38:12
      204:12,20 211:4        classify 72:20          232:4                46:14 64:9 178:17
    charter 118:9              117:3               comment 91:18          181:16 183:23
    charts 38:24             cleanup 225:4,8         218:3                184:9 186:14
    check 30:14              clear 49:4 161:24     commission             211:8
      107:15                   169:15                236:16 238:19      complaint 216:1
                                                     239:25 240:25

                                      Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 71 of 106. PageID #: 242358


   [complete - cost]                                                              Page 10

    complete 123:5        considerations        contributions           100:3,4,10 107:15
      200:4                 18:20                 226:9                 109:19,20 110:24
    completed 122:21      constitutes 25:4      conversation            110:25 114:3,4,16
      235:20 237:15       constrained 207:6       80:13 82:4 84:16      114:18,19 115:3,5
    completely 164:23     consuming 159:19        85:1,4,5 123:4        115:8 119:15
      165:3 172:11        cont'd 3:1 7:1 8:1      183:23 199:20         125:2,3,7,12
      181:20,21 182:6,9   contained 21:8        conversations           127:11,17,22,24
      182:16                75:25 78:21           80:18 81:20 83:17     128:17,21,24
    complicated             109:11                83:20 92:14,16        130:23,24 140:9
      118:16              contemplating           93:24 102:22          141:13,16,19,23
    component 31:18         88:20                 124:9 192:10,11       142:4,5 146:21,24
      109:24 112:3,4,6    context 55:17           192:12 199:22         152:3 160:1
      115:20 116:4        continue 117:18       conversely 104:2        164:16 165:10
      130:6                 128:11 142:11,13    conveyance 207:1        169:18 171:9
    composite 35:1          144:19 205:17,18    conveyed 135:4          172:6 177:24,25
    computation           continued 201:13      conveying 24:7          178:2,3,6,7,11,15
      216:22                207:10              convicted 94:15         178:18 180:1,5,9
    computer 20:17        continues 195:17        98:14 99:10,17        180:10,15 182:19
      20:18               contract 95:22          100:3,7,9 155:3,6     184:5 185:6
    concerned 51:16         98:23,24 105:13       156:14                186:10 188:4,5
    conclude 199:4          105:15 125:24       conviction 163:7        189:2 203:8
    concluded 54:14         131:4,6 142:9,18    convictions 205:19      207:20 209:4,9,11
      233:19                158:12              copied 63:1 67:19       211:10 213:9
    conclusion 199:14     contracting 142:6       67:20 70:19 77:2      221:9 226:3 230:5
    conduct 152:5           158:8               copy 69:25              231:19 232:6
      188:10,16 189:9     contractors           coroner 118:7,8         235:16
      190:8                 142:15 143:4,12     coroner's 84:20       corrections 173:21
    conducted 153:9         143:16,23 144:11    coroners 118:15         173:24 237:12
    confidential 5:14       144:15,19,24        corporate 11:4          239:17
      177:6                 145:8,11,14,17        12:4 49:23 81:22    correctly 28:14
    confirm 107:1           146:3,14,20,23      corporation 2:18        39:25 45:5 54:10
    connect 188:9,14        147:2,6               3:6 91:6              69:2 72:9 76:5
      189:3,8,15,25       contracts 106:17      correct 15:11           207:17
      190:6                 106:24 145:25         43:10 47:6 49:8     correlate 194:9
    connection 82:23        146:7                 54:16 56:6 59:21    correlation 44:14
      218:12,13 221:24    contribute 71:19        61:5 70:9 71:13       44:16
    connolly 2:14 9:16    contributed 45:13       71:14 74:6 76:12    cost 56:18 62:14
    considerably            73:14 76:11           76:15 79:21 94:19     62:15,18 64:12,14
      207:4                 128:15 191:24         95:9,14 97:13         64:22,23 65:3,6,19
    consideration         contributing            98:15,21,24,25        69:6 70:12 74:24
      127:18 209:2          76:10 104:8 106:9     99:3,4,6,7,11         88:5,16,18 89:1,15

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 72 of 106. PageID #: 242359


   [cost - county]                                                               Page 11

      91:24 92:10,22       96:18 97:1,2,9,14      230:3 233:4          78:24 79:13,20,25
      93:22 94:2,14        97:18 98:8,9,12,16   council 63:6 85:13     81:9,18 83:24
      95:3 96:11 117:15    98:18 99:21,22,23      85:19 114:24         84:1,3,4,7,9,11,16
      117:16 119:22        99:23,24 100:11        119:4                84:20 85:8,11,12
      123:21 124:16        100:15,23 103:12     counsel 9:6 56:17      85:12,13,20,24
      125:9,22 126:12      103:24 116:16          57:11,21 58:23,25    86:17,25 88:8,14
      128:9 135:16,23      117:13,13 119:18       61:14 62:25 63:3     88:23,24 89:3,5,6
      135:24 147:5,7       127:19,25,25           63:7 64:11 65:22     89:10,12,20,24
      166:1 179:13,19      128:1,23 129:1,4       66:3,6,8 67:17,17    90:12,14 95:3
      181:13,14 184:12     129:11,14,15           70:2 75:11,17        97:10 98:19,23
      185:18,19 189:22     130:19 131:1,2,7       77:9,10 80:10,24     99:21,25 100:23
      204:6,6,7 208:8,9    131:24 132:2,7         81:16 89:21 93:1     100:25 101:12,19
      208:11,14,21,23      135:7,12,17            95:1 97:20 180:11    101:20 102:5
      209:5 215:6          159:19 162:15          234:1,10 236:2       103:15 106:11,16
      217:24 220:16        166:3 171:12         counsel's 64:11        107:24 108:7,10
      221:13 222:2,22      179:4,6,7,19 180:3   count 206:8,14,19      108:12,19 110:11
      224:2,10,17,18       180:7,8,13,20,25       207:18 208:3         114:24 116:17
      228:22 229:8         182:8 183:13         counties 47:19         117:8,14,19,20,22
      232:16,16            184:4 185:4 191:6      48:3 118:6 176:15    117:23 118:1,3,7,8
    costing 88:23          191:9,20 192:1       country 48:12          118:9,14,17,19,20
    costs 14:20 19:18      196:21,22 197:17       125:18               119:3,5,11,14,16
      50:7,8,9 56:14,15    197:20 198:12        counts 33:6 139:2      120:5,8,17 121:6
      56:20,23,25 57:1,2   199:25 200:20        county 1:9,11 2:2      122:6,11,13
      57:3,4,4,10,13,15    201:6,9 204:4,13       5:9,13,15 9:13       123:22 124:2,12
      57:19,19,19,25       204:16,22 205:2        10:17,21 11:5,9      124:17,20,22
      58:6,10 61:2,7,11    205:13,17 206:3        12:5,10,16 13:10     125:1,8,12,20
      61:13,25 62:4,7,19   209:3,7,13,20          15:17 18:2 19:18     126:1,4,10,19,23
      62:20,20 64:3,16     210:1,7,15,22          19:20,22 21:15       127:8,10,20,20,22
      64:16,17,18,20       212:8 214:16,22        23:13,19 28:15       128:3,16,19,22,25
      66:21 67:2,4 68:1    214:25 215:1,3         29:22 45:2 47:14     129:1,5,8,9,13,15
      69:9,11 70:7,12      218:8,13,23            47:18,18 48:1,18     130:11,19,22
      74:2,23 75:15,16     219:12,16 220:1,8      48:25 49:23 52:23    131:1,10,12,16,25
      78:22 86:11,12,12    220:10,11,17,19        63:3,6 71:7,8,9,12   138:9 142:7,16,20
      86:12,21,21,22,23    220:23 221:4,6,7       71:13,18,19,25       143:4,11,15,24
      86:23,24 87:1,3,6    221:21 222:15,15       72:1,4,9,10,16,17    144:1,6,11,14,18
      87:11,12,17,18,18    223:9,13,15,17,24      72:20,24,25 73:2,3   144:23 145:7,16
      88:3,8,13 89:2,4     224:4,6 225:1,2,3      73:4,7,9,11,11,24    146:19,22 147:5
      94:12,20,21 95:11    225:6,8,14 226:11      74:4,5,8,15 75:2,6   147:23 148:4,6,17
      95:15,17,17,18,19    226:17 227:6,11        75:13,20,21 76:13    148:22 149:2
      95:19,20,21,23       227:15 228:2,7,13      76:21 77:5,15,16     152:14 153:4,15
      96:1,1,8,8,10,13     228:15 229:3           77:21,22 78:6,9,18   155:12,15 157:5

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 73 of 106. PageID #: 242360


   [county - data]                                                                 Page 12

      157:13 158:6,18     court 1:1 4:14           175:9,12,24 185:2     87:17 190:15
      161:15 162:20         10:5 95:20 98:6        185:14              currently 87:12
      164:2 165:11          98:16,19 99:23       creation 172:14         139:7 141:4
      167:13,22 169:2       101:15,16 161:17     credentials 118:13    custody 4:14
      172:6,21,24           161:20 163:13          120:4               cuts 198:15
      174:19 176:19         164:14,18 165:7      crime 94:15,16        cutting 207:8
      177:5 178:2,10        165:18,19,21,23        97:12,12 100:8,10   cuyahoga 1:11
      186:24 187:22,22      166:2,4,11 175:4,7     104:2 147:23          120:16 122:6
      190:15,17,24          175:16 212:23          148:2,6,10,16,21      235:4
      191:9 193:21          215:9 227:9,11,19      149:2,10,17,21      cycle 16:14 17:7
      194:1,3,14,18         227:20 228:2,6         154:18 155:4,7        17:16 112:8 114:3
      197:5,13 198:1,8      238:7                  156:14,18 164:3     cycles 16:14,16
      199:3,5,12,23       court's 5:11           crimes 94:23,24                 d
      200:19 202:2,15       176:24 227:25          95:13 96:4,19,21
                                                                       d 2:10
      205:19 206:4,9,15   courts 73:17 95:2        96:22,23,24 98:14
                                                                       d.c. 2:16
      206:24,25 207:5       227:7,14,16            98:20 99:10,12,18
                                                                       daily 84:22
      207:14,16,18        cov.com 3:10             100:3 150:2,10,16
                                                                       damage 86:9
      208:3 209:8         cover 38:16 76:6         150:20 151:4,11
                                                                         94:12 181:6
      210:15,22 211:25      124:16 131:13          151:19
                                                                       damages 85:24
      212:1,12,19,20      covered 38:17          criminal 86:13
                                                                         86:3,7,17 87:9
      214:17 215:7,14       208:11                 95:16 96:2 98:1,2
                                                                         90:24 100:12
      218:23 219:16       covington 3:7 9:19       98:4,9 99:22
                                                                         188:10,15 189:16
      222:2,5,22 223:12   craig 49:10 63:13        100:16,20 106:3
                                                                         189:25 190:7
      224:3,11,14 225:1     64:6 66:10 80:21       152:16,22 153:7
                                                                         204:24 216:23
      225:8,12 226:2,12     81:24 113:20           153:22 154:7,17
                                                                         217:5 218:22
      229:9,13 231:9,10     116:9                  155:23 156:13
                                                                         225:23
      231:17,24 235:4     create 44:6 122:22       210:16
                                                                       dan 1:8
      238:10 239:15         157:16 158:5,16      crisis 19:21 21:15
                                                                       dare 108:16,22
    county's 23:14          159:6,16,22            82:9 83:3,9 86:15
                                                                         109:15,16,18
      62:25 63:10 95:22     160:12,21 161:12       212:3 214:17
                                                                         110:1,7 111:3
      131:9,16,17 141:4     161:17 163:14          218:14 224:10
                                                                       darin 49:12 60:15
      182:17 184:1          164:15 165:19          232:5
                                                                         60:18 80:10
      192:17,18,21          166:11 167:3         criteria 152:8
                                                                         109:12
      216:2 218:13          168:8 169:5,17       cropped 198:13
                                                                       data 24:13,16,19
      228:23                170:23 171:2,19      csb 50:3,25 57:2,3
                                                                         24:23,24,25 25:7,8
    countywide              174:2                  57:4 63:21 88:11
                                                                         25:12,12 29:10
      206:18 208:7        created 118:10           207:3,12
                                                                         30:5,23 31:3,8
    couple 66:16            140:23 161:25        curiosity 32:17
                                                                         32:8,15 34:4,6,7,8
      123:11 218:4          162:2 165:1,6        curious 32:7,11
                                                                         34:13 38:9,11
    course 200:12           170:2,9,17 171:8     current 10:19 33:9
                                                                         43:22 44:4 45:2
      232:2                 173:4,15 174:14        38:1 51:7 56:6
                                                                         46:1,5,15,19 52:24
                                    Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 74 of 106. PageID #: 242361


   [data - deposition]                                                             Page 13

      53:3 54:13,19          143:25 144:10,13    deed 238:14             48:10 49:14,15
      55:7,11,23 56:8,11     144:18 146:15         239:20                71:2 72:25 94:3
      56:13,16 57:9        dear 237:10           deemed 237:19           101:16 163:1
      58:16 59:21 60:13    death 19:23 22:13     deeper 66:4,7,9         191:6,17 204:13
      68:25 86:9 101:21      22:22 33:12 42:8      214:22                225:7 237:22
      102:4 104:16,19        118:17              defend 95:2           departments
      105:3 107:9          deaths 23:2,4,9       defendant 97:21         19:19,20 21:12
      151:25 152:21          26:2,11,23 27:3,7     188:11,15,16          48:25 108:11,12
      178:5,8 179:7          27:11 29:6,9          189:5,10,17 190:2     179:4 180:3,12
      183:7,8 191:15         30:23 38:25 39:13     190:8 216:25          195:13 196:10,11
      198:11 203:18          40:2,18,21 41:1     defendants 5:11         197:23 203:25
    database 44:21           42:4,19 44:1,7,15     5:17 12:6 95:3,8      217:25
      53:4,14 60:5,7         47:17 48:3,11,13      96:2 176:22         dependent 87:25
    date 9:2 91:23           84:19 130:4 194:1     191:23 199:4,15     depending 106:15
      92:6 191:22            218:11 219:16         199:25 202:16         199:11
      234:11 237:8         debate 228:21           215:18 216:5        depends 72:19
      238:3,9,19 239:3     decedent 41:24        defender 94:20          94:5
      239:13,25 240:20       42:1 45:23 118:2      95:6,10,17 97:19    depo 232:24
      240:25                 130:13              defender's 94:22      deposed 10:11,23
    dated 5:7 68:11        decedents 119:11        95:1 161:11,12,14     11:1,2,4
    dating 201:4           december 10:23        defense 86:22         deposition 1:16
    david 3:7 9:19           11:1 13:22 16:11      97:15,18 98:5         5:5 9:4 11:16,17
    dawn 202:10              48:16 50:22 68:18     162:15 166:3          11:24 12:6,19,25
    dawson 13:1 19:9         71:12,18 114:11       196:21,22 198:12      13:2,18,22 14:2,22
    dawson's 15:10           177:14,20 186:9     defer 14:17 133:25      15:23 16:7,20
      18:15                  186:13,16,19        deferred 14:14          18:11 19:5,7,15
    day 3:11 9:18 23:8     decision 90:10,13     deferring 207:15        20:1,3,6,7,11,12
      27:23 28:2,9           90:15,21 91:22      define 84:7 94:5        20:15 21:3,22,25
      84:24 232:2 236:7      125:9,21 126:2,7    definitely 129:25       22:6,9 25:24
      238:16 239:22          137:24 142:10       definition 218:17       43:19 48:15 49:22
      240:22                 231:6               delivery 234:9,11       50:22 51:2 61:9
    days 42:8,22,23        decline 44:6          delved 103:25           68:9,17 71:11,17
      43:9 237:18          declined 39:20        delving 103:23          82:20 83:18,21
    dd 207:3               decreased 44:24       denied 169:19,24        91:7 92:25 114:6
    deal 155:15              147:24 148:7,17       170:4 176:10,15       114:6 116:11,14
      158:14 164:3           148:22 149:11       department 13:4         135:14,21 176:19
      168:22 202:13          150:16,21 151:4       22:12 26:15,18        177:4,14,20
    dealing 87:24            151:19 208:3,6        31:25 32:13,18,22     178:20 179:1,10
      198:13,21 210:23       225:17 226:21         33:23 34:2 37:24      186:8 206:22
    dean 121:14 142:1      decriminalize           38:7 43:18,22         215:14 220:1
      143:7,13,17,21,22      163:9                 45:7 46:14,18,22      233:19 235:19

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 75 of 106. PageID #: 242362


   [deposition - dollars]                                                          Page 14

      237:8,11 238:1,3      difference 117:5      discussed 21:21       distracted 113:12
      239:1,3                 233:5                 46:23 52:10 56:12   distributor 5:10
    depositions 12:24       differences 183:15      56:13 60:24 61:1      176:22
      229:7                 different 19:18,19      67:2 73:21,25       district 1:1,2
    deputies 167:7,20         21:11 48:25 59:5      76:18 77:13,20      dive 66:4,7,9
      222:10,12,15            59:10 63:25 68:21     78:4,8 79:24 80:4   divert 131:21
    deputy 121:15             79:15 134:22          80:8,9,10,23,24     dividing 232:13
    describe 44:3             142:18 150:24         81:15 90:5,5        division 1:3 34:1
      48:23 107:25            151:8 165:21          91:24 92:9,25         38:8 232:16
    described 23:25           173:2 178:25          112:19 114:5        document 1:8
      24:24 38:1 40:11        180:3 183:18          125:4 142:2           50:21 51:1 55:19
      47:3 59:5,19            197:2 199:13          184:14 214:15         55:20,25 83:1
      69:15 75:1 89:16        209:7                 221:12 228:16         114:15 213:18,19
      117:7 151:25          differently 117:4       232:25                213:20,23 215:24
      220:7                 difficult 125:15      discussing 62:11        216:1,8,10,13
    describing 24:10          134:18                64:12 81:2 232:1    documents 13:15
      68:20                 difficulty 147:18     discussion 60:6         50:10,12,14,18
    description 5:3         dig 214:21 215:8,8      61:24 83:13 85:18     51:4 55:16 65:21
      153:19                digging 214:24          103:22 122:15         82:10,17 83:5,10
    desktop 20:19           direct 17:12 88:13      179:5                 116:8 177:13,15
    detail 31:12 33:9         172:17              discussions 85:20     dodson 90:6 92:10
      36:22 135:9           directed 112:12         87:4                  92:17,21 93:3,21
      154:11 190:21           115:10,17 153:11    disease 218:10          94:1 140:6
      213:25 226:7            180:11                219:15              doing 25:2 107:14
    detailed 33:4,6         direction 56:17       disjointed 211:20       111:25 144:1
    detected 37:5             57:11 61:15 64:11   disorder 101:24         231:2
    detention 95:21           70:10 104:24          102:8,13,17 103:3   dollar 61:21,24
      165:25                  105:2                 103:17,25 104:7       64:6 65:25 74:19
    determine 59:13         directly 217:20         104:15 106:9,14       78:14 86:2,19
      60:19 151:25          director 10:20          106:21 107:2,12       87:5,14 96:16
      155:2 156:12            63:18 67:13 71:5      107:13 210:8          112:17 186:25
    developed 155:5           71:6 79:13 82:23    disorders 107:7         187:3,5,17 188:1
      156:15                  110:7 114:21        dispensed 200:7         195:12 220:22
    dhaller 3:10            disagree 90:20          200:11                225:20,21 226:24
    diagnostic 164:21       disclosed 56:1        distinct 102:1        dollars 17:19 50:8
      164:21,25 175:18      discover 16:19        distinction 209:18      61:2,10,13 64:4,4
    diane 12:25             discuss 43:23           209:24 210:5,13       64:5 65:5,18
    die 23:8 27:23            59:11 61:21,23        210:20 211:2          74:12,14 75:6,12
      28:2,5,9                62:2,6 66:21 80:7     219:19 229:19         75:20 77:14,21
    died 42:25 43:6           80:21 81:5,10,13    distinctions 211:5      78:2,8,25 79:5
      130:13                  81:17 90:3,8                                87:16 99:2 102:7

                                     Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 76 of 106. PageID #: 242363


   [dollars - employee]                                                            Page 15

      102:15 103:15          140:1,4,11 142:25      60:25 67:23 70:23   effective 125:22
      104:10 107:10        draft 217:10,17          77:8 78:2,22        efficiency 226:22
      108:3 111:8,21       drafting 46:10           94:11 95:15 97:18   effort 112:23
      112:1 114:2          drag 87:20 186:20        102:9 116:15          113:4 120:9 209:6
      115:10,16,21,24      dramatically             130:18 143:21         212:7
      116:5,12 120:1         113:6                  147:18 151:23       efforts 43:23 44:5
      127:9,15 133:19      draw 211:5               152:21 180:21,22      48:4 72:6,6
      138:19 145:20        drill 219:1,2            183:6 190:23        eight 161:23,25
      158:13 159:20        driver 129:12            203:5 212:25          162:2,25 164:2
      171:7,11 172:24        166:1 228:15           214:2 215:10          165:5,12 175:10
      176:16 183:11        drivers 167:10           221:12 225:18         176:6 212:25
      186:4 190:14,16      drop 207:4               228:25 230:15         213:3
      191:9 192:22,25      dropped 44:3             231:15              eighth 3:8
      193:3,6,9,12,15,18   drug 2:18 10:1         early 84:14 92:7      either 23:2,19
      194:15,19 195:2        28:2,19 30:9,12        122:2 162:5 191:1     25:11 31:20 38:4
      197:6 198:2            35:19,20 37:4,5      earmarked 111:21        38:19 46:2 47:24
      200:15,22 201:4        44:15 96:21,24         115:7                 67:12 70:13 79:24
      212:4,13,15,16,20      109:18 111:12,18     earmarking              86:18 88:7 94:15
      212:24 213:7,12        112:14,23 113:17       116:11                94:25 97:10 99:25
      214:5 227:2 231:7      115:10,17,24         earns 117:23            101:21 107:20,21
      232:4,7 233:5,6        149:10,13,17,21      easier 125:22           111:2,22 113:20
    domestic 104:3,5,8       150:8,20 154:18      east 2:20               113:22 120:25
      104:14 215:11          155:4,7 156:14,18    eastern 1:3             122:1 133:9
    donna 49:13 70:23        162:12 163:5,10      economic 19:21          136:21 137:18,22
    door 147:16              168:21 174:22          21:14 87:19           138:14,23 141:18
    dormant 121:1            204:1,5 212:22,23      186:17,24             143:19 154:8
    dorothy 121:13           221:22 226:9         economists 181:7        156:8 161:8 183:8
      142:1 143:7,12,17      227:7,9,9,10,14,16     186:15,17 204:23      187:24 189:15
      143:21,22,25           227:19,20              225:23                190:1,7 203:15,17
      144:10,13,18         drugs 26:9 35:7,7      economy 89:11           213:4 219:25
      146:15                 35:8,9,11 36:14      education 44:5          236:2
    double 131:5             44:11 45:1 48:6        64:16 86:20         elected 63:5 118:6
      168:2                  111:15 221:7           107:25 108:8,13     eliminated 168:1
    doubled 30:3           due 17:9 172:8           108:17,19,24        ellis 3:3 9:22
    dozens 101:6             226:21                 109:7 110:2,11,12   email 237:17
    dr 84:17 85:1          duly 10:10 235:7         110:16,18 111:3,5   emergency 221:21
      122:16 123:3           235:10                 111:10,12,13,18       223:10,24,25
      124:10 130:16                  e              112:2,15,23           224:6
      132:23 134:1,16                               113:17 115:10,15    employed 10:16
                           e 5:6 57:23 68:9
      135:8,11,17 138:1                             115:17,25 116:4     employee 139:2
                           earlier 16:20
      138:13 139:24                                 116:17,23 117:2       142:7 147:19
                             22:11 31:24 56:4
                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 77 of 106. PageID #: 242364


   [employee - expert]                                                             Page 16

      218:18 220:17       errata 237:13,18       examination 4:7       exclude 233:4
      232:16 233:4          239:7,10,18 240:1      10:8,12 211:12      excluded 179:20
    employees 52:16       esq 2:3,3,4,10,15        230:19              excuse 113:7
      53:14 54:13 84:5      2:19 3:3,7,12        examiner 84:17          142:23
      87:25 96:15         essentially 21:20        117:12,13,23        executed 239:10
      157:25 158:1          23:1 39:21 50:2        118:10,11 119:17    execution 238:14
      174:10 208:6          66:4 73:22 79:12       119:19,23,24          239:19
      232:21                82:12 86:11 87:22      120:6,13,14,15,20   executive 10:21
    employment 176:2        88:22 117:15           121:3,14,15           85:12 89:21,25
    ems 222:4,5             120:15 121:1           122:22 123:13,21      90:12,14
      224:14                122:20 125:24          124:5,10 125:2,5    executive's 85:13
    enclosed 237:11         128:1 158:8,9          125:10,16 126:2       231:14
    ended 120:13,16         162:9,16 163:9         126:13,18,21        exercise 186:23
      153:1 154:6,8         179:13 214:19          128:20,23 130:19    exhibit 4:14 5:5,6
      162:23              estimate 69:6,11         130:25 131:24         5:9,13,15 11:16,22
    endo 2:8,8 230:16       70:11 214:16           135:12 141:5          68:5,9 69:3,10
    ends 131:10             223:12 224:2           142:12 144:5          176:19 177:4,11
    enforcement 44:6        229:4                  147:8,12              177:14,19 180:24
    entered 52:25         estimated 230:4        examiner's 86:23        182:13,21 183:20
      145:24 152:16       estimates 23:5           117:17 119:9          183:24 184:12
      153:6,21 154:16       47:11 56:18 64:13      128:5,7,10 129:19     185:1,14,25 188:7
      239:9                 64:15,21,25 65:3,6     130:3,12 133:1,16     191:5,5 204:10
    entire 29:19            65:19 87:11 88:3       133:23 134:3,9        211:4 215:14,23
      216:10 238:5          181:16 184:12          135:7 136:3           218:24 219:18,21
      239:5                 223:13                 137:14,18 138:22      220:1,2 228:7
    entirely 165:15       estimation 220:11        139:7 140:21          232:24
      175:13              et 1:9,10,12,14          141:10 146:13       exhibits 4:4 5:1
    entities 73:17          226:16,23              214:3               exist 153:17
      176:8               ethnicity 23:14        examiners 118:15      existence 45:7,21
    entitled 5:13 177:5     28:16                  120:14,18 121:5     expanded 103:7
    entity 79:14,15,16    evaluator 164:22         123:17 124:20,22    expansion 17:9,18
      158:9 174:4 176:2     165:1 175:16,18        126:3,9 129:7,10      198:18
      232:2               event 236:3              141:22 142:7        expenditures
    epidemic 88:23        eventually 155:22      example 102:10          178:10
      89:3 112:2 158:14   everybody 62:11          104:4 212:14        expense 218:25
      169:6 215:4         exact 54:5 79:12         215:10 233:2        expenses 76:8
    equipment 128:6         80:17 92:6 102:19    examples 218:5          117:8 192:5,9
      131:18 132:4,8,25     108:2,10 115:22      excess 116:5            199:16
      133:14,15,21,24       150:5                  159:20              expert 97:3,7,22
      134:4 135:1         exactly 20:21          exchange 99:1           97:23 132:18
                            53:20                                        200:4 232:24

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 78 of 106. PageID #: 242365


   [experts - focusing]                                                             Page 17

    experts 63:10         fall 92:7 219:7          197:18,20 198:1      firms 191:23
      86:10 97:10,14        220:8                  200:23,24 220:22     first 5:15,17 10:10
      178:2,4,9,23        falls 100:15             221:5,17 224:9          10:23 11:2 13:2
      179:15 181:6        family 72:21 78:2        225:20,21,23            16:10 25:20 33:17
      184:2 186:15,18       101:17 106:4           226:3,4,24              36:17 51:3,15
      188:22,23 189:1       213:13              figures 56:21 64:6         53:2 61:9 69:8
      192:18 204:24       far 66:15 140:8          65:23,25 112:19         70:13 82:8 83:3,8
      205:24 225:23         159:4                  180:8,25 188:10         83:24 84:12 85:6
      227:2 233:3         fast 207:6               188:15 189:4,8,16       85:21 88:19 93:4
    expiration 238:19     fault 199:4 202:16       190:1,7 196:17          111:23 121:2
      239:25 240:25       fayette 47:18            223:21                  140:1 143:15
    expires 236:16        fbi 148:10            file 90:10,16 91:22        146:13 155:16
    explain 178:14        federal 10:8 64:4        199:24 202:8            190:24 198:12
    explained 206:22        212:16 213:8        filed 203:10,12            206:22 215:16,18
    explanation             231:7 232:9         files 57:9 59:12,25        221:21 222:9
      190:13 216:7        fee 117:19 119:3         60:1,3,11,13 63:24      223:11 224:1
    exploded 23:17          138:9               fill 141:25                235:10
    expressly 91:3        feel 228:22           filled 142:8 144:17     fits 153:19
    extent 55:13          fees 97:3,4,6,7,23       162:1                five 129:17 130:13
      222:20                123:22 124:2,17     filling 196:10             137:7,9,18 138:23
    extra 114:25            124:20,23 125:11    final 213:5                141:18 147:24
    extreme 195:14          125:21 126:3,14     finalized 144:9            148:18 149:11,16
    extremely 179:16        126:16 128:3,15     finally 202:19             150:2,22 151:4,12
    eyeballed 184:22      fell 141:7            finance 10:20              159:9 167:23,23
               f          felony 98:4 99:12        67:12 79:12 82:24       168:12,16,25
                            99:13 150:8            88:10 94:3 200:14       172:2,22 173:16
    face 195:9
                            162:10 163:7           200:18                  233:11
    faced 120:2
                            168:4 172:19        financial 14:19         flag 18:10
    facilities 131:19
                          felt 43:24 176:14        18:20 131:11         fleet 228:20,23
      172:9
                            214:25                 182:7                   229:2
    facility 95:24
                          female 31:17 33:8     financials 109:12       flexibility 147:13
      174:11
                          fentanyl 39:4,9,21    find 106:8 125:15       flow 73:23
    fact 11:2 17:12
                            41:1,13,15 44:10       147:19 190:19        focus 100:22
      23:21 44:4 51:3
                            45:1 134:10,10,15      191:21,25 192:7      focused 28:23
      52:11 73:25
                            134:24                 237:11                  33:12 74:23 121:2
      104:23 126:15
                          figure 16:1 74:19     finish 168:11              183:9 191:14
      134:8 179:2 183:5
                            86:19 87:5 96:16    finished 123:1             208:23 212:12,15
    factor 204:6
                            108:2,10 109:9      finishes 125:5          focusing 41:18
    fairly 108:19
                            171:6 186:12        fire 222:4 224:14          61:19 87:12
      183:16 222:21
                            187:1,4,15,18       firefighters 223:10        112:13 130:1
      223:17
                            188:2 190:18           223:25                  140:21

                                   Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 79 of 106. PageID #: 242366


   [fold - give]                                                                  Page 18

    fold 85:22 199:19        164:11 168:10       free 238:14 239:20      212:9 213:8
    folks 87:24 88:12        171:21 172:10       freed 17:18             229:18 230:1
      107:23 167:14          178:12,16 182:22    friends 87:25         further 43:22
      183:23                 183:1,21 184:6      front 177:16            45:22 50:24 55:7
    follow 67:18 75:18       187:8,12,19 188:3     202:12 213:18         56:10 66:2 81:20
      230:22                 188:12,17 189:6     full 125:15 146:2       83:13,16 84:6
    following 59:17          189:11,18 190:9       147:11,19,22          181:5 220:13
      84:17 107:22           191:11 193:22         158:1                 233:9 235:18
      151:7 186:2            194:21 195:3        fully 40:11             236:1
    follows 10:11            196:19 197:9,15     fund 128:5,8,13       future 206:4 229:3
    food 106:5,5,9           198:4 199:7,17        131:9,11,11                  g
    force 85:21 196:24       200:1 201:1 202:4     133:19 138:5,8,18
                                                                       gal 166:7
      198:9 202:10           202:17 203:19         138:19 139:4
                                                                       galonski 203:16
    forefront 200:16         204:21 209:10,16      159:14 160:17
                                                                       game 140:19
    foregoing 235:15         209:22 210:11         172:24 212:13
                                                                       gap 147:20
      235:20 238:13          211:1,6 212:11        214:3,5,8 230:2
                                                                       gas 133:3
      239:18                 214:18 217:12         232:15
                                                                       gastro 133:3
    forensic 118:12          220:4,15 224:12     funded 101:2
                                                                       gastrometer 133:3
    forget 142:5 158:7       228:17,19 231:5       173:19 175:13
                                                                       gathering 25:11
    forgive 26:15          formation 167:10        227:16 229:15
                                                                         51:4
      136:19                 174:6                 231:7
                                                                       gdp 87:21 186:20
    forgot 230:15          formed 85:21          funder 73:8
                                                                       gears 214:2
    form 37:10 54:17       former 172:15         funding 72:5,10
                                                                       general 19:20
      65:7 69:17 72:18     forms 196:23,23         72:12,22,24 73:2
                                                                         62:10 71:21 92:2
      77:24 78:12 79:2     fortunate 198:17        73:18,23 75:1,12
                                                                         128:8,13 131:10
      80:2,16,22 83:6,11   forward 112:7           76:7,9 77:5 78:5
                                                                         138:19 160:16
      84:2 85:14 87:8        128:12 190:19         78:17 79:24 101:8
                                                                         172:24 212:13
      90:17,18 92:23         205:16 207:6          101:11,18 105:12
                                                                         232:15 233:5
      94:18 101:25           221:25 237:15         105:16 112:23
                                                                       generally 74:11
      102:18 103:20        found 33:3,9 192:3      113:4 114:7,25
                                                                         111:12 183:16
      107:3,16,17 113:1      201:22,23 223:16      140:13 160:16,17
                                                                       gentleman 154:9
      113:2 114:13         four 35:2 124:21        162:6 167:8
                                                                       gessner 203:15
      115:4,13 117:10        214:9                 169:14 171:3,24
                                                                       getting 55:22
      123:24 125:13        fourth 70:21            174:18,21 176:9
                                                                         107:23 124:4
      126:5,6 127:23         122:13,16,22          176:11 207:9
                                                                         126:21 161:2
      134:13 135:2           124:15 126:11,13      211:25 213:2,2
                                                                       gist 33:15
      140:25 147:25          141:5 226:20          227:10 229:21,23
                                                                       give 35:18 37:9
      148:8,19,24          frame 17:15             232:20
                                                                         42:12 55:15 72:16
      149:12 150:18          133:13 139:5        funds 71:19,21,25
                                                                         73:3 74:8 171:14
      152:11,18 154:4        144:3 192:13          72:17 73:10,13
                                                                         221:2 234:1,10
      154:22 156:19,20       194:13 206:7          165:13,14 172:21

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 80 of 106. PageID #: 242367


   [given - hearings]                                                            Page 19

    given 62:24 63:3,9      196:25 197:3,7,10   grounds 58:3         happened 40:12
      70:11 150:6           197:18 198:18,23    group 23:13,24         122:4 149:4
      213:25 223:21         199:1 200:12          28:15 31:19,22       163:11
      235:12,17             202:11 211:17         36:24,25 37:1      happens 155:25
    gives 73:2,11           216:16 221:1,25       70:4,6 180:7       happy 122:9
      118:13                223:19 226:20       grouped 35:19        harm 84:1,11 85:7
    glenwood 167:11       good 10:14,15           175:5              hate 65:9
      167:21 172:15         14:13 183:8         grouping 35:20       head 73:15 96:17
    global 207:13         googling 25:21,22       36:9,14              117:11 139:1
    go 20:21 22:14        gotten 42:1 169:14    groupings 35:9,10      154:24 156:6
      25:19 32:17 37:11     187:23                35:22 36:6 39:5      206:8,14,19
      38:13 42:2 57:8     govern 105:15,18        48:2                 207:18 208:2
      61:22 70:11 91:12     105:21              groups 23:22,23        218:16 221:1,2
      93:24 101:5 106:6   governing 118:21        31:17              health 2:8,14 9:16
      106:7 114:10        government 49:1       grow 195:17            13:4 22:13 26:15
      125:23 128:4          71:13 84:10 88:25     205:18               26:18 32:1,13,19
      137:10 154:4,11       89:5,7,9 106:16     growing 29:25          32:22 33:23 34:2
      167:16 179:8          118:10 206:9,15       194:5                36:17 37:24 38:7
      180:12 181:25         207:19 208:3        grown 44:21            43:18,22 45:7
      183:8 191:12,15       209:8 231:10,18     growth 204:1,2,6       46:14,18,22 48:11
      191:21 192:4          231:24              guarantee 109:4        49:13,15 71:1,5,7
      193:23 198:23       governments           guess 39:21 72:19      71:10,12,20 72:1
      199:15 200:4          206:24 207:9          84:6 94:5 98:5       72:10,17,23,25
      219:1 222:25        governor 207:7          127:24 138:17        73:3,4,9,12,24
      226:8 230:6         grant 79:5 110:9        141:2 191:21         74:4,6,8,15 75:3,7
    goal 214:15             162:22 165:14         217:19 218:16        75:14,21 76:13,21
    goes 48:4 72:13         212:8,23 213:7        219:4 225:5          77:5,15,22 78:10
      201:5                 227:10,17,25        guy 200:14,18          78:18,25 79:13,20
    going 23:16 25:3        232:14 233:5        guys 113:9             79:25 81:9,18
      43:15 51:20 58:2    granted 140:8                   h            88:11 103:18
      88:21 91:19 93:2      158:2 170:14,20                            110:12 119:25
                                                h 3:12
      106:6 112:7 113:3   granting 140:11                              175:23,24 176:1
                                                half 12:24 49:18
      120:16 122:18       grants 73:7 78:13                            191:17 198:6
                                                  74:20 195:11,11
      124:11 125:20         79:4 161:4 212:1                           226:10 231:16
                                                haller 3:7 9:19,19
      128:12 138:16         231:2,4 232:4                            healthcare 218:8
                                                hand 236:6
      146:5 154:6,11        233:4                                      218:18,22 219:9
                                                handed 76:18
      157:25 161:23       great 206:23                                 219:13 220:17,23
                                                handful 143:2
      164:2,22 165:4        230:18                                   hear 88:3 113:10
                                                handing 215:22
      171:10 182:8        greater 123:21                             heard 231:1
                                                handle 129:8
      187:25 188:6        greta 12:24 14:3                           hearings 85:19
                                                  201:17
      189:13 196:8,21

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 81 of 106. PageID #: 242368


   [held - included]                                                                Page 20

    held 10:22            hit 30:2 134:15        hundred 74:11,14       impacts 199:2
    help 138:11,12          206:23 211:18           74:19 119:6         implicates 51:17
      167:24 214:13       hold 59:8 122:20          183:11                93:19
    helped 43:24 44:6       165:25 168:3         hundreds 127:9         implore 147:20
      45:8                  181:3                   127:14              inability 117:18
    helping 131:22        holds 15:15            hvac 131:19              127:10
      217:17              home 101:4                        i           inaccurate 16:8,21
    helps 102:12            174:23 201:23                                 18:7,12,17,22 19:1
                                                 identification
    henschel 3:15         homework 14:24                                  19:5 22:1
                                                    11:19 68:15 177:1
    hereinafter 10:10     honing 179:6                                  incarcerate 99:9
                                                    177:8 215:20
    hereunto 236:5          183:5                                       incarcerated
                                                 identified 70:7
    heroin 35:13 36:2     hopefully 124:15                                100:5
                                                    75:14 78:22
      39:4,9,23 40:18     hospital 13:5                                 incarcerating
                                                    110:21 180:7
      41:5,12 44:10         22:11,18,24,25                                94:14 100:2
                                                    184:4 185:4,18
    herschel 5:7 68:10      23:4 24:4,5,9,13                            incarceration
                                                    205:17 214:25
    high 122:10 124:8       25:7,15,20 26:1,17                            86:22 94:11 95:17
                                                    225:9 232:7
    higher 138:16           26:19,25 30:22                                95:23 99:5,8
                                                 identifies 101:23
      183:13,18 185:9       31:2,7,14 34:9                                100:6 174:19,22
                                                 identify 9:6 21:24
      206:10,17,21          36:19,21 47:8                                 227:23
                                                    57:10 62:17 78:25
      221:14,17             48:8 154:8 191:16                           incidence 134:23
                                                    102:12 108:21
    highest 47:19           193:25,25 201:16                            incidences 23:6
                                                    109:3 116:16
    hire 119:16,19,22       205:3 229:20                                  29:7,24 30:4,15
                                                    117:7 200:24
      120:5,12,21,24      hospitals 23:7,16                             incidents 30:6,11
                                                    214:22 215:6
      122:13 125:23         24:12 29:8                                    30:17
                                                 identifying 62:15
      126:2,18 137:24     host 72:23 100:24                             include 87:19 95:5
                                                    120:20 214:24
      138:7,14 140:17       101:2 174:24                                  132:7 179:19
                                                    217:24
      142:2,2 144:4       hour 12:23 32:24                                180:20,25 213:2,7
                                                 ilene 90:2,12
    hired 121:23,24         49:18                                         213:11 219:12
                                                 illegal 26:21,24
      125:1 137:22        house 95:22 98:22                               221:16 222:14
                                                    27:12,20 28:10
      138:24 139:3          98:24 99:1,9,14,24                            224:5,22 225:6
                                                    29:1 32:9 33:11
      162:25                100:19 102:22                                 231:2,4,7 232:3
                                                    44:15 45:1 152:16
    hiring 120:13           103:13 107:10,12                            included 26:9,20
                                                    153:2,6 155:23
      122:15 123:16,21      167:12 173:25                                 36:14 38:10 39:2
                                                 illicit 30:18 31:9
      124:10,15 125:4,9     174:1,14,18                                   46:15 55:23,24
                                                    153:21 154:16
      141:24 144:3          227:21                                        56:14,16,20,25
                                                    155:5,7 156:16
      147:7 162:24        housing 87:22                                   57:1,7 58:23 62:1
                                                    209:14,21 210:3,9
      167:23              houston 2:12                                    62:12,13,16,18
                                                    210:18,24 221:6
    historically          hum 20:13 94:13                                 64:13,15,19,20,23
                                                 immediately 16:24
      124:19                116:19 141:12                                 64:24 67:3,5 70:7
                                                 impact 19:21
    history 218:20          217:6 228:12                                  70:13 74:24 75:15
                                                    21:14 23:22 87:19
                                                                          78:3,23 79:4
                                                    89:1,12 186:24
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 82 of 106. PageID #: 242369


   [included - issue]                                                            Page 21

      92:19 110:19        increases 164:3         153:18              interesting 39:15
      129:21 180:8          205:5               individually            155:10
      185:3 187:15        increasing 61:10        188:13              interim 123:12,16
      205:14 213:16,21      133:22 134:23       individuals 94:22       125:21,25 143:6
      219:17,20 220:1       196:9                 95:12 106:20        internal 218:18
      220:11,20 221:16    incur 125:9           infer 152:20            225:24
      222:20 223:20         128:22,25 225:4     information 12:15     internally 87:11
      227:11 228:1,2      incurred 69:7           13:3 38:18 53:4       88:2 179:3
      230:3 232:11          94:21 99:25           56:19 57:18 59:24   interrogatories
      237:13                127:19 130:20         60:19 61:22 63:22     5:17 215:19 216:3
    includes 95:6           135:7 180:3 191:9     86:9 102:5,10       interrogatory
      184:3                 197:21 206:3          103:14,24 104:13      5:11 176:23 216:3
    including 23:22         209:7,13,20 210:1     105:8,21 109:13       216:16,21 217:11
      72:6 218:10           210:15,22             130:9,17 174:17     interval 101:3
      219:15 226:15       incurring 135:17        176:3 181:9,24      intuitive 150:4
    inclusive 29:18         198:2                 182:7 187:4 211:7   investigation
      218:24              incurs 99:21            215:10 216:12         50:24 197:13
    incomplete 54:19      independent             217:10,21             226:16
    inconclusive 52:22      107:14 179:14       initial 69:8 213:9    investigator 131:7
    incorporated            181:6,19,20,22      initially 88:24         131:8 136:22
      239:12                182:9,16            initiate 120:8          137:12,22,25
    increase 16:13,15     independently         initiative 162:7        138:7,12,14,25
      17:1,4,17,21,24       196:25              injunctive 216:23       139:4 140:24
      18:3 41:10 112:3    index 4:1,4,5 5:1     inmate 167:24           141:3,8
      117:21 129:18         6:1 7:1 8:1           168:18,23,25        investigators
      150:6,8 152:22      indicate 27:25          172:2,6,11,22         136:1,2,5,6,9,15
      159:14 162:11,13      150:9 208:19,20       173:16                137:3,5,6,7,19
      162:14 166:2        indicated 23:11       inmates 168:3           138:24 141:19
      168:4 171:12          54:18 179:4           172:9 219:2         investment 225:17
      172:16 176:12         186:15,20           instance 78:1         investments
    increased 17:18       indicating 217:14       104:13                131:17
      39:23 40:19,23        237:13              instruct 58:2         involve 130:13
      41:6 129:23 130:1   indicators 186:17     instructed 58:5,9       227:23
      147:24 148:2,5,7    indigency 97:24         58:13 67:24 77:10   involved 29:12
      148:17,22 149:1,8   indigent 95:2,7       instructing 93:18       31:9 94:1
      149:10,14 150:10      97:18,20 98:5       instruction 58:8      involving 150:21
      150:16,21 151:4       166:3 196:20,22       58:12 67:23 75:17     154:19 156:18
      151:19 169:1          198:12                77:8,18 234:2,10    ish 122:25 139:5
      174:6 197:16,20     indirectly 217:20     interaction 106:16    issue 91:7 92:4
      203:6 207:11,12     individual 11:8       interested 122:18       110:13 120:2
      226:14 227:6,13       60:4,10,13 62:14      122:19 236:3          126:15 131:22

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 83 of 106. PageID #: 242370


   [issue - know]                                                             Page 22

      157:21 163:4       job 72:21 78:1          101:15 165:18,19   202:12 208:12
      191:20 192:15        101:16 106:3          165:21,23 166:2   knew 15:4 85:16
      194:10,11 197:24     118:8 122:17,21       166:11             186:12 214:21
      198:14 201:5,7       213:13              juveniles 98:20     know 18:18 20:20
      204:8 207:16       jobs 120:4                      k          25:3 29:18 34:3,8
    issued 33:21 34:2    john 3:12 203:16                           37:2 38:8 41:5
                                               kearns 49:12
      34:11 38:3,5,6     johnson 3:2,2 9:22                         52:18 59:16 63:11
                                                 60:15,18 62:2,6
      44:23                9:23 12:25 14:3                          63:23 75:9 79:11
                                                 80:11,13,14 81:21
    issues 14:20 85:23     16:21 19:8                               85:15,16,17 90:13
                                                 109:12 110:14
      138:5 200:17       johnson's 14:22                            91:23 94:4 97:8
                                                 151:24
    item 233:2             15:22 16:2,6,24                          102:19,22 105:5
                                               kearse 2:4 9:12,12
    items 110:20           18:6,9                                   106:22 107:4,4,18
                                                 90:22 91:8,13
      222:2              join 142:3                                 107:20,21 110:4,5
                                                 93:7,14
              j          joined 146:16                              110:9,10 115:23
                                               keep 91:19 93:8,15
                         joining 144:14                             119:1,2 126:9
    j 2:3,15 237:5                               102:15 120:22
                         jones 3:11 9:18                            132:5,12,14,19,22
    jackson 1:21 2:19                            138:20 144:5
                         jonesday.com                               134:14 135:3,5,6
      9:25                                       147:21 182:11
                           3:14                                     138:4,19 144:7
    jacksonkelly.com                           kelly 1:21 2:19
                         journal 201:20                             145:23 146:6
      2:21                                       10:1
                         joy 156:2                                  147:12 148:1,15
    jail 156:24 167:11                         kentucky 2:20
                         judge 1:8 156:1,2                          148:15,16,20,21
      167:13,21,22,25                          kept 144:7
                           165:22                                   148:25 149:4,6,25
      168:3,5,13,22,23                         kermit 200:6
                         judges 155:17                              150:13 152:7
      169:2 171:12                             key 23:20 41:7
                           164:1,9,10                               153:14 154:5,6,25
      172:6,11,15,16                           keyes 2:15 4:8
                         judgment 123:20                            155:1 157:4,14,20
      173:2,8,10,14                              9:15,15 10:3,13
                         julie 49:11                                161:16 166:7
      183:14,19 185:10                           51:23 52:5 65:11
                         jump 211:17                                181:8,10,21
      196:10 198:14                              65:17 90:20,24
                         jumping 196:12                             183:22 185:17
      215:7 218:23,25                            91:20 93:4,9
                           196:18                                   186:9,11 187:1
      220:16,23 221:1                            113:8,14 124:25
                         jurisdiction 34:20                         190:12,12 194:18
      221:13,14                                  126:24 127:6
                         jurisdictions                              194:25 195:5
    jane 2:19 9:25                               202:22 203:4
                           118:21,25                                197:10 199:9
    janssen 3:2 9:22                             211:11 230:17
                         justice 86:13                              200:3,3 201:4
    january 1:18 9:2                           kids 165:25
                           95:16 98:10 99:22                        205:10,13 208:13
      236:7 237:4                                201:22
                           100:17,20 106:3                          208:15,17 211:20
    jason 90:6 92:10                           kind 31:17 32:7,15
                           152:17,23 153:7                          211:21 212:23
    jen 49:10 66:18                              57:9 62:10 85:22
                           153:22 154:7,17                          213:20 215:6
      113:20                                     97:6 117:2 134:15
                           155:24 156:13                            216:7,11 217:9
    jennifer 5:6 68:10                           134:19 136:20
                           210:16                                   219:5,20,25 220:3
    jerry 49:10 113:20                           140:19 141:6,7
                         juvenile 95:20                             220:6,21 225:6
    jfs 213:20                                   147:9,20 195:9
                           98:16,19 99:23                           226:2 228:4
                                                 197:1 201:14
                                  Veritext Legal Solutions
    www.veritext.com                                                      888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 84 of 106. PageID #: 242371


   [know - looked]                                                                   Page 23

      229:20,22 232:14    laughing 113:10           162:10,20,21,23        178:25 181:15
    knowledge 18:21       law 44:5                  167:16 188:19          185:9 201:22
      82:14 85:10 91:5    lawful 10:7               191:19 198:10          211:17,19 214:22
      91:7 157:12 211:3   lawsuit 90:11,16          213:25 226:7           218:6
      233:1                 91:22 117:14         levy 16:13,13 17:1      live 198:19 207:5
    known 12:15             199:24                  17:4,7,16,21 112:8   lives 48:6
      87:18               lawyers 48:17             114:3 159:13         llp 3:3,7
    knows 113:16            63:4 95:5,6,12          207:2,11,12          local 64:4 162:13
    kohler 84:17 85:1       182:18 184:2            212:13,15 232:7,9      162:23 176:16
      122:16 123:3          192:17               lexington 2:20            206:24 207:9
      124:10 130:16       lead 32:12             licensed 118:12           212:19 231:8
      132:23 134:1,16     leaders 85:11          licensure 154:9           232:7
      135:8,11,17 138:1   leading 212:5          limited 28:23           located 118:2
      139:24 140:1,4        220:12                  30:12 88:24 96:23    locum 123:17
    kohler's 138:13       leads 213:23              198:16 222:7           142:18
      140:11              learn 22:20 32:25         226:15               locums 144:4
    kurt 3:15               49:25 60:9,12        line 91:17 110:20       long 48:4 49:17
              l             63:19 67:1 73:19        191:6 204:12,22        102:14 126:9
                            75:19 78:16 79:22       233:2 237:13           199:1
    l 1:25 235:6
                            83:24 84:8,10,15        239:7 240:3          longer 102:21
      236:13
                            199:23               lines 84:5 202:12         129:13
    l.p. 1:10,12,14
                          learned 22:23 67:7     list 34:24 35:13,16     look 32:3 51:1
    lab 128:5 131:3,9
                            185:13                  36:10,14 75:12         53:3 104:9 119:1
      131:11 132:1,2,7
                          leaving 120:16            101:6 152:4 217:4      124:3 137:11
      133:19 138:5,8,18
                            144:14                  217:16,18 218:2,2      165:4 179:8
      139:4 214:3,5,8
                          led 36:20 44:8            218:3,5 224:24         181:12,14,25
    laboratories 214:7
                            134:25 163:3            229:10,12,17           190:19,19,21
    lack 117:20
                            167:9,10             listed 28:18 36:19        191:15,25 193:24
      140:13 160:17
                          left 121:15 122:5         36:23 38:13 50:11      194:7 198:5
      169:14 171:3
                            141:25 142:1,25         87:7 116:17,20         203:24 204:1
      176:10 200:9,10
                            143:3,13,17,20,21       213:20 217:15          205:2,6 209:1
    large 31:23 87:3
                            143:25 144:10           228:14 239:7,17        213:5 217:3 218:7
      152:24
                            145:3,4,6,6 146:15   listing 78:13 79:4        224:24 228:8
    larger 168:23
                            146:19 233:12           152:12 239:7           229:17
    largest 62:23
                          legal 63:7 89:21       listings 38:14          looked 17:1 22:10
    late 49:20 53:1
                            237:1 240:1          lists 12:3                23:10 26:18 29:23
      84:14 89:17 92:7
                          legally 106:7          litigation 1:6 9:4        31:25 37:25 68:25
      121:23 122:2,3
                          length 90:6 92:10         237:6 238:3 239:3      102:23 114:15
      162:5 164:7
                          letter 237:19          little 13:3 25:23         149:7 152:10
    latest 184:8
                          level 98:6 104:12         31:21 52:21 92:3       184:24 186:16,19
      213:10
                            106:7 129:7             117:4 165:21           208:14 214:23

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 85 of 106. PageID #: 242372


   [looked - mental]                                                             Page 24

      218:17 221:23       main 1:22 2:20 3:4     89:4 127:24 129:5     214:3 218:9,17,22
    looking 16:4 23:14     33:15 37:22           147:10 153:16         219:2,13 220:16
      32:14 36:21 37:23    162:24                173:9 188:21         medication 33:7
      38:18 41:20 116:7   maintaining 128:9      198:24 200:15        meet 49:3
      120:12 163:2,8       131:19                202:8 208:13         meeting 12:22
      188:25 189:7,12     maintenance            217:13,15 219:25      13:13,16 48:16,24
      191:4 196:8 197:2    128:6                means 55:23            49:5,9,17,19,22
      197:16 205:15,16    major 57:5,6           131:14 179:14         50:1,2,16 51:5,9
      228:9 232:12         101:18 229:8          198:20 207:6          52:6,10 53:9
    looks 215:25          majority 31:20        measurement            54:11 55:7,16,19
    lose 128:8             127:25 159:20         204:3                 55:20,22 56:2,5,9
    loser 131:15          makeup 86:10          measures 147:20        56:12,22 57:25
    loses 127:8,14        making 231:3          media 192:11           58:7,11,15,19,22
    losing 124:1          male 31:17 33:8       medicaid 17:9,12       58:25 59:4,6,12
      125:11              manage 125:23          17:18 103:8,8,9       60:8,16 61:1,17,19
    loss 124:18 226:21    managed 212:17         106:10 198:18         61:20 62:3,7,9,10
    losses 225:16         management 64:1        212:18                63:1,14,20 64:7
    lost 86:24 87:23       102:12               medical 84:17          65:2,22 66:6,9,11
      123:12,22 126:9     managers 159:10        86:23 107:23          66:19,23 67:14
      126:15 130:21       mandatory 44:18        117:12,13,17,22       68:2,19,20,25
      131:24 141:8        manpower 89:1          118:10,11,15,15       69:15,20,23 70:1,4
      154:9 186:3 187:6   mark 68:5              119:9,17,19,23,24     70:6,17,24 73:20
      187:10,14           marked 5:3,13          120:6,12,13,14,15     75:14 76:2,4,17,18
    lot 17:10 74:23        11:18,21 68:5,14      120:18,19 121:3,5     76:19,23 77:14,20
      84:4,5 103:6         69:2 176:25 177:6     121:14,15 122:19      78:4,8,17 79:8,17
      119:18 129:3         177:7,10,12,13        122:22 123:13,17      80:6,15,20 81:3,9
      163:10 198:25        215:19,22             123:21 124:4,10       110:23 151:24
      211:18              marketing 191:22       124:19,21 125:2,5     179:21,24 180:6
    louisiana 2:11         192:3,8 200:9,9       125:10,15 126:2,3     181:1,4,11,18
    low 162:9,20          master 91:1            126:8,13,18,21        184:5,10,13,14
      167:16              matching 212:16        128:4,7,10,20,23      185:3,5 212:6,7
    lower 53:25 54:4      matter 9:3 82:9        129:7,10,19 130:2     213:6 214:15
      147:7 181:15         83:4,10               130:12,19,25          220:13,14
      206:10,11,12        mcconnell 3:12         131:23 132:25        meetings 84:18
      207:19,21,24        mckesson 3:6 9:20      133:16,23 134:3,9     85:19 197:23
    lumped 116:24         md 1:7                 135:7,12 136:3       members 25:17
             m            mdl 1:6                137:14,17 138:22      63:6
                          mean 17:23 20:2        139:7 140:21         memory 21:4,5
    m 2:19
                           24:20 33:25 73:16     141:5,8,9,22 142:7   mental 103:18
    madam 237:10
                           74:3,19 76:10         142:12 144:5          226:10
    mail 5:6 57:23
                           84:7 86:20 87:9       146:13 147:8,12
      68:9
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 86 of 106. PageID #: 242373


   [mention - nelsen]                                                              Page 25

    mention 230:15         194:15,19 195:1      moneys 111:2           national 1:6 5:16
    mentioned 21:10        195:11,15,18,21      monitoring 174:23        9:3 215:17 216:24
     22:11 29:15 31:16     196:5 200:7,21         200:10 227:23          237:6 238:3 239:3
     48:15 78:21 83:23     201:4 227:2          monthly 84:23          nationally 19:23
     94:11,20 95:15       millions 5:13         morgue 201:18            21:15 120:3
     98:3,22 100:11        177:6 197:6,6,6      morning 10:14,15       nature 19:24
     102:9 105:7           198:2                motioning 213:18       nauseam 220:19
     117:12 132:1         mind 25:3 117:3       motley 2:2 9:8,10      necessarily 75:10
     147:18 148:13        mine 228:5              9:12                   104:6 123:25
     152:21 183:6         minor 57:6 62:22      motleyrice.com           200:16
     186:18 224:13         64:18 118:7            2:6,6,7              necessary 120:22
     228:25 231:16        minute 82:3           mouth 93:8               132:11
    met 13:8 74:25         124:25 154:2         moving 85:10           need 97:22 103:18
    method 205:8           202:23                 153:2 221:20           106:9 113:14
     233:3                minutes 65:10           223:8,23               120:21 124:8
    methodologies          200:5 230:25         mpendell 2:6             128:19 134:3,4,25
     94:6                  233:11               mt 2:5                   144:8 171:4
    methodology           miscellaneous         multi 147:9              202:20
     182:7 185:20,21       110:20                 190:18               needed 134:11
     186:22               misdemeanor 98:7      multiple 92:16           147:14
    metroparks             99:13                  195:12               needing 138:14
     225:12               missing 94:10         municipal 98:6         needle 201:21
    michael 2:3 237:5      180:13,21            murray 110:6           needs 207:16
    mid 164:7             mitigate 202:11,21      111:1                nelsen 1:17 4:7 5:5
    middle 113:11         mjbrannon 2:21        mute 113:10              5:7 10:7,14 11:15
    midwest 237:17        mobile 201:16                   n              11:18,22,24 68:5,6
     240:1                monetary 216:23                                68:8,11 69:2
                                                n.w. 2:15
    mike 9:8              money 64:7 73:3                                112:10 127:7
                                                naeem 3:3 4:10
    millage 17:24 18:3     74:7 76:10,11                                 176:18 177:3,11
                                                  9:21,21 90:25
    miller 13:1 15:10      79:25 98:23                                   177:12,13,19
                                                  91:12,18 230:20
     18:15 19:9            101:14,23 108:13                              180:24 182:12,21
                                                  233:8
    million 44:20,22       108:18,24 110:10                              183:20,23 184:12
                                                naloxone 223:11
     74:20,21 87:13,16     110:12 115:2                                  185:1,13,25 188:7
                                                  223:15
     108:3 111:8,21,25     117:23 119:18,20                              191:5 203:5
                                                name 16:5 71:9
     112:7 114:2 115:9     120:24 128:14                                 204:10 211:4,12
                                                  133:4 156:10
     115:16,21,24          131:21 162:23                                 211:14 215:13,23
                                                  211:14 237:6
     116:5,12 120:1        176:11 190:25                                 219:18 220:1
                                                  238:3,4,15 239:3,4
     186:4,25 187:3,17     195:6 199:6                                   223:8 230:19
                                                  239:21
     188:1 190:14,16       227:17 231:8                                  235:9 237:8 238:4
                                                named 235:9
     191:9 192:22,25       232:10                                        238:9 239:4,13
                                                narrative 39:16
     193:3,6,9,12,15,18                                                  240:20
                                                  40:11 46:10,23
                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 87 of 106. PageID #: 242374


   [nelson - objection]                                                           Page 26

    nelson 10:12           20:5,5,10,14,16,21     211:4 216:17,21       8:15,15,16,16,17
      230:21               21:3,9,21,23 93:7      218:19 222:7          8:17,18,18,19,19
    never 57:7 74:22      notice 5:5 11:16        223:18 237:7,13       37:7,10 54:17
      132:13 168:11        11:23 12:7           numbers 28:22           58:1 59:7 65:7
    new 3:8,9,9 56:18     noticed 41:14           64:9 129:20 166:8     67:22 69:17 72:18
      67:3 147:22         november 5:11           178:14,17 179:16      77:7,17,24 78:12
      157:16,22 158:5      49:20 159:14           179:18 181:14         79:2 80:2,16,22
      158:17 159:6,16      176:24 179:21,25       183:18 184:2          83:6,11 84:2
      159:22 160:11,21     181:1,5,18 184:4,9     185:8,9,16,17,22      85:14 87:8 90:18
      161:12,18,25         184:13,14 185:2        194:7,9,12 195:7      91:4,11 92:23
      162:2 163:14         212:6,7 213:6          197:14 204:19         94:18 101:25
      164:15 165:6,12      214:15 220:12,14       205:6,11,14           102:18 103:20
      165:12 166:12        221:24                 218:24 219:18         107:3,16,17 113:1
      167:2 168:15        number 5:3,8            221:17 239:7          113:2 114:13
      169:4,17 170:1,8     11:22 23:11 26:22              o             115:4,13,19 116:2
      170:16,23 171:3,7    27:2,6,10,17 28:5                            117:10 123:24
                                                oarrs 44:4,18,21
      171:19,24 173:3      28:9,15,25 29:4,5                            125:13 126:5,6
                                                  45:8,8,21,22
      173:14 174:1,8,14    29:6,7,24 30:16                              127:23 135:2
                                                  152:21 153:1
      175:8,10,14,24       34:24 35:3,18                                140:25 147:25
                                                object 37:10 90:17
    news 191:18            36:10 37:14 38:24                            148:8,19,24
                                                  93:6 134:13 211:1
      192:11 201:18        39:13,20 40:5,8,9                            149:12,18,23
                                                objecting 154:3
    night 32:4 33:21       42:3 44:1,7,12,21                            150:3,18,23 151:6
                                                objection 6:3,3,4,4
      37:25 47:1,5         44:23 45:3,9,14,18                           151:21 152:11,18
                                                  6:5,5,6,6,7,7,8,8,9
      193:24               45:22 47:15,16,19                            153:8,23 154:20
                                                  6:9,10,10,11,11,12
    nominal 222:21,23      48:3,13,17 50:4,4                            154:22 155:9
                                                  6:12,13,13,14,14
      223:18               51:11 52:8,12                                156:19,20,22
                                                  6:15,15,16,16,17
    non 26:21 41:9         53:6 54:6 55:8,12                            164:11 168:10
                                                  6:17,18,18,19,19
      49:7 78:6 142:7      58:16 59:13 60:20                            171:1,21 172:10
                                                  6:20,20,21,21,22
      158:12 161:15        68:6,13 69:3                                 178:12,16 179:22
                                                  6:22,23,23,24,24
      162:9 167:16         84:19 102:19                                 181:2 182:22
                                                  6:25 7:3,3,4,4,5,5
      172:19               104:10 113:5                                 183:1,21 184:6
                                                  7:6,6,7,7,8,8,9,9
    north 74:18            129:18 130:2                                 187:8,12,19 188:3
                                                  7:10,10,11,11,12
    northern 1:2           136:13 148:4                                 188:12,17 189:6
                                                  7:12,13,13,14,14
    notarized 237:14       149:19 150:7,10                              189:11,18 190:3,9
                                                  7:15,15,16,16,17
    notary 235:6           150:20 151:2,3,11                            191:11 193:22
                                                  7:17,18,18,19,19
      236:13 237:25        151:18 152:13,24                             194:21 195:3
                                                  7:20,20,21,21,22
      238:10,18 239:15     153:4 161:3 168:4                            196:19 197:9,15
                                                  7:22,23,23,24,24
      239:23 240:23        170:6 177:12                                 198:4 199:7,17
                                                  7:25 8:3,3,4,4,5,5
    note 237:12            186:8 190:20                                 200:1 201:1 202:4
                                                  8:6,6,7,7,8,8,9,9
    notes 13:2 19:12       194:3,4 201:17                               202:17 203:19
                                                  8:10,10,11,11,12
      19:17,18,20,25       203:6,11 205:18                              204:21 209:10,16
                                                  8:12,13,13,14,14
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 88 of 106. PageID #: 242375


   [objection - opiate]                                                          Page 27

      209:22 210:11         146:14 148:5         35:18 36:10,19,20     221:10 222:18
      211:6 212:11          149:1,14 150:9       37:24 38:7,25         224:19 225:10
      214:18 217:12         160:12,14,15,20      39:13 40:2,18,22      228:8 229:14
      220:4,15 224:12       161:11,12,14         41:1 42:4,19 43:7     231:15,25 232:12
      228:17 231:5          166:25 167:3,5       43:18,22,24 44:4    old 133:23
    objections 4:5          168:8,24 169:5,16    45:6 46:13,17,22    oldfield 156:2
      5:10,16 6:1 7:1       170:2,9,17,22        47:8,14,20 48:8,9   once 89:18 163:6
      8:1 176:21 215:17     171:19,24 172:1      52:24 118:6 128:3   ones 52:17 57:5,6
    objective 190:4,10      173:1,8,13 176:7,8   162:7,15 163:2        57:6 62:22 150:25
    obviously 84:4          178:5 183:14         176:20 186:21         222:6 228:10
      87:3 106:1,12         195:19,22,25         191:16 193:24,25      229:15
      219:8                 196:3,6 197:19       205:3 207:7         ongoing 179:5
    occasions 82:22         203:11,13,25         215:15 235:2,7        186:3 187:10
    occurred 17:2,14        207:7 214:4 222:6    236:7,14 237:2        204:13
      144:2 162:13,14       231:14 236:6       okay 17:3 20:10       op 1:10,12,14
    occurring 197:17      officer 165:6,12       22:8,14 23:25       open 62:10
    october 236:16          175:10               24:7 28:1,4 32:3    operate 165:22
    offenders 162:10      officers 161:21        32:11 33:17 34:24   operated 124:19
      162:20 163:5          162:1,3 172:18       35:10,17,22 39:8      167:11
      168:4 172:20          176:12 213:1,4       41:18 42:12 43:4    operating 96:17
    offenses 162:18         223:10,25            48:23 51:19,23        98:19 99:21
      167:16              offices 104:22         56:20 57:24 59:3    operation 126:8
    offer 97:10,15        official 71:9          64:14 66:10 69:1      174:8
      122:17                230:17 238:15        71:22 72:8 73:1     operationally 17:8
    offers 229:13           239:21               74:25 75:5 81:1       125:23
    offhand 34:3 97:8     officials 48:5         96:12 106:17        operations 18:21
      145:23 157:20       offshoots 162:24       108:12 112:10         89:14 164:19
      164:6               oh 63:5 64:22          117:6 121:2,4,25      173:11
    office 84:20 85:13      129:25 137:6         126:24 131:23       opiate 1:6 9:4 23:3
      86:24 94:22 95:1      189:23               139:21 141:9          23:8 25:21 26:6
      95:5 108:15,16,22   ohio 1:2,9,13,22       143:11 144:22         26:10,11 28:20
      109:14 110:1,2        3:4,13 5:9,15 9:5    146:3,12 166:11       29:1 30:13,15,17
      111:2 116:25          13:4,5 19:22         168:6,17 169:15       44:7 50:6 53:5,10
      117:17 119:9          22:11,12,18,23,25    169:20 173:22         54:22,25 64:3,5,8
      128:7 129:19          23:4 24:3,5,9,13     174:12 180:23         64:23 66:1 72:7
      130:3,12 133:1,16     25:6,15,19 26:1,14   184:11 187:25         72:13 73:8,24
      133:23 134:3,9        26:16,17,19,25       188:25 191:4          74:16 75:3,8,13,23
      135:7 136:3           28:3,3 30:22 31:2    192:7 202:22          76:8,14 77:6
      137:15,18 138:22      31:7,14,25 32:12     212:21 216:6,11       78:10,19 79:1
      139:7 140:22          32:18,22 33:6,23     216:20 218:4          80:1 82:8 83:3,9
      141:10 142:3          34:1,8,8,17,20,25    219:24 220:7          85:20 86:14 87:25

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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 89 of 106. PageID #: 242376


   [opiate - overdosing]                                                           Page 28

      88:23 102:13         160:22 161:13,18       209:21,21 210:2,3    overall 87:19,23
      103:3,24 104:7,15    163:15 164:16,23       210:9,10,17,18,24      149:2 183:15
      106:8 110:13         165:20 166:12          210:24 221:8           186:24 207:13
      112:2 131:22         167:4 168:9 169:6      228:15                 224:24
      150:5,10 155:22      169:7,17 170:10      opportunities          overcrowding
      155:23 157:21        170:18,23 171:9        86:25                  162:8 165:8
      163:12 164:24        171:20 172:3         opportunity 47:2       overdose 19:23
      171:4 191:20         173:15 174:2,15        117:16                 21:17 22:13,21
      196:24 198:9         175:25 190:25        opposed 24:23            23:2,4,6,9,15 26:2
      202:9 212:3          191:10 192:5,8,23      60:4                   26:11,23 27:3,7,11
      218:19 237:6         193:1,4,7,10,13,16   options 174:25           27:23,24 28:2,6,10
      238:3 239:3          193:19 194:16,20     order 5:12 103:11        29:6,8,24 30:6,11
    opiates 25:22          197:7 198:3 199:6      126:3 127:20           30:23,23 33:7
      26:20,21 28:23       200:21,23 204:8        128:18 176:24          36:24 37:3 38:25
      32:10 33:11 35:12    206:4 209:8 210:7      229:1                  39:13 40:2,18,21
      44:7,8 50:6 51:12    214:17 215:4         organizations            40:25 42:4,19,25
      52:9 66:22 69:7      218:10,14 219:14       25:18                  43:7 44:15 47:12
      69:12 74:9,15        224:1,6,10 232:5     oriana 95:22             47:17 48:3,13
      78:5 101:1 111:16    232:13                 98:22,24 99:1,9,14     84:19 130:14
      194:11             opioids 27:24            99:24 100:19           194:1 205:5
    opine 93:6             35:23 39:4,19          101:3 102:22,24      overdosed 42:6,25
    opinions 97:11,15      40:3 41:19 44:2        103:13 107:9,12        43:6,12
    opioid 19:21 21:14     45:10,15 52:25         167:12 172:16        overdoses 23:11
      26:24,24 27:4,8,12   55:10,13 58:18         173:25 174:1,3,14      23:15,18 27:16,18
      27:13,19,20 28:6     59:15 60:21 68:2       174:18 219:6           28:15,18,19,21,23
      28:10,11 29:2,12     73:5,12 85:2           227:21,24              29:1,5,6,11,11
      30:18,19,24 31:4,9   108:14,14,24,25      original 12:6            30:8,12,13 31:3,8
      31:10 36:13 41:23    109:7,8,21,22          50:24 55:24 56:13      33:5 34:17,19,25
      41:25 42:7,21        110:3,3,16,17          56:16 64:13,15,24      35:4,6,18 36:10,23
      43:1,8,12 45:19,24   111:4,4,19 112:15      65:2 68:24 129:21      37:14 39:18 41:23
      54:15 60:22 73:5     112:16,24,25           135:16 179:11          41:25 45:3,14,18
      73:13 83:25 84:10    113:18,19 115:11       182:3 184:7            45:23 47:15,16,19
      85:7 101:24 102:8    115:12,18,18,25      originally 16:10         84:22 85:2 113:6
      102:17 103:17        116:1 117:9,9          56:25 64:19 131:8      134:24 152:23
      106:21 107:2,11      150:21 152:15,15     outlined 61:9            194:2,11 196:9
      107:12 130:5,7,14    152:16,25 153:2,5      202:6                  201:15 205:18
      150:1,15 151:3,11    153:6,6,20,20,21     outside 90:18 91:2       209:20 210:1
      151:18 152:2         154:15,15,16,19        91:10 118:2            218:11 219:15
      155:20 157:16        155:4,6,8 156:15       182:18 184:1           221:23 224:1,7
      158:5,14,17 159:7    156:16,16,18           186:17               overdosing 26:23
      159:17,23 160:13     157:1 209:14,15

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 90 of 106. PageID #: 242377


   [overload - percentage]                                                        Page 29

    overload 118:18       participated 25:11      146:19 147:6          194:21 195:3
    overtime 131:6         48:16 49:7 63:13       176:15 231:9          196:19 197:9,15
      135:23,24,25         155:19               payroll 141:4           198:4 199:7,17
      171:12              participating         pays 98:23 227:25       200:1 201:1 202:4
             p             25:17                pellegrino 1:25         202:17 203:19
                          particular 33:13        235:6 236:13          204:21 209:10,16
    p 2:3
                           35:7,8 36:24 37:1    pendell 2:3 9:8,8       209:22 210:11
    p.m. 127:2 233:19
                           37:4,5 38:8 39:21      12:23 13:8 20:25      211:1,6 214:18
    page 12:3 186:1,1
                           72:5 90:1 96:21        37:7,9 51:16,19       217:7,12 220:4
      196:12,18 216:17
                           102:1 104:23           54:17 58:1,8,12       224:12 228:17
      217:3,15 228:10
                           111:5 134:17           59:7 65:7 67:22       231:5 233:10
      228:11 232:25
                           179:12 183:14          69:17 77:7,17,24      237:5
      237:13,15 239:7
                           188:11,15,16           78:12 79:2 80:2     people 23:8 27:23
      240:3
                           189:4,9,10,16          80:16,22 83:6,11      28:1,5,9 42:24
    pages 229:11
                           190:2,6,8,8 198:6      84:2 85:14 87:8       43:6,11 48:5,17
    paid 97:9 99:24
                           221:13 232:19          90:17 91:10,16        79:18,18,19 85:12
      131:15 133:18
                          particularly 103:5      92:23 93:18 94:18     88:11 91:2 93:5,5
      146:3,5,14,22,23
                           167:15                 101:25 103:20         93:12 94:15 97:15
      176:6 212:8 213:3
                          parties 101:8           107:16 113:1,7        98:13 99:9,17
      232:8
                          parts 16:2 123:18       114:13 115:4,13       100:2,4 101:24
    pain 87:23
                           209:7                  115:19 116:2          102:8,17 103:7,16
    pam 110:6
                          party 93:13 236:2       117:10 123:24         104:22 106:5
    paper 47:9
                          pass 93:7 211:11        124:24 125:13         107:11 120:3
    par 2:8,9 230:16
                          passed 201:20           126:5 127:23          152:14,24 153:4
    parents 201:19,20
                          pathologist 118:13      134:13 135:2          154:5,12 155:3,14
    park 225:4
                          patients 218:9          140:25 147:25         155:15,18,21
    part 33:24,25
                           219:14                 148:8,19,24           156:13 172:14
      61:14 71:13 72:13
                          patrol 222:8            149:12,18,23          192:12 200:8,13
      74:1 96:17 97:24
                          patrols 224:20          150:3,18,23 151:6     201:17 210:7,15
      100:19 105:9
                          pay 17:11 71:25         151:21 152:18         210:23 213:14
      134:21 147:9
                           97:4,7,16,23 98:5      153:8,23 154:3,20   people's 209:13,20
      152:6 159:12,13
                           128:5 133:20           154:22 155:9        percent 15:20,24
      162:6,6 175:4
                           138:7,12 143:4,11      156:19,22 164:11      16:3 18:24 39:17
      195:10 199:12
                           144:11,15,19           168:10 171:1,21       40:2,10 42:5,19
      207:13 213:4
                           145:16 147:2,15        172:10 178:12,16      44:2,12,24 53:7,10
      218:21,25 225:13
                           165:11 172:22          179:22 181:2          53:19 54:1,5,15,22
      227:2 231:17
                           214:6 218:23           182:22 183:1,21       55:1 119:6 149:15
      239:9
                           222:13 224:21          184:6 187:8,12,19     186:20
    partial 146:10
                          paying 17:12 96:1       188:3,12,17 189:6   percentage 29:11
    participate 13:12
                           97:14 129:11           189:11,18 190:3,9     30:17 31:8 40:13
      24:12,18,21 46:9
                           142:16 143:8,23        191:11 193:22         40:17,21,25 41:22
      49:21 228:4
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 91 of 106. PageID #: 242378


   [percentage - position]                                                           Page 30

      41:25 42:13 43:4       person 42:6,21          219:9                point 13:24 23:18
      43:5,6 45:17             43:7 45:18 140:16   pills 200:7,11          42:4,18 45:3
      54:21,24 55:9            147:22 155:16       pin 20:4                47:22 84:21 86:16
      58:17 59:14 60:20      personal 91:5,6       pinpoint 215:3          89:10 121:13
      130:3,10 152:1           155:11              pipeline 123:14         124:13,18 126:22
      155:3 156:12           personally 104:18     place 9:5 25:20         130:15 142:25
    percentages 41:5           153:24 154:25         85:6 88:19 153:1      144:22 153:18,24
      41:12 56:1 151:9         155:1,12 156:6        164:5 179:14          154:14,21 155:17
    perform 57:9               238:11 239:15         235:19                196:23 197:1
      117:18 119:14          personnel 57:2,10     placed 175:20           199:3 202:20
      120:21 126:19,23         57:19,24 62:19      placement 50:5,5        214:24 217:4,16
      127:10,20,21             75:16 78:22 86:11     50:7,8 51:11 52:8     217:18 219:8,13
      128:2,18 132:11          86:11 135:25          55:8,9 56:23          220:10 221:12,20
      132:21 143:12,16         210:22                58:16,17 59:13,14     225:16 226:8
      144:11,19,24           persons 142:19          60:20,21 61:2,7,10   police 223:10,25
      145:17,22 146:4        pertaining 90:23        62:4 87:3 152:1,5    political 89:7,9
      146:14,20 147:2,6      peveich 5:6 49:11       159:19                225:13
      147:11                   66:18 67:1,8        placements 52:12       polster 1:8
    performed 129:19           68:10 80:21,25        52:20 53:10 54:15    pool 87:3 218:18
      130:2 132:13             81:2,25 82:4          54:21,25 55:12,12     222:11
    performing                 83:14 113:20          60:4                 pools 62:14,15,18
      117:23 119:10            116:10              plaintiff 186:2         181:13,14 185:18
      123:22 124:2,12        pharma 1:10,12        plaintiff's 5:9         185:19
      125:12 126:4             1:14                  176:20 226:9         population 31:23
      128:15 129:1,4         pharmaceutical          227:7                 168:23 169:1
      130:12,22 131:25         2:9                 plaintiffs 5:15 9:9     172:6,12 226:22
      143:24                 pharmaceuticals         9:11 215:15          porter 2:10
    period 33:5 34:14          2:8,8 3:2           plan 122:16 123:4      portion 128:10
      35:2,4 37:15,17        pharmacy 5:16           141:4                 232:8,10,14
      38:15,21 39:14,23        215:18 216:4,24     plans 142:1            portions 15:10,18
      40:16,22 44:17         phone 10:4 113:9      playing 140:19         pose 171:17
      82:15 88:6 92:8          113:10 233:10       pleas 101:16           posed 216:4
      108:4 112:11             237:3                 161:17,20 163:14     position 10:19,22
      113:5 123:8            physical 60:1           164:1,14 165:7        15:15,16 63:16
      125:25 143:6           physician 107:15        175:4,8 228:2,6       67:10 71:4 79:10
      146:15 171:13,25       physicians 107:22     pleasant 2:5            118:11 122:23
      190:19 191:14          picked 113:4          please 9:6 113:9        125:24 126:17
      194:7,9 196:7,23       picture 201:19          237:11,11             140:14,17,18,23
    periods 183:9              207:13              plus 29:23 128:25       140:24 141:3,6,25
    permission 115:2         piece 132:4,8,24        129:9 136:9,15        142:8 157:19,22
                               133:14,21 135:1       164:9                 158:5,17 159:6

                                      Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 92 of 106. PageID #: 242379


   [position - problem]                                                           Page 31

      165:1 175:16,18       110:22 178:1         prevention 64:16     privilege 51:17
      192:18,21 194:15      184:13 189:1,14        73:24 86:20        privileged 58:3
    positions 157:16        189:22 192:17          111:14,18 112:5    pro 221:19
      158:13 159:10,16      205:22,25              112:15,24 113:18   probably 15:20,24
      159:22 160:11,18    preparing 93:25          115:11,17,25         33:15 47:24 48:4
      160:21 161:13,18    prescribed 41:24         116:4,20,22,23       49:18 50:23,23
      161:25 162:2,25       44:13                  117:2,8              53:2 54:19 59:2
      163:14 164:15,18    prescription 1:6       previous 20:12,15      84:13 92:15
      164:20 165:6,13       9:4 26:20,21,24        21:22 42:7 62:16     104:11 110:6
      165:18 166:12         27:4,8,13,19 28:11     87:4 102:23          111:20 114:16
      167:3 168:7,15        29:2,12 30:19,24       150:25 151:14        120:10 121:16,21
      169:4,17 170:1,8      31:4,10 32:9         previously 17:11       122:3,25 136:21
      170:16,23 171:3,7     33:10 35:12,23         68:4 78:15 83:22     138:17 152:24
      171:19,25 173:3       36:13 39:4,9,19        110:21 177:13        164:6 178:25
      173:14,18 174:1       40:3 41:9,19,23,25   prices 87:22           186:22 199:11,12
      174:14 175:9,10       42:7,21 43:1,8,8     primarily 56:23        214:9 218:1 221:1
      175:14,24 176:9       43:12 44:1,8 45:9      57:2 75:16 78:22     222:3
    positive 119:7          45:14,19,23 83:25      96:5 101:1 136:1   probation 95:19
      181:11                84:10 85:7 108:14      162:11 168:19        95:21 98:8,13
    possession 150:8        108:25 109:8,22        207:1                99:23 161:21,25
      162:12 163:5,10       110:3,17 111:4       primary 73:8 87:2      162:3 163:1 165:6
      204:1,5               112:16,24 113:18       88:14 96:11          165:12 172:18
    possible 105:6          115:11,18 116:1        102:25 110:8         175:2,8,10 176:5
    possibly 51:22          117:9 130:5,6,14     prior 20:15 25:23      176:12 213:1,3
      133:12                152:14,25 153:5        31:10 37:6 42:8      227:24
    posted 46:6             153:19 154:14          42:22 43:9,14      problem 124:6
    pots 73:18              155:4,22 156:15        54:8 55:20 62:19     157:17 158:6,17
    practicality            156:25 209:14,21       66:8 82:15,18,18     159:7,17,23
      142:14                210:2,9,17,24          82:20 135:13         160:13,22 161:13
    practice 142:11,13      221:8 237:6 238:3      138:5 164:4          161:19 163:15
    practices 191:22        239:3                  172:13 182:1         164:16 165:20
      192:4,8             prescriptions            216:8                166:13 167:4
    preliminary 51:3        44:13,23 45:9        prison 162:8,17,19     168:9 169:7,18
    prepare 12:18           218:20                 167:15               170:10,18,24
      19:14 21:3 43:19    presence 235:14        prisoners 156:24       171:5,9,20 172:3
      49:22 67:15 81:21   present 3:15 49:5        162:16 165:9         173:15 174:2,15
      83:18,21 88:15        66:18                prisons 162:14         175:25 190:25
      135:20 177:24       presently 112:8        private 95:1,6,11      191:10 192:23
    prepared 67:16        pretty 93:10             97:19 161:15         193:1,4,7,10,13,16
      68:24 69:3,11         181:14 185:22          174:3                193:19 194:16,20
      70:16 75:17 86:8      229:8                                       197:7,11 198:3

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 93 of 106. PageID #: 242380


   [problem - put]                                                                Page 32

      199:6 200:21,23     property 190:17         76:2,3,4 77:9         75:13,21 76:13,21
      202:21 206:5          207:1,2               78:13 86:9 99:9       77:5,15,21 78:9,18
      209:8               proportion 214:4        106:20 138:19         78:25 79:13,20,25
    procedure 10:9        prosecute 97:4          147:13 162:22         81:9,18 86:22
      234:7 238:5 239:5   prosecuted 94:24        165:14 178:5,9        88:11 94:20,21,25
    processes 200:10        95:13 96:3 97:12      187:4,9,13,16,20      95:5,10,17 97:19
    produce 17:25           98:20 148:4           187:22 203:10,22      110:11 161:11,12
      138:11                149:19 154:18         205:3 216:11          161:14 162:15
    product 51:17           156:17 203:6          217:9,22 219:7        175:23,23 176:1
      58:4 67:23 93:2     prosecuting 97:11       224:5 225:22          198:6,7 203:24
      93:20                 100:1                 226:6 227:20,20       225:4 226:14
    production 237:15     prosecution 100:1       230:1 232:19          231:16 235:6
      237:17,22           prosecutions          provider 105:16         236:13 238:10,18
    productivity            149:13                105:19,22             239:15,23 240:23
      87:21,23            prosecutor 95:18      providers 100:25       pull 167:20 203:17
    profit 161:15           95:19,25 99:22        101:12,22 102:6       219:2
      174:4               prosecutor's 148:5      102:16 103:14        purchase 128:6
    profits 158:12          148:25 149:14         105:11 106:18,19      133:7 135:1
    program 108:16          150:9 160:12,14       106:25 107:1         purchased 133:1,2
      108:18,22 109:15      160:20 176:8          158:10 229:18,24      133:8,15 134:4
      109:18 110:1          203:11,13,25        provides 72:10,12      purchases 133:18
      111:3 155:17        prosecutors 96:1        72:21,24 99:2,14     purdue 1:10,11,13
      162:18 166:7          96:10                 100:19 108:17        pure 151:2
    programming           protocol 93:10          191:16,17 227:24     purely 208:23
      72:23 165:24        provide 20:23           229:21,22            purports 107:10
      166:6 167:25          29:10 31:12 40:13   providing 72:13        purpose 21:2
      168:20,21 174:10      55:3,17 57:21,22      96:19 100:14         purposes 11:18
      219:6                 60:18 73:4,12         102:7,16 103:16       68:14 116:24
    programs 110:8,9        75:3,11 101:23        105:25 107:11         176:25 177:7
      163:9 174:23          103:1,14,23           119:4 218:8 223:9     215:20
    projected 27:15         105:19 109:12         232:17               pursuant 5:11
      27:18,22 28:5         113:21 118:22       psycho 164:21,21        98:23 176:23
    projection 205:16       168:19 174:9,19       164:25 175:18         234:3,6
    projections 205:3       174:22 213:14       psychological          pursue 96:2
      205:4 206:3           216:22 222:8          101:4                push 162:20
    projects 204:16       provided 10:8         public 36:17 48:5      pushed 167:14
    prompt 19:4             14:11 24:14 30:22     49:13,14 71:1,5,6    put 87:5 94:7
    prompted 25:19          31:2,8 55:14          71:8,9,12,19 72:1     129:22 131:9
      55:22 134:8           58:22,23,24 59:4      72:10,17,22,25        139:4 141:5
    proper 91:4             60:14 61:14,16        73:3,4,9,11,24        178:21,23 179:3,9
      221:22                63:21 64:10 75:25     74:4,5,8,15 75:2,6    181:7 204:23

                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 94 of 106. PageID #: 242381


   [put - redesignating]                                                             Page 33

     208:18 209:5                    r            realized 197:11        receipt 237:18
     214:14 220:12         racial 31:18           realizes 200:19        receive 101:8,12
     229:2                 radar 41:16            reallocating             101:14,20 105:12
    putting 25:1 36:25       198:24                 207:15                 105:16 118:22
     182:8                 range 53:19 55:1       really 31:15 41:15       161:4 167:17
             q               87:14,15 120:11        74:22 85:22 89:13      171:24
                             137:13 175:22          126:14 128:7         received 16:15
    qualified 134:6
                           ranjan 3:12 4:9          138:4,18 144:6         42:6 55:20 68:19
     235:8
                             9:17,17 211:13,15      147:16 183:5           69:25 75:21 77:6
    qualify 120:4
                             222:25 223:7           198:12,21 201:14       77:15,22 78:9,18
    quantify 96:12
                             230:6                  224:18 229:8           80:19 212:1 213:8
     132:22 209:6
                           rata 221:19              230:14,21 231:8      receives 75:7
    quarter 119:25
                           rate 145:19 147:23     reason 106:21            79:25 102:10
    question 51:14,21
                             148:2,6,10,16,21       237:14 239:8         recess 52:2 65:14
     51:22 59:9,17
                             149:2,10,13,17,21      240:3                  127:3 203:1 223:4
     63:12 78:15 91:9
                             150:1,15             reasonably 12:16         230:10
     91:14 93:16,17
                           rates 19:24 21:17        215:2                recession 198:15
     97:18 106:23
                             22:13,13,21,22       reasoning 140:10         206:23
     107:5 112:10,12
                             33:12 151:1,8        reasons 17:6 74:22     recipient 107:13
     113:23 115:14,15
                           rationale 138:13         213:12               recognize 215:23
     134:6 147:10
                           reach 110:14           recall 15:7 25:25      recollection 70:15
     148:14 150:24
                             135:11                 27:15 35:17 36:8       76:20 77:12 82:8
     151:10 153:3
                           reached 143:2            39:7 41:7 42:18        85:3 114:8 139:2
     154:13 156:3,5,8,9
                             202:20                 43:25 47:23,24,25      146:25 147:4
     156:11,23 168:6
                           react 198:16             48:19 49:15 50:12    record 9:2,7 51:25
     171:17 189:19,20
                           reaction 92:2            53:8,19,25 54:5        52:4 65:12,15
     211:22 219:23
                           read 15:9,14,19,20       55:18 61:4 65:20       127:1,4 202:24
     227:15 231:3
                             15:23 16:2,3 24:8      65:20 66:16 74:17      203:2 215:9 223:1
     233:11
                             40:10 46:25            75:24 76:4 77:25       223:2,5 230:7,8,11
    questioning 218:6
                             191:19 233:15          77:25 78:4 79:3,6      230:15 233:16
    questions 12:14
                             238:5,6,12 239:5,6     80:8,11 81:4 83:7      239:9
     14:14,16,17,19,21
                             239:17                 83:9,12 89:22        records 107:23
     14:23,25 15:5,6
                           reading 15:3             92:6 93:23 115:22      152:9 219:2
     32:6 91:2 135:9
                             16:21 24:23 33:20      123:5 137:10,11      recover 199:25
     152:7 155:11,11
                             47:4 237:19            145:23 146:9         recovery 229:12
     177:18 201:10
                           realigned 168:13         157:24,24 159:4        230:2
     211:16 233:13
                           reality 125:16           160:8,10 161:3,6,8   recreation 168:19
    quick 230:14
                             143:22 168:12          161:10 163:24          168:20
    quiet 93:15
                             199:10 217:23          164:6 166:9,20,22    redesignating
    quite 155:21,25
                           realize 16:11 19:4       166:24 177:21          167:11
     171:16 179:1
                                                    206:22

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 95 of 106. PageID #: 242382


   [reduce - requested]                                                            Page 34

    reduce 43:25 45:8       60:22 65:21 66:1      121:22 133:4,6         34:16 37:6 46:2
    reduced 45:17,22        66:22 68:1 69:9       134:20 135:4           74:1 107:2,8
      235:13                69:12 72:6,13         143:9 201:19         reporter 4:14 10:6
    reducing 45:14          73:5,8 74:16 75:3     221:12                 238:7
      207:5                 75:8,23 76:7,14     renee 1:25 235:6       reporter's 4:12
    reduction 44:12         77:6 78:10,19         236:13                 235:1
    refer 95:25 97:25       79:1 80:1 86:12     rep 81:22              reporting 29:5,21
    reference 214:6         95:20,21 96:8       repeat 189:19            30:5 34:5
      237:7 238:2 239:2     97:22 102:13        rephrase 227:15        reports 22:10
    referenced 98:8         132:16 150:1,15     replace 133:15           33:16 46:2,15
      235:13,17 238:11      151:3,11,18 152:2     140:16                 47:1 48:7 51:6
      239:15                157:21 164:23       replacement              56:5,10 57:21
    referred 14:23          166:3 191:6 192:1     228:24                 58:14,23,24 62:24
      47:10                 203:24 204:13       replacements             101:21 102:23
    referring 89:25         218:10 219:14         131:18,20              103:14 178:10
      95:18 132:15          221:6,7 223:13      replacing 133:23         180:21,22 189:13
      148:10 182:12         228:15 230:4          229:2                  191:18 192:11
    reflected 65:5,18       232:13              report 27:2,6,10         201:18
      65:24 183:19        relates 1:8 56:7        33:3,18,22 34:2,10   represent 95:7,12
      184:19                97:19 100:16          37:13,20,25 38:3       211:15
    reform 163:4            101:1 110:13          38:10,13,16,20,23    representative
    refresh 21:4,5          116:13 117:16         39:12 40:1 42:9        11:5 12:4 49:23
      114:8                 224:10                45:6,12 47:10          155:12 229:24
    refusing 172:8,19     relating 58:15          48:9 57:18 59:1,4    representatives
    regarding 58:16         69:7 73:12 200:6      61:15,16 63:8,9        48:24
      63:1 67:8 68:1      relative 236:2          64:10 66:11 67:15    representing 93:5
      74:9 78:17 95:16    relatives 87:25         67:18,19,20,21         94:22
      108:13,24 109:7     relayed 181:9           68:1,3,18,23 69:14   reputable 25:16
      110:2,16 111:4,18   relevant 222:3          69:19,22 70:1,3,8      25:17
      112:15,24 113:18    reliable 53:2           70:14,16,21 75:25    request 20:22
      115:11,18,25        relief 216:23           76:1,6,16,22 77:4      51:13,20 67:17
      117:9 152:21        religious 168:22        77:9,13,19 78:3,6      75:11 93:1 114:7
      234:2,11            relocate 125:17         78:7,21,23,24 80:5     114:18,20 120:25
    regardless 128:2      remember 22:24          80:14,19 81:2,5,8      138:4 140:1,5,7,12
    reimbursed              28:22 29:20 31:13     86:7 92:24 102:4       158:2 159:9,11,14
      103:11                33:20 34:10 35:14     103:9,10 105:22        167:6,7,9 170:5
    rejected 91:3           35:23 36:6 37:19      110:22 185:2           176:16 239:9,11
    related 23:3,8 26:7     39:5,8 41:11,19       194:4 205:4          requested 18:2
      26:11 30:13 44:7      42:9 43:17 65:24      225:22                 65:22 114:1 138:1
      52:24 53:6,11         80:12,17 81:1       reported 26:1,6          139:22,24 157:19
      54:15,22,25 56:24     84:21 103:5 108:2     28:14 29:4,16          157:23 158:13

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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 96 of 106. PageID #: 242383


   [requested - sat]                                                             Page 35

      159:9 168:14        responsible             50:10 53:13 54:12   rotary 222:12
      169:13,19,20,22       200:25                57:9 58:15 59:12    roughly 23:2 26:4
      170:3,12,19 234:1   restore 123:15          59:21,24 61:22        30:4 31:22 44:12
      234:6,10              124:11,22 125:20      67:3 82:16 83:1       53:6 87:13,16
    require 106:18,25       126:11,14 167:25      151:25 152:5,6        108:5 182:24
    required 52:24        restricted 160:16       234:2,6 237:12        185:8 194:13
      103:9,10 106:7      restrictions            238:1 239:1           208:6 221:2
      237:25                160:17              reviewed 12:24          222:11
    requirement           result 86:14 89:3       13:18,24 14:2       routinely 155:25
      153:1                 120:23 131:21         16:6 18:14,23       rpr 1:25
    requirements            163:11 165:8,8        19:3,11 24:25       ruled 91:1
      118:8 122:22          167:19 168:3          50:21 51:2 60:10    rules 10:9 234:3,7
      123:6                 169:6 172:17          60:13 63:23,24        238:5 239:5
    requires 97:21          174:5                 64:3 65:21 68:17    run 87:13 134:20
    research 13:3 22:3    resulted 27:3,7         68:20 69:14 70:4      172:9,16
      22:5,8 24:10          30:17                 148:9,11,12         running 17:13
      25:23 43:18         resulting 30:23         179:21 180:2        runs 108:16
      223:16                31:3 83:25 84:11      218:19                136:20 155:17
    reserve 112:1           85:7 130:5 210:1    reviewing 21:2,23     rural 118:14
      115:3 233:14        retail 5:16 215:17      24:3 33:1 65:1                s
    residency 122:21        216:4,24            reviews 44:20
                                                                      s 237:15 239:8,8
      123:1,5 125:6       retained 4:14         revise 56:18
                                                                        240:3
    resident 142:3        retired 143:7         revised 76:22 77:4
                                                                      sacwis 52:12,25
    residents 47:16,17    retires 140:16        revisited 138:9
                                                                        53:3,14 54:13
      47:20               returned 237:18       rice 2:2 9:9,11,13
                                                                        56:7,11,13 58:15
    resources 92:3        revenue 17:25         right 16:25 88:4
                                                                        59:21 60:5,7,14
      119:14 123:10         86:25 126:10,12       123:9 133:13
                                                                        62:12 63:25
      207:15                127:16 130:21         151:10 170:6
                                                                        151:25 183:6
    respect 99:20           131:24 138:12         175:17 191:2
                                                                      safety 48:5 198:8
      232:23                186:3 187:2,7,11      212:3 226:12
                                                                        203:24 226:15
    responder 222:9         187:14 198:20         233:15
                                                                      salaries 129:11
    responders 221:22       208:10,13,15,21     rise 50:7 61:1,7
                                                                      salary 119:24
      223:11 224:1          209:2 225:17          62:3
                                                                        176:12
    responding 222:9        226:21 232:15       risen 172:12
                                                                      sales 87:21 190:17
    response 5:10           233:6               risk 125:10
                                                                        207:1
      82:12 84:23         revenues 87:22        road 140:15
                                                                      sample 132:18
      176:21 217:14         131:13 206:25         171:15 222:8
                                                                      samples 214:6
    responses 5:16          207:2 222:15        role 157:4,7
                                                                      sanitary 225:7
      215:16 216:3        review 13:15,21         217:17
                                                                      sat 20:7 50:3 121:1
      223:24 224:6          14:9,15 18:6,9      roof 131:19
                                                                        184:23
                            19:7 22:21 45:6

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 97 of 106. PageID #: 242384


   [save - showing]                                                                 Page 36

    save 48:6                179:13 186:5          106:18,18,25,25      sewer 225:7
    saw 16:23 25:13          191:5 194:2,3,4,8     119:4 158:10         sex 23:13 28:16
      25:14 201:7            204:14 213:13,17      167:24 168:18,25     shape 228:19
    saying 42:10 91:8        216:21 217:1,2        172:2,22 173:16      shapiro 90:2,4,8
      91:13 95:4 116:23    seeing 31:13 84:22      217:25 229:18,24       90:12 91:21,25
      119:8 128:13           134:9 201:9,18,19     232:13,17              92:12,13,15,19
      161:24 182:11        seek 216:24           services 17:19         share 53:16,21
      187:21 196:8         seeking 106:5           49:12,13 50:15         54:2,7 55:6 64:7
      197:2                  107:7 116:17          52:16,23 53:14         89:19 92:5
    says 26:10 107:14        130:20 131:1          54:13 57:8 62:8      shared 53:8 54:11
      186:1                seeks 107:6 186:2       62:25 63:2 72:14       56:21 59:20,23
    scenario 105:6         seen 69:22 150:5        72:21,22 73:5,8,12     89:20,21,22
    scene 134:16             152:9,12,19           74:16 75:3,8,23        110:23
    schedule 119:3           180:16 181:24         76:14 77:6 78:2      sharing 59:6
      138:9                  182:1,2 216:8,9       78:11,19 79:1,18     sheet 23:10 237:13
    school 122:19            227:3                 80:1,6,15 96:15        239:7,10,18 240:1
    scope 90:19 91:3       sees 197:14             98:13 99:2,5,6,8     sheriff 167:20
      91:11 154:4,23       self 107:2              99:15 100:19           173:1,8,9,10,11,13
      188:18 199:8,18      semi 127:24 141:1       101:17,23 102:7        173:14 183:14,19
      200:2 201:2 202:5    send 118:17,18          102:16,21 103:1        183:19 185:10,10
      202:18                 201:16                103:16 105:18          222:10,11
    screens 120:22         sending 214:6           106:1,2,4,10,19      sheriff's 108:15,16
    seal 236:6 238:15      senior 72:22            107:6,8,11,14          108:22 109:14,25
      239:21               sent 114:23 172:15      108:17,18,23           110:2 111:2
    second 5:10 12:3       sentence 88:9           109:6 110:15           116:25 166:25
      37:25 48:2,10,11     sentenced 162:17        111:14 112:4,6         167:3,5 168:8,24
      51:13 59:8 65:8      sentencing 162:21       114:23 116:25          169:5,16 170:2,9
      69:14,19,22 70:1,3     163:3,4 167:13        158:11 159:5,8,15      170:17,22 171:18
      70:8,13 120:25         174:25                159:21 167:18          171:23 172:1
      139:23 140:2,11      separate 73:1           168:21,22 174:20       173:1,8 176:7
      140:17 176:20          108:6 109:25          174:22,23 213:13       183:14 222:6
      181:3 185:7 218:7      116:22 176:2          213:14 222:5,13      shifting 88:25
      219:13 220:10          184:25 185:1,21       224:9,14 226:10      shocked 92:3
      223:1                  205:24 209:12,19      226:15 227:19,22     shocking 190:20
    secondary 102:25         209:25 210:6,14       229:12 230:2         shortage 120:3
    see 11:25 12:3           210:21 225:12         231:10               show 11:21 107:10
      16:7 17:1 18:5,15      227:5               set 5:17 215:18          134:19 152:9
      18:24 25:14 30:21    service 64:17           236:5                showed 38:24 65:2
      31:1,6 32:14 44:9      101:11,22 102:6     sets 134:19              114:15
      44:25 45:2 84:23       102:16 103:14       seven 200:22           showing 57:18
      104:17 105:3           105:11,16,19,22                              68:4 83:9 84:20

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 98 of 106. PageID #: 242385


   [showing - split]                                                             Page 37

      147:15 177:10      situation 42:5,20       125:17 144:4          38:18 39:7 43:2
      201:17               118:5 131:12          147:15 154:25         47:21,25 50:13
    shown 82:9 237:16      154:10 155:1,13       155:1 156:7           74:17 80:9,11
    shows 83:3 102:6       155:15 156:7        somebody's              85:16 106:13
      103:15               164:24                104:15                109:3 110:18
    shut 93:8            six 136:5,9,15        somewhat 17:8           111:23 112:12
    side 74:18 93:11       137:18 138:24         123:7 198:16          113:23 134:14
      106:3 184:17,17      141:18              sorry 63:7 113:7        157:20 212:2
      184:20,20 208:15   sixth 137:21            113:12                214:11 216:15
      208:24 228:23        138:24              sought 16:15            222:1
    sign 233:15          size 226:22             135:13              specified 235:20
    signature 234:5      skimmed 16:4          sounding 94:8         spend 32:22 65:25
      236:12 237:14      skoda 49:13 70:24     source 36:20            66:2,3 110:2
    signed 119:6           73:19,21 75:1,20      38:14 208:10,13       112:14 115:2
      238:13 239:18        78:17 79:15 81:10     208:15,20 209:2       214:5
    significant 166:2      82:2 83:17          sources 38:13         spending 21:11
      228:15             skyrocketed 39:22       73:23 75:2,12         50:20 66:5 108:13
    signing 237:19         41:2 191:15           76:7,9 78:5           108:23 110:10,12
    siloed 197:1         skyrocketing            101:18 211:25         119:9 190:25
    similar 15:15          44:10,25 194:6      south 1:22 2:5          194:19 197:5
      42:12 63:21 64:1     195:8 196:17        spaces 225:4            199:5 200:21
      179:16 181:14        200:20              speak 84:6,12           214:10
      185:23 221:4       slides 132:17           85:15 93:6,12       spends 80:1 110:1
      228:5              slots 162:1             111:1 116:9           110:16 111:7
    simple 123:25        slowly 29:25 194:5      132:12 188:23       spent 50:8 61:2,10
    simply 24:25           195:17                199:20                61:13 64:4,4,5,7
      231:4              smacked 195:9         speaking 226:1          75:12 78:25 79:6
    sincerely 237:21     small 73:7            special 91:1            95:11 101:23
    single 93:13         smaller 56:24           112:23 114:1,12       102:7,15 103:15
    sir 168:6 171:14       73:18 96:9 110:20     116:11                104:10 107:10,24
      237:10               111:20 112:18,20    specific 60:3 61:21     108:2,7,7,18 109:7
    sit 179:11 182:4       112:21 146:11         61:23 77:14 96:14     109:14 111:2,7,18
      186:21 194:7       social 114:23           109:21,23 110:9       113:17 115:24
    site 22:25 36:17     society 87:20           111:15,16 112:17      120:11 171:7,11
    sitting 108:21       soliloquy 91:16         116:6 117:7 132:1     179:1 192:22
      121:22 122:8       solution 134:21         135:19 148:14         194:15 195:6
      164:13 168:5       solutions 2:8           152:4 154:13          201:4 204:8 219:8
      219:11 220:21        162:21 237:1          166:8,8 168:7       spike 144:1
      224:8 225:19         240:1                 205:13 232:2        spiked 205:20
      226:2              somebody 97:5         specifically 15:8     split 115:22
                           104:4 107:6           29:9,23 35:13

                                  Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 99 of 106. PageID #: 242386


   [spoke - summit]                                                                Page 38

    spoke 211:24            162:7,13,15,17       story 200:5           subsidizing 131:10
    spot 144:17             163:2,3 165:9,14     streamline 218:6      substance 155:23
    spread 195:12           172:8,9,13,18        streams 198:21        substances 33:11
    spreadsheet 5:13        175:13 176:6         street 1:22 2:11,15     33:13
      25:2 177:4            198:15 201:15          2:20                substantiate 55:16
    square 55:25            207:8 212:16         strictly 191:14       suffered 131:20
    ss 235:3                213:3,8 231:7          206:6 208:14        suffering 87:24
    stab 69:9               232:9 235:2,7        strike 195:13           218:9 219:14
    staff 50:9 57:3,3,4     236:14 238:10        strong 164:24         suit 88:21 202:8
      61:3,13,25 62:7       239:15                 165:23              suite 1:22 2:11 3:4
      74:1 84:18 90:7     state's 162:8          structure 190:16        237:2
      120:15 166:5        statement 238:13       structuring 94:2,6    summa 229:20,22
      167:7                 238:14 239:19,19     struggling 138:18     summaries 180:2
    staffed 129:6,6       states 1:1               196:11              summary 88:15
    staffing 64:22 87:1   statewide 34:22        stuck 31:16           summer 89:17
      127:21 159:10       statistic 41:8 48:9    studied 157:13          92:7
      164:2,9 167:22        53:17,21 54:2,7      study 24:18,20,21     summit 1:9 2:2 5:8
      169:13 226:16         55:3 150:14            27:1,9,21,25 28:7     5:9,13,15 9:13
      228:1                 152:19                 28:12 29:3,14         10:16,21 11:5,9
    stamps 106:5,10       statistical 204:3        30:10,20 33:9         12:4,10,16 13:9
    standard 36:25          205:7                  104:16,18,25          15:16 18:2 19:22
      134:19              statistics 25:12         105:3,6 185:18        21:15 23:14,19
    start 124:11,13         26:12 41:9 44:19       186:19 225:24         29:22 47:18 48:1
      144:3 161:2           46:6,11,19,24        stuff 131:20            48:18,25 49:23
      171:10 196:8,12       47:10 50:3 52:19       136:20                52:23 62:25 63:3
      201:8,18              55:7,14,17 58:21     subdivision 89:7        63:9 68:13 71:7,8
    started 51:3 142:6      59:3,5,19 62:11,12     225:13                71:9,12,13,18,19
      143:8,16 144:23       104:9 148:11,12      subdivisions 89:9       71:25 72:1,4,9,10
      146:19 152:24         150:7 193:24         subject 82:9 83:4       72:16,17,20,24,25
      156:25 195:8          203:10,22              83:9                  73:2,3,4,7,9,11,11
      196:21,21 197:16    stats 148:12           subjects 21:8,10        73:23 74:3,5,8,15
      197:22,23,24        status 159:11          submit 83:1             75:2,6,13,20,21
      202:7 230:13        statute 128:4          submitted 67:17         76:13,21 77:5,15
    starting 174:7        stay 121:2             subscribed 238:10       77:16,21,22 78:6,9
      201:25              steadily 172:12          239:14 240:21         78:18,24 79:13,19
    starts 207:8          steam 113:4            subsequent 51:6         79:24 81:9,18
      216:17              stenotypy 235:14         56:5 69:10 180:16     83:24 84:3,7,9,11
    stat 150:5            steps 196:16 197:4       180:19                85:8,11,20,24
    state 17:12 43:24       197:25 198:7,9       subsequently            86:17 88:23,24
      47:14,20 52:24      stop 144:1 147:20        57:17 67:16           89:5,6,12 97:10
      64:5 89:11 123:18                                                  98:18,23 99:21,25

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 100 of 106. PageID #: 242387


    [summit - tell]                                                               Page 39

       100:23,25 101:4       229:13 231:9,9,16   sworn 10:10             155:14 179:24
       101:12,20 102:5       231:17,24             235:10 238:10,13      200:5 212:25
       103:15 107:24       summit's 233:2          239:14,18 240:21      214:2 220:18
       108:7 110:11        sums 216:23           synthetic 26:21         221:5 226:11,17
       116:16 117:8,14     superior 237:1        system 44:4 52:12       227:8
       117:22 118:3,9,17   supervising 136:5       63:24,25 64:1,2     talking 19:17
       118:19,20 119:11    supervisors             86:13 95:16 98:10     77:19 84:18
       119:16 120:5,8        136:10,16,24          99:22 100:17,20       127:15 151:8
       121:6 122:11,13       137:1,7,15 138:23     102:12 103:10         160:15 171:10
       125:1,8 126:1         141:15                152:17,23 153:7       173:10 175:7
       127:8,19 128:22     supplement 128:9        153:22 154:7,17       179:2 197:24
       128:25 130:11,19      128:14                155:24 156:13         198:1 202:7
       131:1,12 142:15     supplemental 5:10       162:8 163:6 165:9     231:15
       142:20 143:4,11       176:20                167:15 210:16       target 94:8,9
       143:15 144:10,14    supplied 181:23       systems 105:9         targeted 162:19
       144:18,23 145:7       185:17 205:9          131:19              tariq 3:3 9:21
       145:16 146:19,22    supplies 72:5                   t             91:17
       147:5,23 148:4,6      132:3,8,10,14,16                          tariq.naeem 3:5
                                                 table 36:18
       148:17,22 152:14      132:20                                    task 85:20 196:24
                                                 tables 38:23
       153:4,14 155:12     supplying 182:6                               198:9 202:10
                                                 take 19:25 20:5,25
       157:13 158:6,18     support 222:16                              tax 17:24,25 18:3
                                                   23:20 24:1 25:8
       164:1 165:11        supporting 100:1                              87:21 186:3 187:1
                                                   26:13 45:11,16,25
       172:21 174:19       suppose 229:3                                 187:6,10,14
                                                   47:4 51:23 66:4,7
       176:19 177:5        sure 38:12 59:16                              190:15,17,17
                                                   66:9 124:24
       178:2,10 182:17       59:18 65:11 85:17                           207:1 225:17
                                                   126:24 127:18
       184:1 186:24          87:2 91:15 93:10                            226:21
                                                   140:7 194:8
       190:15,24 191:8       121:13 124:25                             taxes 207:2,2
                                                   196:16 197:4,25
       192:17,18,21          135:5 146:12                              taxpayers 231:9
                                                   201:9 202:22
       193:21 194:1,2,14     165:3 194:24                              tcap 162:18 213:2
                                                   209:1 225:5
       194:18 197:5          211:23 214:23                             tease 212:8 221:6
                                                   233:12
       198:8 199:3,5         217:21 219:10                             technical 133:22
                                                 taken 1:21 17:10
       200:19 202:2,15       228:9 229:21                                134:2
                                                   92:4 194:14
       206:3,9,15,23,25      230:22                                    technically 231:17
                                                   235:19
       207:13,18 208:3     surface 124:3                               telephone 2:9,18
                                                 talk 25:6,10 44:11
       209:7 210:15,22     surprised 31:21                               9:24
                                                   46:13,17,21 51:21
       211:25 212:1        surrounding                                 tell 18:18 32:16
                                                   93:2 135:20 173:1
       214:17 215:14         118:14                                      53:5 61:6,12 75:5
                                                   175:3 178:22
       216:2 218:13        survey 153:9                                  104:13 148:3
                                                   228:20
       219:16 222:22       surveyed 156:24                               149:1,24 174:5,12
                                                 talked 50:3,7 78:2
       223:12 224:2,10     swear 10:6                                    181:8,12 188:1
                                                   104:21 116:18
       225:12 226:1,12                                                   201:3,8 208:5
                                                   135:16,18 150:7
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 101 of 106. PageID #: 242388


    [tell - today's]                                                                Page 40

       211:8 215:5          thank 20:24             194:24 198:5,22     time 10:24 11:2
       216:15 219:11          113:11,15 233:14      199:10 200:8           13:25 17:3,14
       228:18 229:6         the15 18:19             202:6 217:23,23        18:1 32:21 37:15
     ten 148:7,23 149:8     theirs 76:4             219:22 220:8,18        38:15,20 39:14
       149:22 150:16        thing 16:9 18:8         220:24,25 222:9        40:16,22 44:17,23
       151:19 164:2           31:15 37:22 38:22     223:18 225:22          47:22 74:1 82:8
       202:23                 41:14 47:7 176:4      227:18 228:18          83:3,8 84:13 85:6
     tend 165:24              179:10 190:12         229:6                  108:4 113:5
     term 39:22 111:13        195:6 198:17,22     thinking 17:15,16        117:20 119:10
       126:10 199:1           205:1 219:4           63:5 154:9 155:16      125:15 129:8
     terms 25:1 78:14       things 17:9 19:24       173:11                 133:7,13 134:18
       88:25 103:23           21:21 33:2 35:15    third 101:8 123:13       137:13 139:5
       221:15 222:7           55:21 62:12 72:23     124:10 125:24          144:3,13 146:13
       229:4                  86:13 94:10 102:2     126:21 141:8           147:11,19,22
     terribly 190:20          102:15 134:12         142:8,11 144:5         158:1 164:5 179:2
     tertiary 102:25          138:6 196:24          225:15 232:9           190:24 192:13
     test 134:12              197:2 198:10        thirds 23:3 26:6         194:13 198:14,18
     testified 70:23          202:10 211:18         26:10 232:8,10         198:23 199:2
       71:11,17 177:23        214:21 229:1        thirty 237:18            200:12 206:7
       190:23 203:5         think 31:22 36:17     thought 140:15           219:8 227:25
     testify 12:5 235:10      38:5 39:2 42:7        199:21 230:25          232:19,19 233:14
     testifying 11:8,9        48:4,8 52:13 53:1   thousand 74:11,14        235:19
       11:12 12:10            53:18 55:21 68:23     145:19 183:11       times 3:8 14:13
     testimony 13:22          73:6,10 74:10       thousands 74:19       timing 114:12
       14:3,10,12,13,14       76:3 78:14 88:7       127:9,15            tissue 132:18
       15:18,21,23,25         88:12 89:17 92:2    three 33:5 93:5,12    title 72:22 79:12
       16:2,7,11,24 18:6      93:9 94:10 107:19     120:14 121:9,18     today 11:4 14:25
       18:10,15,16,19,24      111:22 114:14         121:24 122:1,14        24:8 47:3 71:15
       19:3 48:21 71:15       117:3 118:12          123:15 124:19          71:23 81:22
       71:22 81:22            121:17 122:2          126:8 129:7,10         108:21 109:4
       113:11 138:21          126:7 132:3           141:21 142:18          114:11 164:13
       171:15 191:8           133:25 134:17         143:10 145:7,10        171:15 179:2
       225:18 226:23          136:4 140:15          145:13 147:6           186:12 211:15
       230:24 235:12,16       142:25 143:1          166:10 172:13          216:8,16 219:11
       238:6,7 239:6,9,12     144:7 145:19          214:8                  220:21 221:5
     testing 131:3            151:13 154:1,25     tie 232:22               223:21 224:8
       132:1,2,7              155:13 156:7        tied 44:14 50:20         225:19,19 226:2
     tests 134:19             159:18 164:17       tier 48:2                226:17,25 227:8
       214:12                 165:2 170:6         ties 45:1 97:17          228:16
     texas 2:12               171:15 174:7          164:24              today's 9:2 12:19
                              186:18 192:1                                 19:14 21:3 25:23

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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 102 of 106. PageID #: 242389


    [today's - understanding]                                                       Page 41

       43:19 82:20 83:18     221:21 222:15        trial 94:17             166:9 169:19,20
       83:21 116:10          226:16               true 104:17 141:2       169:22 172:12
       135:14,21           transcribed              211:25 235:16         177:12,15 189:21
     todd 121:23 122:5       235:15 238:7         truly 50:25 53:4        208:8 229:7 232:8
       122:9 125:2         transcript 4:1           131:17 172:17         232:10
       141:24 143:7,20       13:21 14:7 15:12       183:7 199:1         type 33:6 86:18
       144:14,17 145:2       15:14 234:3,6,9,11     214:23 215:1          218:2
       146:16,18             237:11,12 238:5      truth 235:10,11,11    types 35:7 86:2
     told 14:12 75:9         238:12 239:5,11      try 88:21 123:10        99:2 101:19
       133:6 155:18,24       239:17                 197:17,20 202:11      104:11 135:9
     tolerant 171:16       transcription            214:22                187:14 200:9
     top 12:2 73:15          235:16               trying 20:4 22:24     typically 227:22
       96:16 117:11        transcripts 13:19        35:14 88:12 106:7             u
       139:1 154:24          19:8                   126:7 133:2
                                                                        ultimately 134:21
       156:6 218:15        transition 123:7         147:19 163:9
                                                                          167:9
       220:25 221:2        transport 131:4          171:6 198:25
                                                                        um 20:13 94:13
     topic 90:22 110:15    transports 131:5         202:9,12
                                                                          116:19 141:12
     topics 11:12 12:5     travel 57:3,13,19      tucker 3:3 9:21
                                                                          217:6 228:12
       12:11,14 50:11        58:6 62:19           tuckerellis.com
                                                                        unattended
     total 35:3,18 36:10   treat 48:5               3:5
                                                                          201:23
       55:11 92:3 174:7    treated 23:16 29:8     turn 12:2 185:25
                                                                        unbeknownst
       174:9 187:5 204:2     117:1                  204:9
                                                                          193:21 195:16,19
       206:8,11,14         treating 23:6          turned 67:4 167:8
                                                                          195:22,24 196:2,5
       207:18 208:2          100:4 106:13         turning 33:17
                                                                        underlying 24:15
       222:10              treatment 64:3,5,8       113:24 155:17
                                                                          25:11 104:7 106:1
     touched 228:19          64:24 86:12,21         165:5,17 173:20
                                                                          107:7 191:19
     town 200:7              95:23 99:5,14          175:1 185:24
                                                                        understand 39:25
     tox 120:22              100:11,14,15,19        225:15 229:10
                                                                          45:5 54:10 69:1
     toxicologist            100:23,24 102:13     two 16:14,16 17:9
                                                                          84:25 90:25
       120:21,25 139:8       102:24 103:1,12        23:3 26:6,10
                                                                          100:18 135:12
       139:23 140:2,11       103:19,24 105:25       47:18 48:7 64:18
                                                                          146:12 178:1,4,20
       140:18 141:11         106:2 112:4            65:10 79:17,18,19
                                                                          192:19,20 197:5
     toxicologists 139:6     115:20 158:11          93:9 99:2 120:18
                                                                          198:25 207:17
     toxicology 132:16       163:8 167:17           121:18,22 122:8
                                                                          214:13 225:18
       214:6,12              174:23 210:7           126:2 128:11
                                                                          226:23
     track 102:15            221:22 227:21,24       136:5,9,15,25
                                                                        understandably
       106:19                229:12 230:2           137:2,4,7,9,15
                                                                          91:5
     tracking 107:12       trend 23:10,15,15        138:6,23 140:3
                                                                        understanding
     tradeoff 124:4          29:16,20 47:12         141:15,21 142:17
                                                                          11:3,7,11 12:9,13
     training 57:3,15      trends 19:19 21:11       145:7,10,13 147:6
                                                                          24:8 83:2 102:20
       57:19 58:10 62:20     25:4 50:25             163:25 164:8,18
                                                                          107:5 122:9
                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 103 of 106. PageID #: 242390


    [understanding - work]                                                         Page 42

       164:14 182:5                   v           violent 162:9          25:1,13,20 26:1,5
       183:17 192:6         v 1:10,11,13 237:6      167:16 172:19        28:14 30:21,25
       211:21 220:9           238:3 239:3         virginia 48:13         31:1,5,7,11,13,25
     understated 54:20      vacant 141:25           200:6                32:13,19,23 33:1
       104:12               vacated 144:18        virtual 2:9,18         33:21 36:21 37:24
     understood 28:13       varied 74:10 84:5     volume 122:10          41:20 43:19 45:7
       40:1 49:6 72:8       various 73:23 75:1    voters 18:2            46:3,7
       230:23                 104:22 179:19                w            websites 24:4 47:5
     undertake 88:18          180:12                                    week 12:23
                                                  w 3:7
       89:15 157:2,5        vast 31:20 159:20                           weekly 84:22
                                                  wait 82:3
     undertaken 155:2       vehicle 201:21                              weeks 66:17
                                                  waited 202:8
       156:12,21 157:8        228:23                                    went 13:1 16:12
                                                  waiting 140:19
       186:23 206:2         vehicles 228:20                              16:25 17:21 22:17
                                                  waived 237:19
     unique 118:13            229:2                                      29:17 30:3 32:14
                                                  walk 44:17
     united 1:1             verify 179:7                                 33:9 40:5,10
                                                  walmart 3:11 9:18
     unlawful 153:21        veritext 2:9,18                              43:22 44:3,11
                                                    211:15
       154:16                 237:1,7 240:1                              64:2 121:18,24
                                                  want 91:14 100:22
     unrealistic 205:7      veritext.com.                                122:5 138:8
                                                    162:9 190:14
     unreasonable             237:17                                     151:16,17 153:1
                                                    228:9
       191:25               version 68:25                                197:11 218:15,19
                                                  wanted 14:15
     updated 69:11            184:8,9                                   west 48:12 200:6
                                                    20:20 122:17
       138:10,11            versions 182:1,2                            whereof 236:5
                                                    186:21 230:21
     usage 32:9             versus 26:24 27:20                          white 47:9
                                                  wanting 25:22
     use 27:3,7,11,19         28:10 29:2 30:18                          williams 2:14 9:15
                                                  washington 2:16
       27:20 29:1 30:18       32:9 41:24 204:2                          witness 10:6 11:3
                                                  way 29:17 48:4
       30:24 31:3,9,10        209:14,21 210:9                            51:18 93:19 96:9
                                                    107:20,21 129:9
       37:4,6 45:8,22         210:17,24 221:7                            97:1,3,4,6,22,23
                                                    135:4 161:16
       101:24 102:8,13        232:14                                     211:11 217:8
                                                    165:22 191:22
       102:17 103:3,17      victim 96:7,15                               234:2 235:9,13,14
                                                    192:4 207:10
       103:24 104:3,7,15    victim's 96:13                               235:17 236:5
                                                    211:9 228:19
       106:8,21 107:2,11    victims 96:19                                237:8,11 238:1,4
                                                    233:1
       107:12 130:5         videographer 3:15                            238:11 239:1,4,15
                                                  wc.com 2:17
       132:17 144:23          9:1,24 10:5 51:25                         witnesses 96:9
                                                  we've 60:23 69:2
       152:4 155:7,21         52:3 65:12,15                             witness’ 237:14
                                                    79:23 116:18
       209:13 210:2,8,8,9     127:1,4 202:24                            woman 122:17
                                                    123:16 124:6,19
       210:17,18,23,24        203:2 223:2,5                             wondered 16:24
                                                    126:12,15 144:7
       212:14,22,24           230:8,11 233:16                           words 89:8
                                                    150:7 207:11
       218:4                videotaped 1:16                             work 20:17 51:17
                                                    213:11 219:8
     uses 229:25              5:5 11:17,23                               58:3 67:23 79:14
                                                    229:1,7 232:1,25
                            violence 104:4,5,8                           82:23 87:20 93:1
                                                  website 22:15,17
                              104:14 215:11                              93:20 122:20
                                                    22:21 24:4,6,9,24
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 104 of 106. PageID #: 242391


    [work - york]                                                           Page 43

       123:6,14,19 124:8     111:23 114:2
       124:14 129:9,14       115:24 116:5,12
       132:17 142:7,19       120:11,17 121:21
       143:24 144:6          124:1 127:12
       147:11 163:7          132:5,5 133:10,10
       181:17                146:2,10 155:19
     worked 82:13            163:4,25 174:8,13
     worker 87:23            176:13 179:12
     workers 142:9           190:17,18 194:20
       167:24 168:18,25      196:20 198:2
       172:2,23 173:17       201:8 214:9
     workforce 207:5       years 42:15 52:13
     working 143:8           52:21 102:20
       226:22                123:11 124:7
     workload 87:1           128:11 129:17
       122:10                130:13 138:11
     worth 145:24            140:3 147:17,24
       146:7                 148:7,18,23 149:7
     wrap 64:17 112:6        149:9,11,16,22
     writing 65:2            150:2,17,22 151:5
       184:19                151:12,20 163:12
     written 118:24          166:6,8,10 168:1,2
       119:2                 169:13 172:13
     wrote 230:23            176:5 195:10
               y             200:22 204:4,20
                             212:2
     yeah 16:23 21:6
                           yep 139:25 169:21
       43:20 79:3 82:25
                             169:23 193:2
       87:9 107:18 108:9
                           yesterday 13:1
       114:9,14 129:3
                             82:4 83:14
       173:6,18 175:22
                           york 3:8,9,9
       183:2 189:23
       192:1 204:11,22
       216:10 220:5
       224:18 229:23
     year 23:7 27:17,18
       29:19 33:5 34:25
       35:2 37:14 39:18
       40:6 43:15 47:12
       53:2,9 54:8 74:7
       74:10,11,13 82:25
       87:17 109:17
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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 105 of 106. PageID #: 242392



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           WUDQVFULSWRUUHFRUGLQJLVDYDLODEOHLQZKLFK

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Case: 1:17-md-02804-DAP Doc #: 1982-14 Filed: 07/24/19 106 of 106. PageID #: 242393

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